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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


    In re:                                                       Chapter 11

    IMPEL PHARMACEUTICALS, INC., et al. 1                        Case No. 23-80016 (SGJ)

                            Debtors.                             (Jointly Administered)


     NOTICE OF FILING OF SOLICITATION VERSION OF FIRST AMENDED PLAN

       PLEASE TAKE NOTICE that on, February 12, 2024, the Debtors filed the Joint Plan of
Liquidation of Impel Pharmaceuticals Inc. and Impel NeuroPharma Australia Pty Ltd (the “Plan”)
[Docket No. 225] with the United States Bankruptcy Court for the Northern District of Texas
(the “Court”).

        PLEASE TAKE FURTHER NOTICE that, on February 24, 2024, the Debtors filed the
Notice of Filing of Amended Plan [Docket No. 244], which attached the Debtors’ First Amended
Joint Plan of Liquidation of Impel Pharmaceuticals Inc. and Impel NeuroPharma Australia Pty
Ltd (the “Amended Plan”) as Exhibit A.

       PLEASE TAKE FURTHER NOTICE that, on February 26, 2024, the Court held a
hearing on the conditional approval of the First Amended Disclosure Statement for Joint Plan of
Liquidation of Impel Pharmaceuticals Inc. and Impel NeuroPharma Australia Pty Ltd.

1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’
service address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
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(the “Amended Disclosure Statement”) [Docket No. 245-1]. At that hearing, the Court granted the
conditional approval of the of the Amended Disclosure Statement.

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file a solicitation version
of the Amended Plan (the “Solicitation Plan”), attached hereto as Exhibit A.

        PLEASE TAKE FURTHER NOTICE that, for convenience of the Court and parties in
interest, a redline reflecting the changes made in the Solicitation Plan from the Amended Plan is
attached hereto as Exhibit B.

       PLEASE TAKE FURTHER NOTICE that a hearing to consider confirmation of the
Amended Plan the (“Confirmation Hearing”) will be held on April 1, 2024 at 9:30 a.m. (prevailing
Central Time) in Courtroom #1, 14th Floor, Earle Cabell Federal Building, 1100 Commerce Street,
Suite 1254, Dallas, Texas, 75242 before the Honorable Stacey G. C. Jernigan.

         PLEASE TAKE FURTHER NOTICE parties may participate in the Confirmation
Hearing either in person or by an audio and video connection. Audio communication will be by
use of the Court’s dial-in facility. Parties may access the facility at 1.650.479.3207. Video
communication will be by the use of the Cisco WebEx platform. Connect via the Cisco WebEx
application or click the link on Judge Jernigan’s home page. The meeting code is 479 393 582.
Click the settings icon in the upper right corner and enter your name under the personal information
setting.

                           [Remainder of page intentionally left blank]




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Dated: February 26, 2024
Dallas, Texas                                  SIDLEY AUSTIN LLP

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                                               Counsel to the Debtors and Debtors in Possession




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                                      Certificate of Service

        I certify that on February 26, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
District of Texas.

                                                                /s/ Rakhee V. Patel
                                                                Rakhee V. Patel
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                                  Exhibit A

                               Solicitation Plan
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                                                                 SOLICITATION VERSION

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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


     In re:                                                       Chapter 11

     IMPEL PHARMACEUTICALS INC., et al. 1                         Case No. 23-80016 (SGJ)

                              Debtors.                            (Jointly Administered)


                       FIRST AMENDED JOINT PLAN OF LIQUIDATION
                            OF IMPEL PHARMACEUTICALS INC.
                      AND IMPEL NEUROPHARMA AUSTRALIA PTY LTD




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’
service address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
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                                        INTRODUCTION

       Impel Pharmaceuticals Inc. and Impel NeuroPharma Australia Pty Ltd (the “Debtors”)
propose this chapter 11 plan (the “Plan”) under section 1121 of the Bankruptcy Code. The Debtors
are the proponents of the Plan within the meaning of section 1129 of the Bankruptcy Code.
Supplemental agreements and documents referenced in this Plan and the Disclosure Statement are
available for review on both the Bankruptcy Court’s docket and on the Debtors’ case information
website: https://omniagentsolutions.com/Impel.

        Reference is made to the Disclosure Statement Filed contemporaneously with this Plan for
a discussion of the Debtors’ history, business, prepetition capital structure, and Liquidation
Analysis, as well as a summary and analysis of the Plan and certain related matters, including
distributions to be made under this Plan.

     ALL HOLDERS OF CLAIMS AND INTERESTS ARE ENCOURAGED TO READ
THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE
VOTING TO ACCEPT OR REJECT THE PLAN.

                                 ARTICLE I.
                 DEFINED TERMS AND RULES OF INTERPRETATION

       A.      Defined Terms

        “Administrative Claim” means a Claim of a kind specified under section 503(b) of the
Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of the
Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred on or after
the Petition Date until and including the Effective Date of preserving the Estates and operating
Debtors’ business; (b) Allowed Professional Compensation Claims; (c) Statutory Fees; and
(d) 503(b)(9) Claims.

        “Administrative Claims Bar Date” means the applicable last date, at 5:00 p.m. Central time,
set by the Bankruptcy Court for a Claimant to file a request for payment of any Administrative
Claim (excluding Professional Compensation Claims) arising on or after the Petition Date, through
and including the Effective Date. The Administrative Claim Bar Date shall be thirty (30) days
after the Effective Date.

        “Allowed” means, with respect to any Claim or Interest, except as otherwise provided
herein: (a) a Claim or Interest in a liquidated amount as to which no objection has been Filed prior
to the applicable claims objection deadline and that is evidenced by a Proof of Claim timely Filed
by the applicable Bar Date or that is not required to be evidenced by a Filed Proof of Claim under
the Plan, the Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is scheduled by the
Debtors as neither disputed, contingent, nor unliquidated, and for which no Proof of Claim has
been timely Filed in an unliquidated or a different amount; (c) a Claim or Interest that is upheld or
otherwise Allowed (i) pursuant to the Plan (including any Claim or Interest that is upheld or
otherwise Allowed pursuant to a settlement executed by a Debtor or Wind-Down Debtor in
accordance with the Plan), (ii) in any stipulation that is approved by the Bankruptcy Court, (iii)
pursuant to any contract, instrument, indenture, or other agreement entered into or assumed in
connection herewith, or (iv) by Final Order (including any such Claim to which the Debtors had
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objected or which the Bankruptcy Court had disallowed prior to such Final Order); provided that
with respect to a Claim or Interest described in clauses (a) through (c) above, such Claim or Interest
shall be considered Allowed only if and to the extent that with respect to such Claim or Interest no
objection to the allowance thereof has been or, in the Debtors’ or the Wind-Down Debtors’
reasonable good faith judgment, may be interposed within the applicable period of time fixed by
the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an
objection is so interposed and the Claim or Interest, as applicable, shall have been allowed by a
Final Order; provided, further, that no Claim of any Entity subject to section 502(d) of the
Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount
that it owes such Debtor. A Proof of Claim Filed after the Bar Date is not considered Allowed and
shall be deemed expunged without further action by the Debtors and without further notice to any
party or action, approval, or order of the Bankruptcy Court. Any Claim that has been or is hereafter
listed in the Schedules as contingent, unliquidated, or disputed, and for which no Proof of Claim
is or has been timely Filed, is not considered Allowed and shall be deemed expunged without
further action by the Debtors and without further notice to any party or action, approval, or order
of the Bankruptcy Court. “Allow,” “Allowing,” and “Allowance” shall have correlative meanings.

       “Asset Purchase Agreement” means that certain Asset Purchase Agreement by and between
JN Bidco LLC, as Purchaser, and Impel Pharmaceuticals Inc., as Seller, Dated December 18,
2023, annexed as Exhibit 1 to the Sale Order, and as from time to time amended in accordance
with the Sale Order or further order of this Court, including by the First Amendment to Stalking
Horse APA attached to the Sale Order.

        “Avoidance Actions” means any and all claims and Causes of Action which any of the
Debtors, the Estates, or any other appropriate party in interest has asserted or may assert under
sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or under similar or
related state or federal statutes and common law, including fraudulent transfer laws.

      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as
amended.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District
of Texas.

       “Bankruptcy Rules” means Federal Rules of Bankruptcy Procedure.

        “Bar Date” means with respect to any particular Claim, the applicable date set by the
Bankruptcy Court as the last day for Filing Proofs of Claim or requesting allowance of
Administrative Claims in the Chapter 11 Cases for such Claim, whether pursuant to the
Confirmation Order, the Plan, the Order (I) Setting Bar Dates for Filing Proofs of Claim;
(II) Approving the Form and Manner for Filing Proofs of Claim, (III) Approving the Notice of Bar
Dates, and (IV) Granting Related Relief [Docket No. 142], or any other applicable order of the
Bankruptcy Court.

       “Bid Procedures Order” means that certain Order (I)(A) Approving the Bid Procedures;
(B) Authorizing the Debtors to Select JN BidCo LLC as the Stalking Horse Purchaser Substantially
Along the Terms Defined in the Stalking Horse APA and Approving Bid Protections;

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(C) Establishing Bid Deadlines, an Auction, and a Sale Hearing; (D) Approving the Form and
Manner of Sale Notice; (E) Approving Assignment and Assumption Procedures; (F) Approving
the Form and Manner of Potential Assumption and Assignment Notice; (II)(A) Authorizing the
Sale of the Assets Free and Clear; and (B) Approving the Assumption and Assignment of
Designated Contracts; and (III) Granting Related Relief [Docket No. 137] entered in the Chapter
11 Cases.

       “Business Day” means any day other than a Saturday, Sunday, or other day on which
commercial banks are authorized to close under the Laws of, or are in fact closed in, the state of
Texas.

       “Cash” means cash in legal tender of the United States of America and cash equivalents,
including bank deposits, checks, and other similar items.

        “Cash Collateral Order” means that certain Final Order (I) Authorizing the Debtors to Use
Cash Collateral; (II) Granting Adequate Protection to Prepetition Term Loan Secured Parties;
(III) Modifying the Automatic Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related
Relief [Docket No. 149] entered in the Chapter 11 Cases or such further interim or final order
authorizing the Debtors’ use of cash collateral, as applicable.

        “Causes of Action” means without limitation, any claims, interests, damages, remedies,
causes of action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets,
powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable, directly
or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law, equity, or
otherwise. Causes of Action also include: (a) Avoidance Actions; (b) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law;
(c) the right to object to or otherwise contest Claims or Interests; (d) claims pursuant to sections
362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and (e) such claims and
defenses as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of
the Bankruptcy Code.

       “Chapter 11 Cases” means those certain chapter 11 bankruptcy cases of the Debtors jointly
administered under the caption In re Impel Pharmaceuticals Inc., et al., Case No. 23-80016 (SGJ)
(Bankr. N.D. Tex. 2023).

        “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against
any of the Debtors.

        “Claims Objection” means an objection to the allowance of a claim as set forth in
section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and/or any Bankruptcy Court order
regarding omnibus claims objections.

       “Claims Objection Bar Date” means the date that is sixty (60) days after the Effective Date,
which date may be extended upon presentment of an order to the Bankruptcy Court by the Plan
Administrator.


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       “Claims Register” means the register managed by the Notice and Claims Agent reflecting
Filed Proofs of Claim.

       “Class” means a category of holders of Claims or Interests pursuant to section 1122(a) of
the Bankruptcy Code.

        “Combined Hearing” means the hearing(s) conducted by the Bankruptcy Court to consider
(1) final approval of the adequacy of the Disclosure Statement under section 1125 of the
Bankruptcy Code and (2) confirmation of the proposed Plan under section 1129 of the Bankruptcy
Code, as such hearing may be adjourned or continued from time to time.

       “Committee” means any official committee of unsecured creditors appointed by the U.S.
Trustee under section 1102(b) of the Bankruptcy Code in these Chapter 11 Cases.

        “Conditions Precedent to the Effective Date” means the conditions set forth in
Article VIII.A of this Plan.

       “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the
docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

       “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy
Rules 5003 and 9021.

        “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan under
section 1129 of the Bankruptcy Code in form and substance consistent with the Plan Support
Agreement, in each case subject to the consent rights set forth therein, as applicable.

       “Consenting Unsecured Creditors” as defined in the Plan Support Agreement.

       “Consummation” means the occurrence of the Effective Date.

       “Contingent Sale Proceeds” means all of the Debtors’ rights to receive deferred,
contingent, or similar payments, distributions applicable or proceeds pursuant to the Sale
Transaction.

        “Cure” means all amounts, including an amount of $0.00, required to cure any monetary
defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be
agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be assumed
or assumed and assigned by the Debtors.

       “D&O Liability Insurance Policies” means, collectively, each director and officer liability
insurance policy and any “tail policy” to which any of the Debtors are a party as of the Effective
Date.

       “Debtors” means, collectively, Impel Pharmaceuticals Inc. and Impel NeuroPharma
Australia Pty Ltd.


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       “Debtor Releases” means the releases set forth in Article IX herein.

        “Definitive Documents” means this Plan (including all exhibits, annexes, schedules, and
supplements related thereto, including the Plan Supplement), the Confirmation Order, the
Disclosure Statement Order (including all exhibits, annexes, schedules, and supplements related
thereto), the Solicitation Materials, including the Disclosure Statement, any new organizational
documents, and any such other agreements, instruments, and documents as may be necessary or
reasonably desirable to consummate and document the Liquidation Transactions.

        “Disallowed” means all or that portion, as applicable, of any Claim or Interest which:
(a) has been disallowed under the Plan, the Bankruptcy Code, applicable law or by a Final Order;
(b) is scheduled by the Debtors as being in an amount of zero dollars ($0.00) or as contingent,
disputed, or unliquidated and as to which no Proof of Claim was timely filed or deemed timely
filed prior to the applicable Bar Date pursuant to either the Bankruptcy Code or any Final Order
of the Bankruptcy Court, including the order approving the Bar Date, or otherwise deemed timely
filed under applicable law; or (c) is not scheduled by the Debtors and as to which no Proof of
Claim or request for allowance of an Administrative Claim (as applicable) has been timely filed
or deemed timely filed prior to the applicable Bar Date pursuant to either the Bankruptcy Code or
any Final Order of the Bankruptcy Court or otherwise deemed timely filed under applicable law.

        “Disbursing Agent” means the Debtors, the Plan Administrator, or the Person or Entit(ies)
selected by the Plan Administrator, as applicable, to make or to facilitate the Plan Distributions.

        “Disclosure Statement” means the related disclosure statement with respect to the Plan, as
the same may be amended, supplemented, or modified from time to time, including all exhibits
and schedules thereto and references therein that relate to the Plan, that is prepared and distributed
in accordance with the Bankruptcy Code, Bankruptcy Rules, and any other applicable law in form
and substance consistent with the Plan Support Agreement, in each case subject to the consent
rights set forth therein, as applicable.

       “Disputed” means, with respect to any Claim or Interest, any Claim or Interest or any
portion thereof that is not yet Allowed or Disallowed.

        “Distributable Cash” means the Cash on hand of the Debtors available for distribution as
of the Effective Date or such applicable later date pursuant to the terms of the Plan.

        “Distribution Record Date” means the date for determining which Holders of Claims are
eligible to receive distributions under the Plan, which date shall be the Effective Date or such other
date as designated in a Final Order of the Bankruptcy Court.

        “Effective Date” means the date, selected by the Debtors, after consultation with the
Prepetition Term Loan Administrative Agent, that is the first Business Day on which (a) all
Conditions Precedent to the Effective Date have been satisfied or waived in accordance with the
Plan and (b) no stay of the Confirmation Order is in effect.

        “Employment Agreement” means any agreement relating to the employment of any of the
current employees of Impel Pharmaceuticals Inc.


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       “Entity” has the meaning as defined in section 101(15) of the Bankruptcy Code.

      “Estate” means the estate of any Debtor created under sections 301 and 541 of the
Bankruptcy Code upon the commencement of the applicable Debtor’s Chapter 11 Case.

       “Exculpated Parties” means collectively, (a) the Debtors and Wind-Down Debtors, (b) any
Statutory Committee and each of its members, (c) the Debtors' Professionals, including Sidley
Austin LLP, Fenwick & West LLP, Teneo Capital LLC, Moelis & Company, and Omni Agent
Solutions, and the Professionals of any Statutory Committee, and (d) any directors and officers of
the Debtors as of the Petition Date.

       “Executory Contract” means a contract to which any of the Debtors is a party that is subject
to assumption or rejection under section 365 of the Bankruptcy Code.

       “Existing Equity Interests” means an Interest in a Debtor existing as of the Petition Date.

       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Cases.

        “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter that has not been reversed, stayed, modified, or
amended, as entered on the docket in any Chapter 11 Case or the docket of any court of competent
jurisdiction, and as to which the time to appeal, or seek certiorari or move for a new trial,
reargument, or rehearing has expired and no appeal or petition for certiorari or other proceedings
for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that has
been taken or any petition for certiorari that has been or may be timely Filed has been withdrawn
or resolved by the highest court to which the order or judgment was appealed or from which
certiorari was sought or the new trial, reargument, or rehearing will have been denied, resulted in
no stay pending appeal of such order, or has otherwise been dismissed with prejudice; provided
that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any
analogous rule under the Bankruptcy Rules, may be Filed with respect to such order will not
preclude such order from being a Final Order.

        “General Unsecured Claims” means any Claim, other than an Administrative Claim
(including any Professional Compensation Claims), a Priority Tax Claim, an Other Secured Claim,
an Other Priority Claim, a Prepetition Term Loan Claim, or an Intercompany Claim.

      “General Unsecured Creditor Distribution” means Cash to be distributed to the holders of
General Unsecured Claims in the aggregate amount of $100,000.00.

      “Governmental Unit(s)” means a “governmental unit,” as defined in section 101(27) of the
Bankruptcy Code.

       “Holder” means any Entity that holds a Claim or Interest, as applicable.

        “Impaired” means with respect to any Class of Claims or Interests, a Class of Claims or
Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.


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        “Indemnification Obligations” means, collectively, each of the Debtors’ indemnification
obligations (whether in charters, bylaws, limited liability company agreements, other
organizational documents, or contracts) in place as of the Effective Date to indemnify their
officers, directors, agents, or employees serving in such roles as of the Petition Date with respect
to all present and future actions, suits, and proceedings against the Debtors or such officers,
directors, agents, or employees based upon any act or omission for or on behalf of the Debtors.

       “Insurance Policies” means all insurance policies that have been issued at any time to or
provide coverage to the Debtors and all agreements, documents, or instruments relating thereto,
provided that it does not include any such policies that are, or have been, assumed and assigned to
the Purchaser on or before the Effective Date pursuant to the Asset Purchase Agreement, the Sale
Order, and section 365 of the Bankruptcy Code.

       “Intercompany Claim” means a Claim held by a Debtor against a Debtor.

        “Interest(s)” means any equity security (as defined in section 101(16) of the Bankruptcy
Code) in any Debtor and any other rights, options, warrants, stock appreciation rights, phantom
stock rights, restricted stock units, redemption rights, repurchase rights, convertible, exercisable
or exchangeable securities or other agreements, arrangements or commitments of any character
relating to, or whose value is related to, any such interest or other ownership interest in any Debtor.

        “IRS Form” means IRS Form W-9, W-8BEN, any acceptable substitute, or any other tax
information form that the Plan Administrator may require from a holder of a Claim for a
distribution under the Plan.

       “Law” means any federal, state, local, or foreign law (including common law), statute,
code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted,
promulgated, issued, or entered by a governmental authority of competent jurisdiction (including
the Bankruptcy Court).

       “Lien” means a “lien,” as defined in section 101(37) of the Bankruptcy Code.

       “Liquidation” means the liquidation of the Debtors through the Liquidation Transactions
in accordance with the terms of this Plan Term Sheet.

       “Liquidation Analysis” means the analysis of a liquidation scenario under chapter 7 of the
Bankruptcy Code for these Debtors, to be filed with the Disclosure Statement filed concurrently
with the Plan or as part of the Plan Supplement.

        “Liquidation Transactions” means those mergers, amalgamations, consolidations,
arrangements, continuances, restructurings, transfers, conversions, dispositions, liquidations,
dissolutions, settlements, releases, or other transactions that the Debtors reasonably determine to
be necessary to implement the Plan in a manner consistent with the Plan Support Agreement, in
each case subject to the consent rights set forth therein, as applicable.

         “Marketing Process” means the process for the marketing and sale of all or substantially
all of the Debtors’ assets, or any combination thereof, pursuant to the Bid Procedures Order.


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        “Notice and Claims Agent” means Omni Agent Solutions, in its capacity as noticing,
claims, and solicitation agent for the Debtors.

       “OCP” means an ordinary course professional whose retention and compensation has been
authorized by the Bankruptcy Court pursuant to the OCP Order

      “OCP Order” means the order entered by the Bankruptcy Court approving the Debtors’
motion or motions to retain and compensate certain OCPs in the ordinary course of business
[Docket No. 148].

       “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority
Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         “Other Secured Claim” means any Secured Claim other than a Prepetition Term Loan
Claim.

         “Person” means a “person” as defined in section 101(41) of the Bankruptcy Code.

        “Petition Date” the date on which each of the Debtors Filed their voluntary petitions for
relief under chapter 11 of the Bankruptcy Code, thereby commencing these Chapter 11 Cases, or
December 19, 2023.

        “Plan” means this chapter 11 plan, including any and all exhibits, supplements, appendices,
and schedules hereto, as may be altered, amended, supplemented, or otherwise modified from time
to time in accordance with the terms hereof, including the Plan Supplement (as altered, amended,
supplemented, or otherwise modified from time to time in accordance with the terms hereof),
which are incorporated herein by reference and shall be made part hereof as if set forth therein.

        “Plan Administrator” means the Person or Entity appointed by the Debtors on the Effective
Date to administer to the Wind-Down of the Debtors, including the making of any Plan
Distributions that may arise after the Effective Date or any other duties or responsibilities set forth
herein.

        “Plan Distribution” means a payment or distribution to holders of Allowed Claims or other
eligible Entities under this Plan.

        “Plan Supplement” means the documents and forms of documents, agreements, schedules,
and exhibits to the Plan, which shall include certain exhibits and schedules to the Plan, as well as
documents, agreements, and instruments evidencing and effectuating the Plan, including the
Schedule of Assumed Executory Contracts and Unexpired Leases and the Schedule of Retained
Causes of Action, each of which shall be in form and substance reasonably acceptable to the
Prepetition Term Loan Administrative Agent; provided, that through the Effective Date, the
Debtors, with the consent (not to be unreasonably withheld or delayed) of the Prepetition Term
Loan Administrative Agent, shall have the right to amend, supplement, or otherwise modify the
Plan Supplement in accordance with the terms hereof.

      “PSA” means that certain Plan Support Agreement, dated as of February 17, 2024, by and
among the Debtors, the Consenting Prepetition Secured Parties, and the Consenting Unsecured

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Creditors, as such may be further amended, modified, or supplemented from time to time, in
accordance with its terms.

       “Prepetition Term Loan Administrative Agent” means Oaktree Fund Administration, LLC,
as Administrative Agent (as defined in the Prepetition Term Loan Credit Agreement and, in such
capacity and including any successors thereto)

        “Prepetition Term Loan Advisors” means Sullivan & Cromwell LLP, as primary counsel
to the Prepetition Term Loan Administrative Agent, and Bracewell LLP, as local counsel to the
Prepetition Term Loan Administrative Agent, collectively.

     “Prepetition Term Loan Claims” meaning any Claim on account of the Prepetition Loan
Documents.

      “Prepetition Term Loan Credit Agreement” means that certain Credit Agreement and
Guaranty, dated as of March 17, 2022 (as amended, restated, or otherwise modified from time to
time

        “Prepetition Term Loan Documents” means the Prepetition Term Loan Credit Agreement
and, together with all other documentation executed in connection therewith, including without
limitation, the Security Documents (as defined in the Prepetition Term Loan Credit Agreement),
and all other Loan Documents (as defined in the Prepetition Term Loan Credit Agreement)
executed in connection therewith, as amended, restated, or otherwise modified from time to time.

        “Prepetition Term Loan Secured Parties” means the Prepetition Term Loan Administrative
Agent, the subsidiary guarantors from time to time party thereto, and the lenders from time to time
party thereto, collectively.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

       “Professional” means a Person or Entity employed in the Chapter 11 Cases pursuant to a
Bankruptcy Court order in accordance with sections 327, 328, 363, or 1103 of the Bankruptcy
Code and to be compensated for services rendered before or on the Effective Date, pursuant to
sections 327, 328, 329, 330, 363, or 331 of the Bankruptcy Code, excluding any ordinary course
professional retained pursuant to a Bankruptcy Court order.

       “Professional Compensation Claim” means a Claim against a Debtor for all professional
services rendered and costs incurred between the Petition Date and the Effective Date by a
Professional, including estimates through the Effective Date, in connection with the Chapter 11
Cases.

        “Professional Fee Reserve Account” means that certain account held by the Debtors for the
benefit of Professionals, as more fully described in Paragraph 3(d) of the Cash Collateral Order.

       “Proof of Claim” means a proof of claim Filed against any of the Debtors in the Chapter
11 Cases by the applicable Bar Date.


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         “Purchaser(s)” means JN Bidco LLC.

         “Released Party” means collectively the Releasing Parties and each of their and their
affiliates’ respective predecessors, successors, assigns, subsidiaries, affiliates, current and former
officers and directors, principals, equity holders, members, partners, managers, employees, agents,
advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, management companies, fund advisors, and other professionals, and
such Persons’ respective heirs, executors, estates, and nominees, in each case in their capacity as
such, provided that, in each case, an Entity shall not be a Released Party if it: (a) elects to opt out
of the releases contained in the Plan, or (b) files with the Bankruptcy Court an objection to the
Plan that is not consensually resolved before Confirmation or supports any such objection or
objector.

         “Releasing Party” means collectively, and in each case in its capacity as such: (a) the
Debtors (b) the Wind-Down Debtors, (c) the Prepetition Term Loan Secured Parties, (d) the
Consenting Unsecured Creditors, (e) any Statutory Committee and each of its members, (f) the
holders of all Claims or Interests who vote to accept the Plan, (g) the holders of all Claims or
Interests whose vote to accept or reject the Plan is solicited but who do not vote either to accept or
to reject the Plan and do not opt out of granting the releases set forth herein, (h) the holders of all
Claims or Interests who vote, or are deemed to vote, to reject the Plan but do not opt out of granting
the releases set forth herein, (i) the holders of all Claims and Interests who are Unimpaired under
the Plan, (j) with respect to each of the foregoing Persons, in clauses (a) through (i), each of their
affiliates, and (k) with respect to each of the foregoing Persons in clauses (a) through (j), each of
their and their affiliates’ respective predecessors, successors, assigns, subsidiaries, affiliates,
current and former officers and directors, principals, equity holders, members, partners, managers,
employees, agents, advisory board members, financial advisors, attorneys, accountants,
investment bankers, consultants, representatives, management companies, fund advisors, and other
professionals, and such Persons’ respective heirs, executors, estates, and nominees, in each case
in their capacity as such and for which such Entity is legally entitled to bind such party to the
releases contained in the Plan and under applicable law; provided that the Prepetition Term Loan
Secured Parties shall not be deemed to release any direct claims they may have against former
directors and officers of the Debtors who were not directors or officers as of the Petition Date;
provided further that an Entity shall not be a Releasing Party if it files with the Bankruptcy Court
an objection to the Plan that is not consensually resolved before Confirmation or supports any such
objection or objector.

       “Retained Causes of Action” means those Causes of Action indicated on the Schedule of
Retained Causes of Action.

        “Sale Order” means the order of the Bankruptcy Court approving pursuant to section 363
of the Bankruptcy Code one or more sales of, collectively, all or substantially all of the assets of
the Debtors to the Purchaser entered by the bankruptcy court at Docket No. 207.

         “Sale Transaction” the sale of the assets and related transactions approved by the Sale
Order.



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        “Schedules” means, collectively, the schedule of assets and liabilities and statement of
financial affairs Filed by each Debtor pursuant to section 521 of the Bankruptcy Code, the
Bankruptcy Rules, and the official bankruptcy forms, as the same may be amended, modified, or
supplemented from time to time.

       “Schedule of Assumed Executory Contracts and Unexpired Leases” means the list of
Executory Contracts and Unexpired Leases that will be assumed by the Debtors pursuant to Article
V of the Plan, which shall be included in the Plan Supplement.

       “Schedule of Retained Causes of Action” means a schedule of Causes of Action of the
Debtors to be retained under the Plan, which shall be included in the Plan Supplement.

        “Secured” means, when referring to a Claim: (a) secured by a Lien on property in which
the Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable
law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553
of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the Estate’s interest
in such property or to the extent of the amount subject to setoff, as applicable, as determined
pursuant to section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant to section 553
of the Bankruptcy Code; or (b) otherwise Allowed pursuant to the Plan or a Final Order of the
Bankruptcy Court as a Secured Claim.

       “Section 510(b) Claim(s)” means any Claim(s) subordinated by order of the Bankruptcy
Court pursuant to section 510(b) of the Bankruptcy Code.

        “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or
any similar federal, state, or local law, as now in effect or hereafter amended, and the rules and
regulations promulgated thereunder.

       “Statutory Committee” means any statutory committee appointed in the Chapter 11 Cases,
including any Committee.

       “Statutory Fees” means all fees for which the Debtors are obligated pursuant to 28 U.S.C.
§ 1930(a)(6), together with interest, if any, pursuant to 31 U.S.C. § 3717.

       “Third Party Release” means such releases by the Releasing Parties as set forth in Article
IX.B hereof.

       “Transaction Documents” means the definitive documents to effectuate the Sale
Transaction.

       “Unimpaired” means, with respect to a Claim or Class of Claims, not “impaired” within
the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

       “U.S. Trustee” means the United States Trustee for the Northern District of Texas.

        “U.S. Trustee Statutory Fees” means all fees due and payable pursuant to section 1930 of
Title 28 of the United States Code, together with the statutory rate of interest set forth in section
3717 of Title 31 of the United States Code, to the extent applicable.

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      “Unexpired Lease” means a lease to which any of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

        “Wind-Down” means the post-Effective Date wind-down process by which the Plan
Administrator shall seek to (1) liquidate any remaining assets of the Debtors and make
distributions relating to the same; (2) complete any tasks required to wind-down the affairs of the
Debtors; and (3) otherwise close these Chapter 11 Cases, as described in more detail in Article
IV.B. herein.

        “Wind-Down Budget” means a budget for any fees, costs, and expenses incurred by the
Wind-Down Debtors from and after the Effective Date, as such budget shall be approved by, and
further amended with the approval of, the Prepetition Term Loan Administrative Agent, including
amounts reserved for Disputed Claims, which shall be reasonably acceptable to the Prepetition
Term Loan Administrative Agent.

       “Wind-Down Debtors” means the Debtors, as applicable, following the Effective Date.

       B.      Rules of Interpretation

        Unless otherwise specified, all section or exhibit references in this Plan are to the respective
section in or exhibit to this Plan, as the same may be amended, waived, or modified from time to
time in accordance with the terms hereof. The words “herein,” “hereof,” “hereto,” “hereunder,”
and other words of similar import refer to this Plan as a whole and not to any particular section,
subsection, or clause contained therein and have the same meaning as “in this Plan,” “of this Plan,”
“to this Plan,” and “under this Plan,” respectively. The words “includes” and “including” are not
limiting. The headings in this Plan are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof. For purposes herein: (1) in the appropriate context, each
term, whether stated in the singular or plural, shall include both the singular and plural, and
pronouns stated in the masculine, feminine, or neuter gender shall include the masculine, feminine,
and the neuter gender; (2) any reference herein to a contract, lease, instrument, release, indenture,
or other agreement or document being in a particular form or on particular terms and conditions
means that the referenced document shall be substantially in that form or substantially on those
terms and conditions; (3) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply; and (4) any term used in capitalized form herein that is not otherwise defined but that
is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

       C.      Computation of Time

       In computing any period of time prescribed or allowed by the Plan, the provisions of
Bankruptcy Rule 9006(a) will apply. Any references to the Effective Date shall mean the Effective
Date or as soon as reasonably practicable thereafter unless otherwise specified herein.

       D.      Reference to Monetary Figures

        All references in this Plan to monetary figures shall refer to the legal tender of the United
States of America unless otherwise expressly provided.


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        E.      Controlling Document

        In the event of an inconsistency between this Plan and the Plan Supplement, the terms of
the relevant document in the Plan Supplement shall control unless otherwise specified in such Plan
Supplement document. In the event of an inconsistency between this Plan and any other instrument
or document created or executed pursuant to this Plan, or between this Plan and the Disclosure
Statement, this Plan shall control. The provisions of this Plan and of the Confirmation Order shall
be construed in a manner consistent with each other so as to effectuate the purposes of each;
provided, that if there is determined to be any inconsistency between any provision of this Plan
and any provision of the Confirmation Order that cannot be so reconciled, then, solely to the extent
of such inconsistency, the provisions of the Confirmation Order shall govern, and any such
provisions of the Confirmation Order shall be deemed a modification of this Plan.

                            ARTICLE II.
  ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS, AND STATUTORY FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
(including Professional Compensation Claims) and Priority Tax Claims have not been classified
for purposes of voting or receiving distributions, and, thus, are excluded from the Classes of Claims
and Interests set forth in Article III hereof.

        A.      Administrative Claims

         Except to the extent that a Holder of an Allowed Administrative Claim agrees to a less
favorable treatment, each Holder of an Allowed Administrative Claim (other than a Professional
Compensation Claim) shall receive, in full and final satisfaction of such Claim, (1) Cash in an
amount equal to such Allowed Administrative Claim in accordance with the following: (i) if
Allowed on or prior to the Effective Date, then on the Effective Date or as soon as reasonably
practicable thereafter, (ii) if not Allowed as of the Effective Date, then no later than forty-five (45)
days after the date on which an order Allowing such Administrative Claim becomes a Final Order,
or (iii) at such time and upon such terms as set forth in a Final Order of the Bankruptcy Court; or
(2) such other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy
Code.

        Except for Professional Compensation Claims, and notwithstanding any prior Filing or
Proof of Claim, Proofs of Claim seeking the allowance and payment of Administrative Claims
must be Filed and served on the Debtors or the Plan Administrator (as applicable) and their counsel
by no later than the Administrative Claims Bar Date pursuant to the procedures set forth in the
Confirmation Order and the notice of the occurrence of the Effective Date. The burden of proof
for the allowance of Administrative Claims remains on the Holder of the Administrative Claims.

       Except as otherwise provided in Articles II.B, II.C, or II.D herein, holders of
Administrative Claims that do not File and serve a Proof of Claim or application for payment
of administrative expenses requesting the allowance of an Administrative Claim by the
Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from
asserting Administrative Claims against the Debtors, the Plan Administrator, the Estates, or



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the Debtors’ assets and properties, and any Administrative Claims shall be deemed
disallowed as of the Effective Date unless otherwise ordered by the Bankruptcy Court.

       B.      Professional Compensation Claims

               1.     Final Fee Applications and Payment of Professional Compensation Claims

        All requests for payment of Professional Compensation Claims (other than from OCPs) for
services rendered and reimbursement of expenses incurred through the Effective Date shall be
filed no later than forty-five (45) days after the Effective Date. The Bankruptcy Court shall
determine the Allowed amounts of such Professional Compensation Claims after notice and a
hearing in accordance with the procedures established by the Bankruptcy Code. Objections to
Professional Compensation Claims must be Filed and served no later than twenty-one (21) days
after the Filing of the Professional Compensation Claim. To the extent any Cash is remaining in
the Professional Fee Reserve Account following irrevocable payment in full of all Allowed
Professional Compensation Claims (including Allowed Professional Compensation Claims arising
after the Confirmation Date), such Cash shall be transferred to the Wind-Down Debtors for
payment in accordance with the terms of the Plan.

               2.     Administrative Claims of OCPs

        All requests for payment of Professional Compensation Claims of OCPs shall be made
pursuant to the OCP Order. To the extent any Professional Compensation Claims of the OCPs
have not been Allowed pursuant to the OCP Order on or before the Effective Date, the amount of
Professional Compensation Claims owing to the OCPs shall be paid in Cash to such OCPs by the
Debtor or the Plan Administrator (as applicable) from the Professional Fee Reserve Account as
soon as reasonably practicable after such Professional Compensation Claims are Allowed pursuant
to the OCP Order.

               3.     Post-Confirmation Date Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtors or Plan Administrator (as applicable) shall, in the ordinary course of business
and without any further notice to or action, order, or approval of the Bankruptcy Court, pay in
Cash the reasonable and documented legal, professional, or other fees and expenses related to
implementation of the Plan and Consummation incurred by the Debtors or the Plan Administrator
(as applicable). Upon the Confirmation Date, any requirement that Professionals comply with
sections 327 through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and the Debtors or Plan
Administrator (as applicable) may employ and pay any Professional in the ordinary course of
business without any further notice to or action, order, or approval of the Bankruptcy Court.

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtors shall pay, within ten business days after submission of a detailed invoice to the
Debtors such reasonable claims for compensation or reimbursement of expenses incurred by the
Professionals of the Debtors. If the Debtors, in consultation with the Prepetition Term Loan
Administrative Agent, dispute the reasonableness of any such invoice, the Debtors or the affected
Professional may submit such dispute to the Bankruptcy Court for a determination of the
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reasonableness of any such invoice, and the disputed portion of such invoice shall not be paid until
the dispute is resolved.

               4.      Professional Fee Reserve Account

        On the Effective Date, the Debtors shall fund an amount in Cash into the Professional Fee
Reserve Account equal to (a) the aggregate accrued and unpaid Professional Compensation Claims
as of the Effective Date (which shall be estimated by each applicable Professional in its reasonable
discretion based on the amount of then-accrued Professional Compensation Claims plus a
reasonable estimate of fees and expenses that will accrue up until the Effective Date), less (b) any
amount then held in the Professional Fee Reserve Account.
        Funds held in the Professional Fee Reserve Account shall be held for the benefit of the
Professionals and shall not be property of the Estates. The Professionals shall reasonably and in
good faith estimate their Professional Compensation Claims before and as of the Effective Date,
taking into account any prior payments, and shall deliver such estimates to the Debtors no later
than five (5) Business Days prior to the anticipated Effective Date.
        Professional Compensation Claims shall be paid in full without interest or other earnings
therefrom, in Cash, from the Professional Fee Reserve Account, in such amounts as are Allowed
by the Bankruptcy Court as soon as reasonably practicable after such Professional Compensation
Claims are allowed. The obligations of the Estates with respect to Professional Compensation
Claims shall not be limited by nor deemed limited to the balance of funds held in the Professional
Fee Reserve Account. To the extent that funds held in the Professional Fee Reserve Account are
insufficient to satisfy the amount of accrued Professional Compensation Claims owing to the
Professionals, such Professionals shall have an Allowed Administrative Claim for any such
deficiency. No Liens, claims, or interests shall encumber the Professional Fee Reserve Account
in any way, other than customary liens in favor of the depository bank at which the Professional
Fee Reserve Account is maintained.
       C.      Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final
satisfaction, settlement, release, and discharge of such Claim, treatment in a manner consistent
with section 1129(a)(9)(C) of the Bankruptcy Code, which treatment shall be reasonably
acceptable to the Prepetition Term Loan Administrative Agent.

       D.      U.S. Trustee Statutory Fees

        All U.S. Trustee Statutory Fees due and payable prior to the Effective Date shall be paid
by the Debtors. On and after the Effective Date, the Plan Administrator shall pay any and all U.S.
Trustee Statutory Fees when due and payable, and shall file with the Bankruptcy Court quarterly
reports in a form reasonably acceptable to the U.S. Trustee. Each of the Debtors and the Plan
Administrator, as applicable, shall remain obligated to pay quarterly fees to the U.S. Trustee until
the earliest of that particular Debtor’s case being closed, dismissed, or converted to a case under
chapter 7 of the Bankruptcy Code.



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                               ARTICLE III.
          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

       A.      Classification of Claims and Interests

        Except for the Claims addressed in Article II herein, all Claims and Interests are classified
in the Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the Bankruptcy
Code. A Claim or an Interest is classified in a particular Class only to the extent that the Claim or
Interest qualifies within the description of that Class and is classified in other Class to the extent
that any portion of the Claim or Interest qualifies within the description of such other Class. A
Claim also is classified in a particular Class for the purpose of receiving distributions under the
Plan only to the extent that such Claim is an Allowed Claim in that Class and has not been
otherwise paid, released, or satisfied at any time.

       The classification of Claims against and Interests in the Debtors pursuant to the Plan is as
follows:

  Class        Claims and Interests           Status                    Voting Rights

 Class 1    Other Secured Claims           Unimpaired      Not Entitled to Vote (Presumed to
                                                           Accept)

 Class 2    Other Priority Claims          Unimpaired      Not Entitled to Vote (Presumed to
                                                           Accept)

 Class 3    Prepetition Term Loan            Impaired      Entitled to Vote
            Claims

 Class 4    General Unsecured Claim          Impaired      Entitled to Vote

 Class 5    Intercompany Claims            Unimpaired      Not Entitled to Vote (Presumed to
                                           / Impaired      Accept) / Not Entitled to Vote (Deemed
                                                           to Reject)

 Class 6    Existing Equity Interests        Impaired      Not Entitled to Vote (Deemed to
                                                           Reject)

       B.      Treatment of Claims and Interests

               1.      Class 1 – Other Secured Claims

                       i.      Classification: Class 1 consists of all Other Secured Claims against
the Debtors.

                         ii.     Treatment: Except to the extent the Holder of an Allowed Other
Secured Claim agrees to less favorable treatment, each Holder of an Allowed Other Secured Claim
shall receive, in full and final satisfaction, settlement, release, and discharge of such Claim, at the

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Debtors’ option and with the consent (in each case not to be unreasonably withheld or delayed) of
the Prepetition Term Loan Administrative Agent: (a) payment in full in cash; (b) the collateral
securing its Allowed Other Secured Claim; (c) Reinstatement of its Allowed Other Secured Claim;
or (d) such other treatment rendering its Allowed Other Secured Claim Unimpaired in accordance
with section 1124 of the Bankruptcy Code.

                        iii. Voting: Class 1 is Unimpaired, and Holders of Other Secured
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, Holders of Class 1 Other Secured Claims are not entitled to vote to
accept or reject the Plan.

               2.      Class 2 – Other Priority Claims

                       i.      Classification: Class 2 consists of all Other Priority Claims against
the Debtors.

                       ii.     Treatment: Except to the extent the Holder of an Allowed Other
Priority Claim agrees to less favorable treatment, each holder of an Allowed Other Priority Claim
shall receive, in full and final satisfaction, settlement, release, and discharge of such Claim,
treatment in a manner consistent with section 1129(a)(9) of the Bankruptcy Code, which treatment
shall be reasonably acceptable to the Prepetition Term Loan Administrative Agent.

                      iii.   Voting: Class 2 is Unimpaired, and Holders of Other Priority Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Therefore, Holders of Class 2 Other Priority Claims are not entitled to vote to accept or
reject the Plan.

               3.      Class 3 – Prepetition Term Loan Claims

                       i.      Classification: Class 3 consists of all Prepetition Term Loan Claims
against the Debtors.

                        ii.       Treatment: On the Effective Date, the Prepetition Term Loan
Claims shall be Allowed and deemed to be Allowed Claims in the full amount due and payable
under the Prepetition Term Loan Documents, including all principal, any accrued and unpaid
interest at the applicable rate through the Effective Date, and all accrued and unpaid fees, expenses,
and non-contingent indemnity payable under the Prepetition Term Loan Documents (including the
fees and expenses of the Prepetition Term Loan Advisors). Except to the extent the holder of an
Allowed Prepetition Term Loan Claim agrees to less favorable treatment, each Holder of an
Allowed Prepetition Term Loan Claim shall receive, in full and final satisfaction, settlement,
release, and discharge of such Claim, on the Effective Date or as soon as reasonably practicable
thereafter:

                                       (a)     its pro rata share of all Distributable Cash of the
                                               Debtors or the Wind-Down Debtors (as applicable),
                                               less (i) an amount of Cash required to pay
                                               Administrative Claims and Priority Tax Claims
                                               Allowed as of the Effective Date, and the funding of

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                                                      the Wind-Down Budget, (ii) Cash required to fund
                                                      the Professional Fee Reserve Account in accordance
                                                      with the Plan, (iii) the General Unsecured Creditor
                                                      Distribution, and (iv) an amount of Cash required to
                                                      pay Claims in Classes 1 and 2 as provided in the
                                                      Plan; 1 and

                                             (b)      its pro rata share of the Contingent Sale Proceeds.

                      iii.    Voting: Class 3 is impaired, and Holders of the Prepetition Term
Loan Claims are entitled to vote to accept or reject the Plan.

                  4.       Class 4 – General Unsecured Claims

                           i.       Classification: Class 4 consists of all General Unsecured Claims
against the Debtor.

                      ii.   Treatment: Except to the extent the holder of an Allowed General
Unsecured Claim agrees to less favorable treatment, on the Effective Date, each holder of an
Allowed General Unsecured Claim shall receive its pro rata share of the General Unsecured
Creditor Distribution. The Prepetition Term Loan Secured Parties will not participate in the
General Unsecured Creditor Distribution on account of any deficiency claim.

                       iii.    Voting: Class 4 is Impaired, and Holders of General Unsecured
Claims are entitled to vote to accept or reject the Plan.

                  5.       Class 5 – Intercompany Claims

                           i.       Classification: Class 5 consists of the Intercompany Claims.

                      ii.      Treatment: On the Effective Date, each holder of an Allowed
Intercompany Claim shall have its Claim Reinstated or cancelled, released, and extinguished and
without any distribution at the election of the Debtors, which treatment shall be reasonably
acceptable to the Prepetition Term Loan Administrative Agent.

                        iii.    Voting: Class 5 is conclusively deemed to have accepted the Plan
pursuant to section 1126(g) of the Bankruptcy Code or rejected the Plan pursuant to section
1126(g) of the Bankruptcy Code. Therefore, Holders of Class 5 Intercompany Claims are not
entitled to vote to accept or reject the Plan.




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  Pursuant to paragraph 28 of the Cash Collateral Order, cash proceeds of the Sale Transaction will be distributed to
the Prepetition Term Loan Administrative Agent for the benefit of Class 3 as provided in the Cash Collateral Order
as soon as practically possible following closing of the Sale Transaction.

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               6.      Class 6 – Existing Equity Interests

                       i.      Classification: Class 6 consists of all Existing Equity Interests in
the Debtors.

                       ii.     Treatment: On the Effective Date, each holder of each Existing
Equity Interest in any of the Debtors shall have such Interest cancelled, released, and extinguished
and without any distribution or compensation.

                        iii.  Voting: Class 6 is Impaired, and Holders of Existing Equity
Interests are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, Holders of Class 6 Existing Equity Interests are not entitled to vote
to accept or reject the Plan.

       C.      Special Provision Governing Unimpaired Claims

       Except as otherwise provided in this Plan, nothing under this Plan shall affect the rights of
the Debtors or the Plan Administrator with respect to any Unimpaired Claims, including all rights
in respect of legal and equitable defenses to, or setoffs or recoupments against, any such
Unimpaired Claims.

       D.      Elimination of Vacant Classes

        Any Class that, as of the commencement of the Combined Hearing, does not have at least
one Holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
shall be considered vacant, deemed eliminated from this Plan for purposes of voting to accept or
reject this Plan, and disregarded for purposes of determining whether this Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to such Class.

       E.      Voting Classes, Presumed Acceptance by Non-Voting Classes

       With respect to each Debtor, if a Class contained Claims eligible to vote and no holder of
Claims eligible to vote in such Class votes to accept or reject this Plan, this Plan shall be presumed
accepted by the holders of such Claims in such Class.

       F.      Controversy Concerning Impairment

      If a controversy arises as to whether any Claim or any Class of Claims is Impaired, the
Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Combined Hearing.

       G.      Subordination of Claims

        The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan shall take into account and conform to the
relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, contract, section 510(b) of the Bankruptcy Code, or

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otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors or the Plan Administrator
(as applicable) reserve the right to re-classify any Allowed Claim or Allowed Interest in
accordance with any contractual, legal, or equitable subordination relating thereto.

       H.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
               Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
by acceptance of the Plan by one or more of the Classes entitled to vote pursuant to this Article III
of the Plan. The Debtors hereby request Confirmation of the Plan under section 1129(b) of the
Bankruptcy Code with respect to any Class that is deemed to reject the Plan pursuant to section
1126(g) of the Bankruptcy Code. The Debtors reserve the right to request Confirmation of the
Plan under section 1129(b) of the Bankruptcy Code with respect to any voting Class that votes to
reject the Plan.

       I.      Insurance

        Notwithstanding anything to the contrary in the Plan, if any Claim is subject to coverage
under an Insurance Policy, payments on account of such Claim will first be made from proceeds
of such Insurance Policy in accordance with the terms thereof, with the balance of such Claim, if
any, treated in accordance with the provisions of the Plan governing the Class applicable to such
Claim.

                                  ARTICLE IV.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

       A.      General Settlement of Claims and Interests

        Pursuant to section 1123(b)(2) of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the distributions, releases, and other benefits provided pursuant to this Plan, upon
the Effective Date, the provisions of this Plan shall constitute a good faith compromise and
settlement of Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that a creditor or an Interest holder may have with respect to any Allowed
Claim or Interest or any distribution to be made on account of such Allowed Claim or Interest.
The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
compromise and settlement of all such Claims, Interests, and controversies, as well as a finding by
the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors,
their Estates, and holders of such Claims and Interests, and is fair, equitable, and reasonable.

       B.      Liquidation Transactions

        On or before the Effective Date, the Debtors or the Plan Administrator shall enter into and
take any actions that may be necessary or appropriate to effectuate the Sale Transaction or the
Wind-Down of the Debtors, as applicable, including but not limited to: (1) the execution and
delivery of appropriate agreements or other documents of consolidation, conversion, disposition,
transfer, or dissolution containing terms that are consistent with the terms of this Plan and that
satisfy the requirements of applicable law; (2) the execution and delivery of any appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right,

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liability, debt, duty, or obligation on terms consistent with this Plan; (3) the filing of appropriate
documents with the appropriate governmental authorities pursuant to applicable law; and (4) any
and all other actions that the Debtors or the Plan Administrator determine are necessary or
appropriate to effectuate the Plan.

               1.      Wind-Down of the Debtors

        Following the Effective Date, the Plan Administrator shall Wind-Down the affairs and
operations of the Debtors and their Estates including, but not limited to: (i) liquidating the Debtors’
assets remaining after consummation of the Sale Transaction, if any, including through the
prosecution of any claims or causes of action of the Debtors preserved herein and (ii) distributing
the Distributable Cash and other assets of the Debtors pursuant to the terms of this Plan. The
Debtors shall consult with the Prepetition Term Loan Administrative Agent on all aspects of the
Wind-Down.

        The responsibilities and authority of the Plan Administrator shall include the following
rights and responsibilities: (i) preserving and liquidating the Debtors’ remaining assets;
(ii) administering and paying taxes, including, among other things, (a) filing tax returns (to the
extent not the obligation of any Purchaser), and (b) representing the interest and account of the
Debtors before any taxing authority in all matters; (iii) retaining and paying, without the need for
retention or fee applications, professionals in connection with the Plan Administrator’s
performance of its duties under this Plan; (iv) distributing information statements as required for
U.S. federal income tax and other applicable tax purposes; (v) Filing an application for entry by
the Bankruptcy Court of a final decree closing the Chapter 11 Cases; (vi) making distributions to
Professionals for Allowed Professional Compensation Claims from the Professional Fee Reserve
Account; (vii) making distributions of the Distributable Cash; (viii) procuring the necessary
insurance to facilitate the Wind-Down, including appropriate D&O Liability Insurance Policies;
and (ix) such other responsibilities as may be vested in the Plan Administrator pursuant to this
Plan or an order of the Bankruptcy Court (including, without limitation, the Confirmation Order),
or as may be necessary and proper to carry out the provisions of this Plan.

       C.      Sources of Consideration for Plan Distributions

        Subject to the provisions of the Plan concerning the Professional Fee Reserve Account and
the Wind-Down Budget, the Debtors or the Plan Administrator (as applicable) shall fund
distributions under the Plan with the remaining proceeds from the Sale Transaction and the
proceeds of the liquidation of the Debtors’ other assets, if any, all in accordance with the terms
herein.

       D.      Vesting of Assets

        Except as otherwise provided in this Plan or the Sale Order, on and after the Effective Date,
pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all Net Distributable Assets of the
Estates, including all claims, rights, and Causes of Action and any property acquired by the Debtors
under or in connection with this Plan, shall vest in each respective Debtor free and clear of all
Claims, Liens, encumbrances, charges, and other interests. Subject to the terms of this Plan, on or
after the Effective Date, the Plan Administrator may use, acquire, and dispose of the Net

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Distributable Assets, and may prosecute, compromise, or settle any Claims and Causes of Action
without supervision of or approval by the Bankruptcy Court and free and clear of any restrictions
of the Bankruptcy Code or the Bankruptcy Rules other than restrictions expressly imposed by this
Plan or the Confirmation Order.

       E.      Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, the Plan Administrator shall
retain and may enforce all rights to commence and pursue, as appropriate, any and all Causes of
Action of the Debtors that are not otherwise transferred or sold pursuant to the Sale Transaction or
distributed pursuant to the Plan, whether arising before or after the Petition Date, and the Plan
Administrator’s rights to commence, prosecute, or settle such Causes of Action shall be preserved
notwithstanding the occurrence of the Effective Date, other than the Causes of Action released by
the Debtors pursuant to the releases and exculpations contained in the Plan, including in Article
IX hereof, which shall be deemed released and waived by the Debtors and the Plan Administrator
as of the Effective Date. No Entity (other than the Released Parties) may rely on the absence of a
specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against it as any indication that the Debtors or the Plan Administrator, as applicable, will
not pursue any and all available Causes of Action of the Debtors against it.

       F.      Corporate Action

        On the Effective Date and following satisfaction of the Debtors’ distribution and funding
requirements set forth in the Plan, the Debtors shall be dissolved for all purposes unless the Plan
Administrator determines that dissolution can have any adverse impact on the value of the Debtors’
Assets; provided, that neither the Debtors nor any party released pursuant to Article IX herein shall
be responsible for any liabilities that may arise as a result of non-dissolution of the Debtors;
provided further, that nothing in the Plan shall be construed as relieving the Debtors or the Plan
Administrator (as applicable) of their duties to pay U.S. Trustee Statutory Fees as required by the
Bankruptcy Code and applicable law until such time as a final decree is entered in the Debtors’
Chapter 11 Cases or the cases are dismissed or converted to cases under chapter 7 of the
Bankruptcy Code. The Plan Administrator shall submit with the appropriate governmental
agencies a copy of the Confirmation Order, which Confirmation Order shall suffice for purposes
of obtaining a Certificate of Dissolution from the applicable Secretary of State or equivalent body.

        Without limiting the foregoing, on the Effective Date and following satisfaction of the
Debtors’ distribution and funding requirements set forth in the Plan, the Debtors shall have no
further duties or responsibilities in connection with implementation of this Plan, and the directors
and officers of the Debtors shall be deemed to have resigned. From and after the Effective Date,
the Plan Administrator shall be authorized to act on behalf of the Estates, provided that the Plan
Administrator shall have no duties other than as expressly set forth in the Plan or the Confirmation
Order.

       G.      Cancellation of Existing Securities and Agreements

       Except for the purpose of evidencing a right to a distribution under this Plan and except as
otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, notes,

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certificates, indentures, mortgages, securities and other documents evidencing any Claim or
Interest, and any rights of any Holder in respect thereof, shall be deemed cancelled and of no
further force or effect and the obligations of the Debtors thereunder shall be deemed fully satisfied,
released, and discharged and, as applicable, shall be deemed to have been surrendered to the Plan
Administrator. The holders of or parties to such cancelled instruments, securities, and other
documentation shall have no rights arising from or related to such instruments, securities, or other
documentation or the cancellation thereof, except the rights provided for pursuant to this Plan.

       H.      Effectuating Documents; Further Transactions

        Upon entry of the Confirmation Order, the Debtors or the Plan Administrator (as
applicable) shall be authorized to execute, deliver, file, or record such contracts, instruments,
releases, consents, certificates, resolutions, programs, and other agreements or documents, and
take such acts and actions as may be reasonable, necessary, or appropriate to effectuate, implement,
consummate, and/or further evidence the terms and conditions of this Plan and any transactions
described in or contemplated by this Plan. The Debtor, the Plan Administrator, all Holders of
Claims receiving distributions pursuant to this Plan, and all other parties in interest shall, from
time to time, prepare, execute, and deliver any agreements or documents, and take any other
actions as may be necessary or advisable to effectuate the provisions and intent of this Plan.

       I.      Section 1146 Exemption from Certain Taxes and Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other
similar tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate
state or local governmental officials or agents shall forgo the collection of any such tax or
governmental assessment and accept for filing and recordation all such instruments or other
documents governing or evidencing such transfers without the payment of any such tax,
recordation fee, or governmental assessment.

       J.      Sale Order

        Notwithstanding anything to the contrary herein, nothing in this Plan shall affect, impair
or supersede the Sale Order(s) or Transaction Documents, each of which remains in full force and
effect and governs in the event of any inconsistency with the Plan.

       K.      Authority to Act

        Prior to, on, or after the Effective Date (as appropriate), all matters expressly provided for
under this Plan that would otherwise require approval of the stockholders, security holders,
officers, directors, or other owners of the Debtors shall be deemed to have occurred and shall be
in effect prior to, on, or after the Effective Date (as applicable) pursuant to the applicable law of
the state(s) in which the Debtors are formed, without any further vote, consent, approval,
authorization, or other action by such stockholders, security holders, officers, directors, or other
owners of the Debtor or notice to, order of, or hearing before, the Bankruptcy Court.



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       L.      Separate Plans

        Notwithstanding the combination of separate plans of liquidation for the Debtors set forth
in this Plan for purposes of economy and efficiency, this Plan constitutes a separate chapter 11
plan for each Debtor. Accordingly, if the Bankruptcy Court does not confirm this Plan with respect
to one or more Debtors, it may still confirm this Plan with respect to any other Debtor that satisfies
the Confirmation requirements of section 1129 of the Bankruptcy Code.

       M.      Registered Form

        Any assignment of rights to Contingent Sale Proceeds shall be made only through a book
entry system maintained by Debtor (on its own behalf and as an agent of the buyer of the assets
sold in the Sale Transaction). The foregoing sentence shall be construed so that the obligation to
pay any Contingent Sale Proceeds shall be treated as an obligation that is maintained in “registered
form” within the meaning of Sections 163(f), 871(h)(2) and 881(c)(2) of the Internal Revenue
Code of 1986, as amended.

                           ARTICLE V.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

       On the Effective Date, except as otherwise provided herein (which exclusion includes the
Indemnification Obligations, the D&O Liability Insurance Policies, and the Employment
Agreements) or otherwise identified on the Schedule of Assumed Executory Contracts and
Unexpired Leases, if any (which shall be included in the Plan Supplement), all Executory
Contracts or Unexpired Leases not previously assumed, assumed and assigned, or rejected
pursuant to an order of the Bankruptcy Court, will be deemed rejected, in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code other than those
Executory Contracts or Unexpired Leases that are the subject of a motion to assume that is pending
on the Confirmation Date.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Transaction
Documents or this Plan, and payment of any cure amounts relating thereto, shall, upon satisfaction
of the applicable requirements of section 365 of the Bankruptcy Code, result in the full, final, and
complete release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,
including defaults or provisions restricting the change in control of ownership interest composition
or other bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired
Lease at any time prior to the effective date of assumption.

       B.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

        If the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan and
Confirmation Order results in a Claim, then, unless otherwise ordered by the Court, such Claim
shall be forever barred and shall not be enforceable against the Debtors, the Estates, the Plan
Administrator, or any of their respective assets and properties unless a Proof of Claim is Filed with
the Notice and Claims Agent and served upon counsel to the Plan Administrator within thirty (30)
days of the Effective Date.

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        The foregoing applies only to Claims arising from the rejection of an Executory Contract
or Unexpired Lease under the Plan and Confirmation Order; any other Claims held by a party to a
rejected Executory Contract or Unexpired Lease shall have been evidenced by a Proof of Claim
Filed by the applicable Bar Date or shall be barred and unenforceable. Claims arising from the
rejection of Executory Contracts or Unexpired Leases under the Plan and Confirmation Order shall
be classified as General Unsecured Claims and shall, if Allowed, be treated in accordance with the
provisions herein.

       Any Claims arising from the rejection of an Executory Contract or Unexpired Lease
pursuant to the Plan and Confirmation Order that are not timely Filed within thirty (30)
days of the Effective Date will be disallowed automatically, forever barred from assertion,
and shall not be enforceable against, as applicable, the Debtors, the Estates, the Plan
Administrator, or any of their respective assets and properties.

       C.      Reservation of Rights

        Neither the exclusion nor the inclusion by the Debtors of any contract or lease on any
exhibit, schedule, or other annex to this Plan or in the Plan Supplement, nor anything contained in
this Plan, shall constitute an admission by the Debtors that any such contract or lease is or is not
an Executory Contract or Unexpired Lease or that the Debtors, the Plan Administrator, or their
respective affiliates has any liability thereunder. Except as explicitly provided in this Plan, nothing
in this Plan shall waive, excuse, limit, diminish, or otherwise alter any of the defenses, claims,
Causes of Action, or other rights of the Debtors or the Plan Administrator under any executory or
non-executory contract or unexpired or expired lease. If there is a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of its assumption under this Plan, the
Debtors or Wind-Down Debtors, as applicable, shall have thirty (30) days following entry of a
Final Order resolving such dispute to alter their treatment of such contract or lease.

       D.      Preexisting Obligations to the Debtors Under Executory Contracts and
               Unexpired Leases

       Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
shall not constitute a termination of preexisting obligations owed to the Debtors under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law
to the contrary, the Debtors expressly reserve and do not waive any right to receive, or any
continuing obligation of a counterparty to provide, warranties, indemnity or continued
maintenance obligations.

       E.      Indemnity Obligations

       Each of the Debtors’ Indemnification Obligations shall not be discharged, impaired, or
otherwise affected by the Plan. The Indemnification Obligations shall be deemed Executory
Contracts assumed or assumed and assigned by the Debtors under the Plan.

       F.      D&O Liability Insurance Policies

       Each D&O Liability Insurance Policy to which the Debtors are a party as of the Effective
Date shall be deemed an Executory Contract and shall be automatically assumed or assumed and

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assigned by the applicable Debtor, effective as of the Effective Date, pursuant to sections 365 and
1123 of the Bankruptcy Code. For the avoidance of doubt, coverage for defense and indemnity
under the D&O Liability Insurance Policies shall remain available to all individuals within the
definition of “Insured” in the D&O Liability Insurance Policies. In addition, after the Effective
Date, all officers, directors, agents, or employees of the Debtors who served in such capacity at
any time before the Effective Date shall be entitled to the full benefits of the D&O Liability
Insurance Policies (including any “tail” policy) in effect or purchased as of the Effective Date for
the full term of such policy regardless of whether such officers, directors, agents, and/or employees
remain in such positions after the Effective Date, in each case, to the extent set forth in the D&O
Liability Insurance Policies.

       G.      Employment Agreements

        Any Employment Agreement not assumed and assigned pursuant to the Transaction
Documents as part of the Sale Transaction shall be assumed by the Plan Administrator on the
Effective Date of the Plan.

       H.      Modifications,     Amendments,         Supplements,    Restatements,     or    Other
               Agreements

       Modifications, amendments, supplements, and restatements to a prepetition Executory
Contract and/or Unexpired Lease that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease.

       I.      Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

       J.      Employee Compensation and Benefits

        All employment policies, and all compensation and benefits plans, policies, and programs
of the Debtors applicable to their respective employees, retirees, and nonemployee directors,
including all savings plans, retirement plans, healthcare plans, disability plans, severance benefit
plans, incentive plans, and life and accidental death and dismemberment insurance plans, are
deemed to be, and shall be treated as, Executory Contracts under this Plan and, on the Effective
Date, shall be rejected pursuant to sections 365 and 1123 of the Bankruptcy Code.

                                   ARTICLE VI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Distributions on Account of Claims Allowed as of the Effective Date

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtors, or their respective
agents, shall be deemed closed, and there shall be no further changes in the record holders of any

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of the Claims or Interests. The Disbursing Agent shall have no obligation to recognize any
ownership transfer of the Claims or Interests occurring on or after the Distribution Record Date.
The Disbursing Agent shall be entitled to recognize and deal for all purposes hereunder only with
those record holders stated on the transfer ledgers as of the close of business on the Distribution
Record Date, to the extent applicable.

        Except as otherwise provided herein, the Disbursing Agent shall make distributions to
Holders of Allowed Claims as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided, that the
manner of such distributions shall be determined at the discretion of the Disbursing Agent;
provided further, that to the extent a Proof of Claim has been filed, the address for each Holder of
an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder. The Disbursing Agent shall make all distributions for Class 3 Claims to the Prepetition
Term Loan Administrative Agent, who shall then distribute such individual amounts to the
Prepetition Term Loan Secured Parties in accordance with the Prepetition Term Loan Documents.

       B.      Compliance with Tax Requirements

        In connection with this Plan, any Person issuing any instrument or making any distribution
or payment in connection therewith, shall comply with all applicable withholding and reporting
requirements imposed by any federal, state, or local taxing authority. In the case of a non-Cash
distribution that is subject to withholding, the distributing party may require the intended recipient
of such distribution to provide the withholding agent with an amount of Cash sufficient to satisfy
such withholding tax as a condition to receiving such distribution or withhold an appropriate
portion of such distributed property and either (1) sell such withheld property to generate Cash
necessary to pay over the withholding tax (or reimburse the distributing party for any advance
payment of the withholding tax) or (2) pay the withholding tax using its own funds and retain such
withheld property. The distributing party shall have the right not to make a distribution under this
Plan until its withholding or reporting obligation is satisfied pursuant to the preceding sentences.
Any amounts withheld pursuant to this Plan shall be deemed to have been distributed to and
received by the applicable recipient for all purposes of this Plan.

        Any party entitled to receive any property as an issuance or distribution under this Plan
shall, upon request, deliver to the withholding agent or such other Person designated by the Plan
Administrator the appropriate IRS Form or other tax forms or documentation requested by the Plan
Administrator to reduce or eliminate any required federal, state, or local withholding. If the party
entitled to receive such property as an issuance or distribution fails to comply with any such request
for a one hundred eighty (180) day period beginning on the date after the date such request is made,
the amount of such issuance or distribution shall irrevocably revert to the Plan Administrator and
any Claim in respect of such distribution under this Plan shall be discharged and forever barred
from assertion against such Debtor, the Plan Administrator, or their respective property.

        Notwithstanding the above, each Holder of an Allowed Claim or Interest that is to receive
a distribution under this Plan shall have the sole and exclusive responsibility for the satisfaction
and payment of any tax obligations imposed on such Holder by any Governmental Unit, including
income, withholding, and other tax obligations, on account of such Plan Distribution.


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       C.      Date of Distributions

        Distributions made after the Effective Date to holders of Allowed Claims shall be deemed
to have been made on the Effective Date and no interest shall accrue or be payable with respect to
such Claims or any distribution related thereto. In the event that any payment or act under this
Plan is required to be made or performed on a date that is not a Business Day, then the making of
such payment or the performance of such act may be completed on or as soon as reasonably
practicable after the next succeeding Business Day, but shall be deemed to have been completed
as of the required date.

       D.      Disbursing Agent

         Except as may be otherwise provided in the Sale Order or Cash Collateral Order, all
distributions under this Plan shall be made by the Disbursing Agent on and after the Effective Date
and as provided herein. The Disbursing Agent shall not be required to give any bond or surety or
other security for the performance of its duties. The Debtors shall use commercially reasonable
efforts to provide the Disbursing Agent with the amounts of Claims and the identities and addresses
of Holders of Claims, in each case, as set forth in the Debtors’ books and records. The Debtors
shall cooperate in good faith with the Disbursing Agent to comply with the reporting and
withholding requirements outlined in the Plan.

       E.      Rights and Powers of Disbursing Agent

       The Disbursing Agent may (1) effect all actions and execute all agreements, instruments,
and other documents necessary to carry out the provisions of this Plan; (2) make all distributions
contemplated hereby; and (3) perform such other duties as may be required of the Disbursing
Agent pursuant to this Plan or as deemed by the Disbursing Agent to be necessary and proper to
implement the provisions hereof.

       F.      Surrender of Instruments

        As a condition precedent to receiving any distribution under this Plan, each holder of a
certificated instrument or note must surrender such instrument or note held by it to the Plan
Administrator or its designee. Any holder of such instrument or note that fails to (1) surrender the
instrument or note; or (2) execute and deliver an affidavit of loss or indemnity reasonably
satisfactory to the Plan Administrator and furnish a bond in form, substance, and amount
reasonably satisfactory to the Plan Administrator within six (6) months of being entitled to such
distribution shall be deemed to have forfeited all rights and claims and may not participate in any
distribution hereunder.

       G.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

        Subject to applicable Bankruptcy Rules, all distributions to Holders of Allowed Claims
shall be made by the Disbursing Agent, who shall transmit such distributions to the applicable
Holders of Allowed Claims or their designees.

        If any distribution to a holder of an Allowed Claim (1) is returned as undeliverable for lack
of a current address or otherwise; or (2) is not cashed or otherwise presented for collection by the

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holder of the Allowed Claim within ninety (90) calendar days after the mailing of such distribution,
the Plan Administrator shall be authorized to cancel such distribution check and file with the
Bankruptcy Court the name and last known address of the holder of undeliverable distribution or
uncashed distribution, as applicable. If, after the passage of thirty (30) calendar days after such
Filing, the payment or distribution on the Allowed Claim still cannot be made, then (1) the holder
of such Claim shall cease to be entitled to the undeliverable distribution or uncashed distribution,
which will revert to the Plan Administrator for distribution in accordance with the terms of this
Plan; and (2) the Allowed Claim of such holder shall be deemed disallowed and expunged for
purposes of further distributions under the Plan.

       H.      Manner of Payment

        Except as specifically provided herein, at the option of the Debtors or the Plan
Administrator, as applicable, any Cash payment to be made under this Plan may be made by a
check or wire transfer or as otherwise required or provided in applicable agreements or customary
practices of the Debtors.

       I.      Foreign Currency Exchange Rate

       As of the Effective Date, any Claim asserted in currency other than U.S. dollars shall be
automatically deemed converted to the equivalent U.S. dollar value using the exchange rate for the
applicable currency as published in The Wall Street Journal, on the Petition Date.

       J.      Setoffs and Recoupment

        The Debtors and the Plan Administrator, pursuant to the Bankruptcy Code (including
section 553 of the Bankruptcy Code), and applicable bankruptcy and/or non-bankruptcy law,
without the approval of the Bankruptcy Court and upon no less than fourteen (14) calendar days’
notice to the applicable Holder of a Claim, or as may be agreed to by the Holder of a Claim, may,
but shall not be required to, set off against or recoup against any Allowed Claim and the
distributions to be made pursuant to this Plan on account of such Allowed Claim, any claims of
any nature whatsoever that the Debtors or their Estates may have against the Holder of such
Allowed Claim; provided, that neither the failure to effect such a setoff or recoupment nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtors or the Plan
Administrator of any such claim the Debtors or their Estates may have against the holder of such
Claim.

       K.      Minimum Distribution

        No payment of Cash in an amount of less than one hundred U.S. dollars ($100.00) shall be
required to be made on account of any Allowed Claim. Such undistributed amount may instead
be used in accordance with the Plan and the Wind-Down Budget. If the Cash available for the
final distribution is less than the cost to distribute such funds, the Plan Administrator may donate
such funds to the unaffiliated charity of its choice.




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       L.      Allocations

       Except as otherwise provided in this Plan or as otherwise required by law, distributions
with respect to an Allowed Claim shall be allocated first to the principal portion of such Allowed
Claim (as determined for U.S. federal income tax purposes) and, thereafter, to the remaining
portion of such Allowed Claim, if any.

       M.      Distributions Free and Clear

       Except as otherwise provided in this Plan, any distribution or transfer made under this Plan,
including distributions to any Holder of an Allowed Claim, shall be free and clear of any Liens,
Claims, encumbrances, charges, and other interests, and no other entity shall have any interest,
whether legal, beneficial, or otherwise, in property distributed or transferred pursuant to this Plan.

       N.      Claims Paid or Payable by Third Parties

               1.      Claims Paid by Third Parties

        If a Holder of a Claim receives a payment or other satisfaction of its Claim other than
through the Debtors or Plan Administrator on account of such Claim, such Claim shall be reduced
by the amount of such payment or satisfaction without an objection to such Claim having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court, and
if the Claim was paid or satisfied in full other than through the Debtors or the Plan Administrator,
then such Claim shall be disallowed and any recovery in excess of a single recovery in full shall
be paid over to the Plan Administrator without an objection to such Claim having to be Filed and
without any further notice to or action, order, or approval of the Bankruptcy Court. To the extent
a Holder of a Claim receives a distribution on account of such Claim and receives payment or
satisfaction from a party that is not the Debtors or the Plan Administrator on account of such Claim,
such Holder shall, within fourteen (14) calendar days of receipt thereof, repay or return the
distribution to the Debtors or the Plan Administrator, to the extent the Holder’s total recovery on
account of such Claim from the third party and under the Plan exceeds the amount of such Claim
as of the date of any such distribution under the Plan.

               2.      Claims Payable by Third Parties

        No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtors’ Insurance Policies until the holder of such Allowed Claim
has exhausted all remedies with respect to such Insurance Policy. To the extent that one or more
of the Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated
by a court of competent jurisdiction), then immediately upon such insurers’ agreement, the
applicable portion of such Claim may be expunged without an objection to such Claim having to
be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

               3.      Applicability of Insurance Policies

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
be in accordance with the provisions of any applicable insurance policy. Except as set forth in
Article IX herein, nothing in this Plan shall constitute or be deemed a waiver of any Cause of

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Action that the Debtors or any Entity, including the Plan Administrator, may hold against any other
Entity, including insurers under any policies of insurance, nor shall anything contained herein
constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses,
held by such insurers.

       O.      No Postpetition Interest on Claims

        Unless otherwise specifically provided for in this Plan or the Confirmation Order, or
required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue
or be paid on any prepetition Claims, and no Holder of a Claim shall be entitled to interest accruing
on or after the Petition Date on such Claim.

                                 ARTICLE VII.
                    PROCEDURES FOR RESOLVING CONTINGENT,
                      UNLIQUIDATED, AND DISPUTED CLAIMS

       A.      Allowance of Claims

        After the Effective Date, the Plan Administrator shall have and retain any and all rights
and defenses that the Debtor had with respect to any Claim or Interest immediately prior to the
Effective Date.

       B.      Claims Administration Responsibilities

        Except as otherwise specifically provided in the Plan, after the Effective Date, the Plan
Administrator shall have the sole authority to: (1) File, withdraw, or litigate to judgment,
objections to Claims or Interests; (2) settle or compromise any Disputed Claim without any further
notice to or action, order, or approval by the Bankruptcy Court; and (3) administer and adjust the
Claims Register to reflect any such settlements or compromises without any further notice to or
action, order, or approval by the Bankruptcy Court.

       C.      Estimation of Claims and Interests

       Before or after the Effective Date, the Debtors or the Plan Administrator may (but are not
required to) at any time request that the Bankruptcy Court estimate any Disputed Claim that is
contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason,
regardless of whether any party previously has objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction to
estimate any such Claim, including during the litigation of any objection to any Claim or during
the appeal relating to such objection.

        Notwithstanding any provision otherwise herein, a Claim that has been expunged or
disallowed from the Claims Register, but that either is subject to appeal or has not been the subject
of a Final Order, shall be deemed to be estimated at zero dollars ($0.00) unless otherwise ordered
by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim, that estimated amount shall constitute a maximum limitation on such Claim
for all purposes under the Plan (including for purposes of distributions), and the Debtors or the


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Plan Administrator (as applicable) may elect to pursue any supplemental proceedings to object to
any ultimate distribution on such Claim.

       D.      Adjustment to Claims or Interests Without Objection

        Any Claim that has been paid, satisfied, or assumed by Purchaser(s) in the Sale
Transaction(s), or any Claim that has been amended or superseded, may be adjusted or expunged
on the Claims Register by the Debtors or the Plan Administrator (as applicable) without an
objection to such Claim having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court.

       E.      Time to File Objections to Claims

        Except as otherwise provided herein, any objections to Claims shall be Filed on or before
the Claims Objection Bar Date (as such date may be extended upon presentment of an order to the
Bankruptcy Court by the Plan Administrator or the Debtors).

       F.      Disallowance of Claims or Interests

       Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from
which property is sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy
Code or that the Debtors or the Plan Administrator allege is a transferee of a transfer that is
avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
Code shall be disallowed if: (1) the Entity, on the one hand, and the Debtors or the Plan
Administrator on the other hand, agree or the Bankruptcy Court has determined by Final Order
that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has failed to
turn over such property by the date set forth in such agreement or final order.

       G.      Disallowance of Late Claims

        Except as provided herein or otherwise agreed to by the Debtors, Wind-Down Debtors, or
the Plan Administrator, as applicable, any holder of a Claim Filed via Proof of Claim after the Bar
Date shall not receive any distributions on account of such Claims, unless on or before the
Combined Hearing such late Claim has been deemed timely Filed by a Final Order.

       H.      Disputed Claims Process

        All Claims held by Persons or Entities against whom or which the Debtor has commenced
a proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547, 548, 549, or 550
of the Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h),
544, 545, 548, 549 or 724(a) of the Bankruptcy Code shall be deemed Disputed Claims pursuant
to section 502(d) of the Bankruptcy Code and holders of such Claims shall not be entitled to vote
to accept or reject this Plan. A Claim deemed Disputed pursuant to this Article VII.H. shall
continue to be Disputed for all purposes until the relevant proceeding against the Holder of such
Claim has been settled or resolved by a Final Order and any sums due to the Debtor or the Plan
Administrator from such holder have been paid.


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       I.      Amendments to Claims

        Except as provided herein, on or after the Effective Date, without the prior authorization
of the Bankruptcy Court or the Plan Administrator, a Claim may not be Filed or amended and any
such new or amended Claim Filed shall be deemed disallowed in full and expunged without any
further notice to or action, order, or approval of the Bankruptcy Court.

       J.      No Distributions Pending Allowance

        If an objection to a Claim, Proof of Claim, or portion thereof is Filed, no payment or
distribution provided under the Plan shall be made on account of such Claim, Proof of Claim, or
portion thereof unless and until the Disputed Claim becomes an Allowed Claim.

       K.      Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
shall be made to the Holder of such Allowed Claim in accordance with the provisions of the Plan.
As soon as practicable after the date that the order or judgment of the Bankruptcy Court allowing
any Disputed Claim becomes a Final Order, the Disbursing Agent shall provide to the Holder of
such Claim the distribution to which such Holder is entitled under the Plan as of the Effective Date,
without any interest, dividends, or accruals to be paid on account of such Claim. No interest shall
accrue or be paid on any Claim with respect to the period from the Effective Date to the date a
final distribution is made on account of such Claim.

                               ARTICLE VIII.
                CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

       A.      Conditions Precedent to the Effective Date

       The following shall be conditions precedent to the occurrence of the Effective Date:

               (a) the Bankruptcy Court shall have entered the Confirmation Order, which shall:

                     (i)     authorize the Debtors to take all actions necessary to enter into,
                             implement, and consummate the contracts, instruments, releases,
                             leases, indentures, and other agreements or documents created in
                             connection with the Plan;

                     (ii)    decree that the provisions in the Confirmation Order and the Plan are
                             nonseverable and mutually dependent;

                     (iii)   authorize the Debtors, as applicable/necessary, to implement the
                             Liquidation Transactions and make all distributions and issuances as
                             required under the Plan;

                     (iv)    authorize the implementation of the Plan in accordance with its terms;
                             and


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                    (v)     provide that, pursuant to section 1146 of the Bankruptcy Code, the
                            assignment or surrender of any lease or sublease, and the delivery of
                            any deed or other instrument or transfer order, in furtherance of, or in
                            connection with the Plan, including any deeds, bills of sale, or
                            assignments executed in connection with any disposition or transfer
                            of assets contemplated under the Plan, shall not be subject to any
                            stamp, real estate transfer, mortgage recording, or other similar tax to
                            the fullest extent permissible;

              (b) the Debtors shall have obtained all authorizations, consents, regulatory
                  approvals, rulings, or documents that are necessary to implement and effectuate
                  the Plan;

              (c) the final version of each of the Plan and all documents contained in any
                  supplement to the Plan, including the Plan Supplement and all of the schedules,
                  documents, and exhibits contained therein shall have been Filed in a form
                  reasonably acceptable to the Prepetition Term Loan Administrative Agent;

              (d) the Debtors shall have fully funded the Professional Fee Reserve Account and
                  Wind-Down Budget;

              (e) all reasonable and documented professional fees and expenses of the Prepetition
                  Term Loan Advisors shall have been paid in full;

              (f) to the extent invoiced, the payment in cash in full of all Liquidation Expenses;

              (g) the Sale Transaction shall have been consummated substantially on the terms
                  described in the Bid Procedures Order; and

              (h) the Debtors shall have implemented the Liquidation Transactions and all
                  transactions contemplated in this Plan in a manner consistent with the Plan.

       B.      Waiver of Conditions Precedent to the Effective Date

       The Debtors, with the express prior written consent of the Prepetition Term Loan
Administrative Agent and, with respect solely to conditions (c) and (f), above, the Consenting
Unsecured Creditors (in each case not to be unreasonably withheld or delayed) solely to the extent
the Consenting Unsecured Creditors are materially and adversely affected, may waive any one or
more of the Conditions Precedent to the Effective Date.

                                ARTICLE IX.
                RELEASE, INJUNCTION, AND RELATED PROVISIONS

       A.      Debtor Releases

Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration,
as of the Effective Date, each of the Released Parties is unconditionally, irrevocably,
generally, individually, and collectively, released, acquitted, and discharged by the Debtors,

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the Wind-Down Debtors, and each of their Estates, including any successors to the Debtors
or any Estate’s representative appointed or selected pursuant to section 1123(b)(3) of the
Bankruptcy Code, from any and all Causes of Action, including any Avoidance Actions or
derivative Causes of Action asserted or assertable by or on behalf of a Debtor, a Wind-Down
Debtor, or any of their Estates, any Causes of Action that any Debtor, Wind-Down Debtor,
or any of their Estates would have been legally entitled to assert in its own right (whether
individually or collectively) or on behalf of the Holder of any Claim against or Interest in a
Debtor or other Entity, whether known or unknown, foreseen or unforeseen, asserted or
unasserted, matured or unmatured, existing or hereafter arising, in law, equity, contract,
tort, or otherwise that the Debtors, Wind-Down Debtors, or their Estates (whether
individually or collectively) ever had, now has, or thereafter can, shall, or may have, based
on or relating to, or in any manner arising from, in whole or in part: (a) the Debtors, the
Debtors’ in- or out-of-court restructuring efforts, the Marketing Process, intercompany
transactions, the Chapter 11 Cases, the purchase, sale, or rescission of any security of the
Debtors, any Sale Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the Transaction Documents, PSA, the Disclosure Statement, or the Plan, including
the Plan Supplement; (b) any Liquidation Transaction, contract, instrument, release, or
other agreement or document (including any legal opinion requested by any Entity regarding
any transaction, contract, instrument, document, or other agreement contemplated by the
Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) created or entered into in connection with the Sale Transaction, the PSA,
the Disclosure Statement, or the Plan, including the Plan Supplement; (c) the business or
contractual arrangements between any Debtor and any Released Party, whether before or
during the Debtors’ Chapter 11 Cases, or the restructuring of Claims and Interests before
or during the Chapter 11 Cases; (d) the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is affected by or classified in the Plan; (e) the filing of the
Chapter 11 Cases, the pursuit of Confirmation, the pursuit of consummation of the Plan, the
administration and implementation of the Plan, including any issuance or distribution of
securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement; or (f) any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date arising from or relating to any of the
foregoing, including, without limitation, the Prepetition Loan Documents, any Interests, and
all matters relating thereto.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above shall
not release: (a) to the extent that any Claims or other Causes of Action against the Debtors
are not released pursuant to the Plan, are not discharged pursuant to the Plan, or are
Disputed, any rights of the Debtors and the Wind-Down Debtors to assert any and all
counterclaims, crossclaims, offsets, indemnities, claims for contribution, defenses, and
similar claims or other Causes of Action in response to such Causes of Action; (b) any
commercial Cause of Action arising in the ordinary course of business, such as accounts
receivable and accounts payable on account of goods and services being performed; (c) any
post- Effective Date obligations of any party or Entity under the Plan, any Liquidation
Transaction, or any other document, instrument, or agreement executed to implement the
Plan (including those set forth in the Plan Supplement); (d) the Retained Causes of Action,
or (e) any obligations of any party or Entity under the Transaction Documents.

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Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute
the Bankruptcy Court’s finding that the Debtor Release is: (a) essential to the Confirmation
of the Plan; (b) an exercise of the Debtors’ business judgment; (c) in exchange for the good
and valuable consideration and substantial contributions provided by the Released Parties;
(d) a good faith settlement and compromise of the Causes of Action released by the Debtor
Release; (e) in the best interests of the Debtors and all Holders of Claims and Interests;
(f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for
hearing; and (h) a bar to any of the Debtors, the Wind-Down Debtors, and the Estates,
including any successors to the Debtors or any Estate’s representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, asserting any Cause of Action
released pursuant to the Debtor Release.

Each of the Debtors expressly acknowledges that although ordinarily a general release may
not extend to Claims or Causes of Action that each Debtor does not know or suspect to exist
in its favor, which if known by it may have materially affected its settlement with the party
released, they have carefully considered, and taken into account in determining to enter into
the above releases described in this Plan, the possible existence of such unknown losses or
Claims or Causes of Action. Without limiting the generality of the foregoing, each Debtor
expressly waives and relinquishes any and all rights and benefits such party may have or
conferred upon it under any federal, state, or local statute, rule, regulation, or principle of
common law or equity that provides that a release does not extend to Claims or Causes of
Action that the claimant does not know or suspect to exist in its favor at the time of providing
the release or that may in any way limit the effect or scope of the releases with respect to
released Claims or Causes of Action that such party did not know or suspect to exist in such
party’s favor at the time of providing the release, which in each case if known by it may have
materially affected its settlement with any Released Party, including, without limitation,
California Civil Code § 1542, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
       TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASED PARTY.

       Each of the Debtors expressly acknowledges that the releases and covenants not to
sue contained in the Plan are effective regardless of whether those released matters or
released Claims or Causes of Action are presently known or unknown, suspected or
unsuspected, or foreseen or unforeseen.

Notwithstanding anything herein to the contrary, the Prepetition Term Loan Secured Parties
shall not be deemed to release any direct claims they may have against former directors and
officers of the Debtors who were not directors or officers as of the Petition Date.

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       B.     Releases by the Releasing Parties

As of the Effective Date, each of the Releasing Parties other than the Debtors shall, and shall
be deemed to have, expressly, absolutely, unconditionally, irrevocably, generally,
individually, and collectively, released, acquitted, and discharged each of the Released
Parties from any and all Causes of Action, including any Avoidance Actions or derivative
Causes of Action asserted or assertable by or on behalf of a Debtor, Wind-Down Debtor, or
any of their Estates, and any Causes of Action asserted or assertable by or on behalf of the
Holder of any Claim or Interest or other Entity, whether known or unknown, foreseen or
unforeseen, asserted or unasserted, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort, or otherwise that the Releasing Parties (whether individually or
collectively) ever had, now have, or thereafter can, shall, or may have, based on or relating
to, or in any manner arising from, in whole or in part: (a) the Debtors, the Debtors’ in- or
out-of-court restructuring efforts, the Marketing Process, intercompany transactions, the
Chapter 11 Cases, the purchase, sale, or rescission of any security of the Debtors, the
formulation, preparation, dissemination, negotiation, or filing of the Transaction
Documents, the PSA, the Disclosure Statement, or the Plan, including the Plan Supplement;
(b) any Liquidation Transaction, contract, instrument, release, or other agreement or
document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the reliance
by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion)
created or entered into in connection with the Sale Transaction, the PSA, the Disclosure
Statement, or the Plan, including the Plan Supplement; (c) the business or contractual
arrangements between any Debtor and any Releasing Party, whether before or during the
Debtors’ restructuring, or the restructuring of Claims and Interests before or during the
Chapter 11 Cases; (d) the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is affected by or classified in the Plan; (e) the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of consummation of the Plan, the
administration and implementation of the Plan, including any issuance or distribution of
securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement; or (f) any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date arising from or relating to any of the
foregoing, including, without limitation, the Prepetition Loan Documents, and all matters
relating thereto.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above shall
not release, prejudice, limit, impact, or otherwise impair: (a) to the extent that any Causes
of Action against any Releasing Party are not released or discharged pursuant to the Plan,
any rights of such Releasing Party to assert any and all counterclaims, crossclaims, offsets,
indemnities, claims for contribution, defenses, and similar claims in response to such Causes
of Action; (b) any rights of the Prepetition Term Loan Administrative Agent to (i) payment
of fees, expenses, and indemnification obligations as against any money or property
distributable to holders of Claims under the Prepetition Term Loan Credit Agreement,
respectively, including any rights to priority of payment and/or to exercise charging liens or
(ii) seek compensation and/or reimbursement of fees and expenses in accordance with the
terms of the Plan and Confirmation Order, as applicable; (c) any Prepetition Term Loan
Secured Party from pursuing claims in its own name against Adrian Adams; (d) any
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commercial Cause of Action arising in the ordinary course of business, such as accounts
receivable and accounts payable on account of goods and services being performed; (e) any
post- Effective Date obligations of any party or Entity under the Plan, any Liquidation
Transaction, or any document, instrument, or agreement executed to implement the Plan
(including those set forth in the Plan Supplement); (f) any obligations of any party or Entity
under the Transaction Documents; or (g) any direct claims the Prepetition Term Loan
secured Parties may have against former directors and officers of the Debtors who were not
directors or officers as of the Petition Date

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained herein, and, further, shall constitute
the Bankruptcy Court’s finding that the Third-Party Release is: (a) essential to the
Confirmation of the Plan; (b) given in exchange for the good and valuable consideration and
substantial contributions provided by the Released Parties; (c) a good faith settlement and
compromise of the Causes of Action released by the Third-Party Release; (d) in the best
interests of the Debtors and their Estates; (e) fair, equitable, and reasonable; (f) given and
made after due notice and opportunity for hearing; (g) consensual; and (h) a bar to any of
the Releasing Parties asserting any Claim or Cause of Action released pursuant to the Third-
Party Release.

Each of the Releasing Parties expressly acknowledges that although ordinarily a general
release may not extend to Claims or Causes of Action that the Releasing Party does not know
or suspect to exist in its favor, which if known by it may have materially affected its
settlement with the party released, they have carefully considered, and taken into account in
determining to enter into the above releases described in this Plan, the possible existence of
such unknown losses or Claims or Causes of Action. Without limiting the generality of the
foregoing, each Releasing Party expressly waives and relinquishes any and all rights and
benefits such party may have or conferred upon it under any federal, state, or local statute,
rule, regulation, or principle of common law or equity that provides that a release does not
extend to Claims or Causes of Action that the claimant does not know or suspect to exist in
its favor at the time of providing the release or that may in any way limit the effect or scope
of the releases with respect to released Claims or Causes of Action that such party did not
know or suspect to exist in such party’s favor at the time of providing the release, which in
each case if known by it may have materially affected its settlement with any Released Party,
including, without limitation, California Civil Code § 1542, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
       TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASED PARTY.

        Each of the Releasing Parties expressly acknowledges that the releases and covenants
not to sue contained in the Plan are effective regardless of whether those released matters or

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released Claims or Causes of Action are presently known or unknown, suspected or
unsuspected, or foreseen or unforeseen.

       C.      Exculpations

To the fullest extent permitted by applicable law, no Exculpated Party will either have or
incur any liability to any person or Entity for, and each Exculpated Party is hereby released
and exculpated from, any Cause of Action related to any act or omission in connection with,
relating to, or arising out of, the Debtors’ restructuring efforts, the Chapter 11 Cases,
preparation for the Chapter 11 Cases, the filing of the Chapter 11 Cases, formulation,
preparation, dissemination, negotiation, filing, or termination of the Transaction
Documents, the Plan Support Agreement, the Disclosure Statement, or the Plan, including
the Plan Supplement, or any Liquidation Transaction, contract, instrument, release, or other
agreement or document (including providing any legal opinion requested by any Entity
regarding any transaction, contract, instrument, document, or other agreement
contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the
Confirmation Order in lieu of such legal opinion) created or entered into in connection with
any of the foregoing, the Sale Transaction, the funding of the Plan, the occurrence of the
Effective Date, the pursuit of Confirmation, the pursuit of consummation, the administration
and implementation of the Plan, the issuance of securities pursuant to the Plan, or the
distribution of property under the Plan or any other related agreement, except for claims
related to any act or omission that is determined in a Final Order to have constituted actual
fraud, gross negligence, or willful misconduct, but in all respects such Persons will be entitled
to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The foregoing shall not be deemed to release, affect, or limit any post-
Effective Date rights or obligations of the Exculpated Parties under the Plan, any
Liquidation Transaction, or any other document, instrument, or agreement executed to
implement the Plan (including those set forth in the Plan Supplement).

The Exculpated Parties have, and upon consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the
solicitation of, and distribution of consideration pursuant to, the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan.

The exculpation will be in addition to, and not in limitation of, all other releases, indemnities,
exculpations, and any other applicable law or rules protecting such Exculpated Parties from
liability.

Notwithstanding anything herein to the contrary, the Prepetition Term Loan Secured Parties
shall not be deemed to release any direct claims they may have against former directors and
officers of the Debtors who were not directors or officers as of the Petition Date.




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       D.      Injunction

Except as otherwise expressly provided in the Plan or for obligations issued or required to
be paid pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or
may hold claims or interests that have been released pursuant to the Plan provisions setting
forth the releases granted by the Debtors or the Releasing Parties, or discharged pursuant
to the Plan, or are subject to exculpation pursuant to the article of the Plan which provides
for the exculpation of the Exculpated Parties, shall be permanently enjoined, from and after
the Effective Date, from taking any of the following actions against, as applicable, the
Debtors, Wind-Down Debtors, the Exculpated Parties, or the Released Parties:
(a) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any such claims or interests; (b) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree,
or order against such Entities on account of or in connection with or with respect to any such
claims or interests; (c) creating, perfecting, or enforcing any lien or encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in
connection with or with respect to any such claims or interests; (d) asserting any right of
setoff, subrogation, or recoupment of any kind against any obligation due from such Entities
or against the property of such Entities on account of or in connection with or with respect
to any such claims or interests unless such Entity has, on or before the Effective Date,
asserted such setoff right in a document filed with the Bankruptcy Court explicitly
preserving such setoff, and notwithstanding an indication of a claim or interest or otherwise
that such Entity asserts, has, or intends to preserve any right of setoff pursuant to applicable
law or otherwise; and (e) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such claims
or interests released or settled pursuant to the Plan.

       E.      No Discharge

       Because the Debtors are liquidating and will not engage in business after consummation of
the Plan, they are not entitled to a discharge of obligations pursuant to section 1141 of the
Bankruptcy Code with regard to any holders of Claims or Interests.

       F.      Release of Liens

        Except as otherwise provided herein or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date in
accordance with the terms of the Plan, all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Estate shall be fully released and discharged, and all
of the right, title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or
other security interests shall revert to the Debtors and their successors and assigns.

        If any Holder of an Other Secured Claim or any agent for such Holder has filed or recorded
publicly any Liens and/or security interests to secure such Holder’s Other Secured Claim, as soon
as practicable on or after the date such Holder has been satisfied in full pursuant to the Plan, such

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Holder (or the agent for such holder) shall take any and all steps requested by the Plan
Administrator that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable
filings or recordings, and the Plan Administrator shall be entitled to make any such filings or
recordings on such holder’s behalf.

       G.      Gatekeeper Provision

        No party may commence, continue, amend, or otherwise pursue, join in, or otherwise
support any other party commencing, continuing, amending, or pursuing, a Cause of Action of any
kind against the Debtors, the Plan Administrator, the Exculpated Parties, or the Released Parties
that relates to, or is reasonably likely to relate to any act or omission in connection with, relating
to, or arising out of, a Cause of Action subject to Article IX.A, Article IX.B, and Article IX.C
without first (a) requesting a determination from the Bankruptcy Court, after notice and a hearing,
that such Cause of Action represents a colorable claim against a Debtor, Plan Administrator,
Exculpated Party, or Released Party and is not a Claim that the Debtors released under the Plan,
which request must attach the complaint or petition proposed to be filed by the requesting party
and (b) obtaining from the Bankruptcy Court specific authorization for such party to bring such
Cause of Action against any such Debtor, Plan Administrator, Exculpated Party, or Released Party.
For the avoidance of doubt, any party that obtains such determination and authorization and
subsequently wishes to amend the authorized complaint or petition to add any Causes of Action
not explicitly included in the authorized complaint or petition must obtain authorization from the
Bankruptcy Court before filing any such amendment in the court where such complaint or petition
is pending. The Bankruptcy Court will have sole and exclusive jurisdiction to determine whether
a Cause of Action is colorable and, only to the extent legally permissible, will have jurisdiction to
adjudicate the underlying colorable Cause of Action.

                                      ARTICLE X.
                               RETENTION OF JURISDICTION

       On and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction,
pursuant to 28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11
Cases for, among other things, the following purposes:

        1.     Allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the secured or unsecured status, priority, amount, or allowance of Claims or Interests.

        2.     Resolve any cases, controversies, suits, or disputes that may arise in connection
with Claims, including Claim objections, allowance, disallowance, subordination, estimation and
distribution.

       3.      Decide and resolve all matters related to the granting and denying, in whole or in
part of, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan.



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        4.    Resolve any matters related to: (a) the assumption or assumption and assignment
of any Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which
a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any cure amount arising
therefrom; and/or (b) any dispute regarding whether a contract or lease is or was executory or
expired.

        5.      Adjudicate, decide or resolve any motions, adversary proceedings, contested, or
litigated matters, and any other matters, and grant or deny any applications involving the Debtors
that may be pending on the Effective Date.

      6.     Adjudicate, decide, or resolve any and all matters related to section 1141 of the
Bankruptcy Code.

        7.      Adjudicate, decide or resolve any motions, adversary proceedings, contested, or
litigated matters.

        8.    Enter and implement such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of the Plan and all contracts, instruments, releases, and
other agreements or documents created in connection with the Plan or the Disclosure Statement.

       9.      Resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
in connection with the interpretation or enforcement of the Plan or any Entity’s obligations
incurred in connection with the Plan.

      10.    Issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with enforcement of the
Plan.

        11.     Resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions, and other provisions contained in the Plan and enter such orders as
may be necessary or appropriate to implement such releases, injunctions, and other provisions.

       12.    Enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated.

       13.     Determine any other matters that may arise in connection with or related to the Cash
Collateral Order and the Debtors’ use of Cash Collateral, the Transaction Documents, Plan Support
Agreement, the Disclosure Statement, the Plan, and the Confirmation Order.

        14.    Ensure that distributions to holders of Allowed Claims are accomplished pursuant
to the provisions of the Plan.

        15.   Resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the repayment or return of distributions and the recovery of additional amounts owed by any
holder for amounts not timely repaid.

        16.    Adjudicate any and all disputes arising from or relating to distributions under the
Plan.

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       17.     Consider any modifications of the Plan, to cure any defect or omission, or to
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order.

      18.    Hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan or the Confirmation Order.

       19.     Hear and determine matters concerning state, local, and federal taxes in accordance
with sections 346, 505, and 1146 of the Bankruptcy Code.

       20.     To recover all assets of the Debtors and property of the Debtors’ Estates, wherever
located.

      21.      To hear and determine any Causes of Action that may be brought by the Plan
Administrator.

       22.      To hear and determine any other rights, claims, or Causes of Action held by or
accruing to the Debtors or the Plan Administrator pursuant to the Bankruptcy Code or any
applicable state or federal statute or legal theory.

       23.     Enter an order or final decree concluding or closing the Chapter 11 Cases.

       24.     Enforce all orders previously entered by the Bankruptcy Court.

       25.     Hear any other matter over which the Court has jurisdiction.

                             ARTICLE XI.
         MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

       A.      Modification and Amendment

        This Plan may be amended, modified, or supplemented by the Debtors, in accordance with
the terms of the PSA, including any consultation or consent rights granted therein, in the manner
provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law, without
additional disclosure pursuant to section 1125 of the Bankruptcy Code. In addition, after the
Confirmation Date, the Debtors, in consultation with the Prepetition Term Loan Administrative
Agent, may remedy any defect or omission or reconcile any inconsistencies in this Plan or the
Confirmation Order with respect to such matters as may be necessary to carry out the purposes of
effects of this Plan, and any Holder of a Claim or Interest that has accepted this Plan shall be
deemed to have accepted this Plan as amended, modified, or supplemented.

       B.      Effect of Confirmation on Modifications

        Entry of the Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code
and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.




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       C.      Revocation or Withdrawal of Plan

        The Debtors, with the consent of the Prepetition Term Loan Administrative Agent, reserve
the right to revoke or withdraw this Plan prior to the Effective Date as to any or all of the Debtors.
If, with respect to a Debtor, this Plan has been revoked or withdrawn prior to the Effective Date,
or if confirmation or the occurrence of the Effective Date as to such Debtor does not occur on the
Effective Date, then, with respect to such Debtor (1) this Plan shall be null and void in all respects;
(2) any settlement or compromise embodied in this Plan (including the fixing or limiting to an
amount any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory
Contracts or Unexpired Leases affected by this Plan, and any document or agreement executed
pursuant to this Plan shall be deemed null and void; and (3) nothing contained in this Plan shall (i)
constitute a waiver or release of any Claim by or against, or any Interest in, such Debtor or any
other Person, (ii) prejudice in any manner the rights of such Debtor or any other Person, or (iii)
constitute an admission of any sort by any Debtor or any other Person.

                                      ARTICLE XII.
                               MISCELLANEOUS PROVISIONS

       A.      Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of this Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of the Debtors, the Plan
Administrator, the holders of Claims and Interests, the Released Parties, and each of their
respective successors and assigns. Any action to be taken on the Effective Date may be taken on
or as soon as reasonably practicable thereafter.

       B.      Additional Documents

        On or before the Effective Date, the Debtors may File with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. The Debtors or the Plan Administrator (as
applicable) and all Holders of Claims or Interests receiving distributions pursuant to the Plan and
all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements
or documents and take any other actions as may reasonably be necessary or advisable to effectuate
the provisions and intent of the Plan or the Confirmation Order.

       C.      Substantial Consummation

       On the Effective Date, this Plan shall be deemed to be substantially consummated (within
the meaning set forth in section 1101 of the Bankruptcy Code) pursuant to section 1127(b) of the
Bankruptcy Code.

       D.      Reservation of Rights

        The Plan shall have no force or effect unless and until the Bankruptcy Court enters the
Confirmation Order. None of the Filing of the Plan, any statement or provision contained in the
Plan, or the taking of any action by the Debtors with respect to the Plan, the Disclosure Statement,

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or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of
the Debtors with respect to the Holders of Claims or Interests prior to the Effective Date.

       E.      Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
beneficiaries or guardian, if any, of each Entity.

       F.      Determination of Tax Liabilities

        As of the Effective Date, the Plan Administrator (to the extent not the responsibility of the
Purchaser(s)) will be responsible for preparing and filing any tax forms or returns on behalf of the
Debtors’ Estates; provided, that the Plan Administrator shall not be responsible for preparing or
filing any tax forms for Holders of Interests in the Debtors (which Interests shall be cancelled
pursuant to this Plan), but shall provide such Holders with any information reasonably required to
prepare such forms. The Debtors and the Plan Administrator shall have the right to request an
expedited determination of any tax liability pursuant to section 505 of the Bankruptcy Code,
including on any unpaid liability of the Debtors’ Estates for any tax incurred during the
administration of these Chapter 11 Cases.

       G.      Dissolution of the Committee

        On the Effective Date, any duly appointed Committee will dissolve and the members
thereof will be released and discharged from all duties and obligations arising from or related to
these Chapter 11 Cases.

       H.      Notices

       In order for all notices, requests, and demands to or upon the Debtors and the Plan
Administrator, as the case may be, to be effective such notices, requests and demands shall be in
writing (including by electronic mail) and, unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when actually delivered or, in the case of notice by email,
when received, and served on or delivered to the following parties:

                    Debtors                                    Counsel to the Debtors

 Impel Pharmaceuticals Inc.                        Sidley Austin LLP
 c/o Teneo                                         2021 McKinney Ave. Suite 2000
 280 Park Avenue                                   Dallas, Texas 75201
 New York, NY 10017                                Facsimile: (214) 981-3400

 Attention: Brandon Smith,                         Attn: Samuel A. Newman
 Chief Restructuring Officer                             Rakhee V. Patel
 Email: brandon.smith@teneo.com                          Jackson T. Garvey
                                                   Email: sam.newman@sidley.com
                                                           rpatel@sidley.com
                                                           jgarvey@sidley.com

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              Plan Administrator                         Counsel to the Plan Administrator

 To be included in the Plan Supplement.             To be included in the Plan Supplement.

                 Counsel to the Prepetition Term Loan Administrative Agent

                                     Sullivan & Cromwell LLP
                                          125 Broad Street
                                       New York, NY 10004
                                     Facsimile: (212) 558-3588

                                        Attn: Ari B. Blaut
                                       Benjamin S. Beller
                                   Email: blauta@sullcrom.com
                                     bellerb@sullcrom.com


         After the Effective Date, Persons or Entities that wish to continue to receive documents
pursuant to Bankruptcy Rule 2002 must File a renewed request to receive documents pursuant to
Bankruptcy Rule 2002. After the Effective Date, the Plan Administrator is authorized to limit the
list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that Filed
such renewed requests.

       I.      Term of Injunctions or Stays

        Except as otherwise provided in this Plan, to the maximum extent permitted by applicable
law and subject to the Bankruptcy Court’s post-confirmation jurisdiction to modify the injunctions
and stays under this Plan (1) all injunctions with respect to or stays against an action against
property of the Debtors or the Debtors’ Estates arising under or entered during the Chapter 11
Cases under sections 105 or 362 of the Bankruptcy Code, and in existence on the date the
Confirmation Order is entered, shall remain in full force and effect until such property is no longer
property of the Debtors or the Debtors’ Estates; and (2) all other injunctions and stays arising under
or entered during the Chapter 11 Cases under sections 105 or 362 of the Bankruptcy Code shall
remain in full force and effect until the earliest of (i) the date that the Chapter 11 Cases are closed
pursuant to a final order of the Bankruptcy Court, or (ii) the date that the Chapter 11 Cases are
dismissed pursuant to a final order of the Bankruptcy Court. All injunctions or stays contained in
the Plan or the Confirmation Order shall remain in full force and effect indefinitely.

       J.      Entire Agreement

       On the Effective Date, the Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.




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       K.      Plan Supplement

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. Copies of such exhibits and documents shall be
made available upon written request to the Debtors’ counsel or the Plan Administrator’s counsel
(as applicable) at the address above or by downloading such exhibits and documents free of charge
from the Notice and Claims Agent’s website. All documents in the Plan Supplement are
considered an integral part of the Plan and shall be deemed approved by the Bankruptcy Court
pursuant to the Confirmation Order.

       L.      Governing Law

       Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Texas,
without giving effect to the principles of conflict of laws, shall govern the rights, obligations,
construction, and implementation of the Plan, any agreements, documents, instruments, or
contracts executed or entered into in connection with the Plan (except as otherwise set forth in
those agreements, in which case the governing law of such agreement shall control), and corporate
governance matters.

       M.      Nonseverability of Plan Provisions

        If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or
provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and such term
or provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation.

        The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with
the foregoing, is the following: (1) valid and enforceable pursuant to its terms; (2) integral to the
Plan and may not be deleted or modified without the consent of the Debtors or the Plan
Administrator (as applicable); and (3) nonseverable and mutually dependent.

       N.      Closing of the Chapter 11 Cases

       After the full administration of the Chapter 11 Cases, the Plan Administrator shall promptly
File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022, a motion
pursuant to Local Rule 3022-1(a), and any applicable order of the Bankruptcy Court to close the
Chapter 11 Cases.


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                                  Exhibit B

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                                                                SOLICITATION VERSION

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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


     In re:                                                       Chapter 11

     IMPEL PHARMACEUTICALS INC., et al. 1                         Case No. 23-80016 (SGJ)

                              Debtors.                            (Jointly Administered)


                       FIRST AMENDED JOINT PLAN OF LIQUIDATION
                            OF IMPEL PHARMACEUTICALS INC.
                      AND IMPEL NEUROPHARMA AUSTRALIA PTY LTD

    THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE
    PLAN. ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL THE
    BANKRUPTCY COURT APPROVES A DISCLOSURE STATEMENT. THE
    DEBTORS ARE SEEKING APPROVAL OF THE DISCLOSURE STATEMENT ON A
    CONDITIONAL BASIS, BUT IT HAS NOT YET BEEN APPROVED BY THE
    BANKRUPTCY COURT.




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’
service address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
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                                        INTRODUCTION

       Impel Pharmaceuticals Inc. and Impel NeuroPharma Australia Pty Ltd (the “Debtors”)
propose this chapter 11 plan (the “Plan”) under section 1121 of the Bankruptcy Code. The Debtors
are the proponents of the Plan within the meaning of section 1129 of the Bankruptcy Code.
Supplemental agreements and documents referenced in this Plan and the Disclosure Statement are
available for review on both the Bankruptcy Court’s docket and on the Debtors’ case information
website: https://omniagentsolutions.com/Impel.

        Reference is made to the Disclosure Statement Filed contemporaneously with this Plan for
a discussion of the Debtors’ history, business, prepetition capital structure, and Liquidation
Analysis, as well as a summary and analysis of the Plan and certain related matters, including
distributions to be made under this Plan.

     ALL HOLDERS OF CLAIMS AND INTERESTS ARE ENCOURAGED TO READ
THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE
VOTING TO ACCEPT OR REJECT THE PLAN.

                                 ARTICLE I.
                 DEFINED TERMS AND RULES OF INTERPRETATION

       A.      Defined Terms

        “Administrative Claim” means a Claim of a kind specified under section 503(b) of the
Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of the
Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred on or after
the Petition Date until and including the Effective Date of preserving the Estates and operating
Debtors’ business; (b) Allowed Professional Compensation Claims; (c) Statutory Fees; and
(d) 503(b)(9) Claims.

        “Administrative Claims Bar Date” means the applicable last date, at 5:00 p.m. Central time,
set by the Bankruptcy Court for a Claimant to file a request for payment of any Administrative
Claim (excluding Professional Compensation Claims) arising on or after the Petition Date, through
and including the Effective Date. The Administrative Claim Bar Date shall be thirty (30) days
after the Effective Date.

        “Allowed” means, with respect to any Claim or Interest, except as otherwise provided
herein: (a) a Claim or Interest in a liquidated amount as to which no objection has been Filed prior
to the applicable claims objection deadline and that is evidenced by a Proof of Claim timely Filed
by the applicable Bar Date or that is not required to be evidenced by a Filed Proof of Claim under
the Plan, the Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is scheduled by the
Debtors as neither disputed, contingent, nor unliquidated, and for which no Proof of Claim has
been timely Filed in an unliquidated or a different amount; (c) a Claim or Interest that is upheld or
otherwise Allowed (i) pursuant to the Plan (including any Claim or Interest that is upheld or
otherwise Allowed pursuant to a settlement executed by a Debtor or Wind-Down Debtor in
accordance with the Plan), (ii) in any stipulation that is approved by the Bankruptcy Court, (iii)
pursuant to any contract, instrument, indenture, or other agreement entered into or assumed in
connection herewith, or (iv) by Final Order (including any such Claim to which the Debtors had


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objected or which the Bankruptcy Court had disallowed prior to such Final Order); provided that
with respect to a Claim or Interest described in clauses (a) through (c) above, such Claim or Interest
shall be considered Allowed only if and to the extent that with respect to such Claim or Interest no
objection to the allowance thereof has been or, in the Debtors’ or the Wind-Down Debtors’
reasonable good faith judgment, may be interposed within the applicable period of time fixed by
the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an
objection is so interposed and the Claim or Interest, as applicable, shall have been allowed by a
Final Order; provided, further, that no Claim of any Entity subject to section 502(d) of the
Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount
that it owes such Debtor. A Proof of Claim Filed after the Bar Date is not considered Allowed and
shall be deemed expunged without further action by the Debtors and without further notice to any
party or action, approval, or order of the Bankruptcy Court. Any Claim that has been or is hereafter
listed in the Schedules as contingent, unliquidated, or disputed, and for which no Proof of Claim
is or has been timely Filed, is not considered Allowed and shall be deemed expunged without
further action by the Debtors and without further notice to any party or action, approval, or order
of the Bankruptcy Court. “Allow,” “Allowing,” and “Allowance” shall have correlative meanings.

       “Asset Purchase Agreement” means that certain Asset Purchase Agreement by and between
JN Bidco LLC, as Purchaser, and Impel Pharmaceuticals Inc., as Seller, Dated December 18,
2023, annexed as Exhibit 1 to the Sale Order, and as from time to time amended in accordance
with the Sale Order or further order of this Court, including by the First Amendment to Stalking
Horse APA attached to the Sale Order.

        “Avoidance Actions” means any and all claims and Causes of Action which any of the
Debtors, the Estates, or any other appropriate party in interest has asserted or may assert under
sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or under similar or
related state or federal statutes and common law, including fraudulent transfer laws.

      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as
amended.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District
of Texas.

       “Bankruptcy Rules” means Federal Rules of Bankruptcy Procedure.

        “Bar Date” means with respect to any particular Claim, the applicable date set by the
Bankruptcy Court as the last day for Filing Proofs of Claim or requesting allowance of
Administrative Claims in the Chapter 11 Cases for such Claim, whether pursuant to the
Confirmation Order, the Plan, the Order (I) Setting Bar Dates for Filing Proofs of Claim;
(II) Approving the Form and Manner for Filing Proofs of Claim, (III) Approving the Notice of Bar
Dates, and (IV) Granting Related Relief [Docket No. 142], or any other applicable order of the
Bankruptcy Court.

       “Bid Procedures Order” means that certain Order (I)(A) Approving the Bid Procedures;
(B) Authorizing the Debtors to Select JN BidCo LLC as the Stalking Horse Purchaser Substantially
Along the Terms Defined in the Stalking Horse APA and Approving Bid Protections;



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(C) Establishing Bid Deadlines, an Auction, and a Sale Hearing; (D) Approving the Form and
Manner of Sale Notice; (E) Approving Assignment and Assumption Procedures; (F) Approving
the Form and Manner of Potential Assumption and Assignment Notice; (II)(A) Authorizing the
Sale of the Assets Free and Clear; and (B) Approving the Assumption and Assignment of
Designated Contracts; and (III) Granting Related Relief [Docket No. 137] entered in the Chapter
11 Cases.

       “Business Day” means any day other than a Saturday, Sunday, or other day on which
commercial banks are authorized to close under the Laws of, or are in fact closed in, the state of
Texas.

       “Cash” means cash in legal tender of the United States of America and cash equivalents,
including bank deposits, checks, and other similar items.

        “Cash Collateral Order” means that certain Final Order (I) Authorizing the Debtors to Use
Cash Collateral; (II) Granting Adequate Protection to Prepetition Term Loan Secured Parties;
(III) Modifying the Automatic Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related
Relief [Docket No. 149] entered in the Chapter 11 Cases or such further interim or final order
authorizing the Debtors’ use of cash collateral, as applicable.

        “Causes of Action” means without limitation, any claims, interests, damages, remedies,
causes of action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets,
powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable, directly
or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law, equity, or
otherwise. Causes of Action also include: (a) Avoidance Actions; (b) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law;
(c) the right to object to or otherwise contest Claims or Interests; (d) claims pursuant to sections
362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and (e) such claims and
defenses as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of
the Bankruptcy Code.

       “Chapter 11 Cases” means those certain chapter 11 bankruptcy cases of the Debtors jointly
administered under the caption In re Impel Pharmaceuticals Inc., et al., Case No. 23-80016 (SGJ)
(Bankr. N.D. Tex. 2023).

        “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against
any of the Debtors.

        “Claims Objection” means an objection to the allowance of a claim as set forth in
section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and/or any Bankruptcy Court order
regarding omnibus claims objections.

       “Claims Objection Bar Date” means the date that is sixty (60) days after the Effective Date,
which date may be extended upon presentment of an order to the Bankruptcy Court by the Plan
Administrator.



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       “Claims Register” means the register managed by the Notice and Claims Agent reflecting
Filed Proofs of Claim.

       “Class” means a category of holders of Claims or Interests pursuant to section 1122(a) of
the Bankruptcy Code.

        “Combined Hearing” means the hearing(s) conducted by the Bankruptcy Court to consider
(1) final approval of the adequacy of the Disclosure Statement under section 1125 of the
Bankruptcy Code and (2) confirmation of the proposed Plan under section 1129 of the Bankruptcy
Code, as such hearing may be adjourned or continued from time to time.

       “Committee” means any official committee of unsecured creditors appointed by the U.S.
Trustee under section 1102(b) of the Bankruptcy Code in these Chapter 11 Cases.

        “Conditions Precedent to the Effective Date” means the conditions set forth in
Article VIII.A of this Plan.

       “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the
docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

       “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy
Rules 5003 and 9021.

        “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan under
section 1129 of the Bankruptcy Code in form and substance consistent with the Plan Support
Agreement, in each case subject to the consent rights set forth therein, as applicable.

       “Consenting Unsecured Creditors” as defined in the Plan Support Agreement.

       “Consummation” means the occurrence of the Effective Date.

       “Contingent Sale Proceeds” means all of the Debtors’ rights to receive deferred,
contingent, or similar payments, distributions applicable or proceeds pursuant to the Sale
Transaction.

        “Cure” means all amounts, including an amount of $0.00, required to cure any monetary
defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be
agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be assumed
or assumed and assigned by the Debtors.

       “D&O Liability Insurance Policies” means, collectively, each director and officer liability
insurance policy and any “tail policy” to which any of the Debtors are a party as of the Effective
Date.

       “Debtors” means, collectively, Impel Pharmaceuticals Inc. and Impel NeuroPharma
Australia Pty Ltd.



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       “Debtor Releases” means the releases set forth in Article IX herein.

        “Definitive Documents” means this Plan (including all exhibits, annexes, schedules, and
supplements related thereto, including the Plan Supplement), the Confirmation Order, the
Disclosure Statement Order (including all exhibits, annexes, schedules, and supplements related
thereto), the Solicitation Materials, including the Disclosure Statement, any new organizational
documents, and any such other agreements, instruments, and documents as may be necessary or
reasonably desirable to consummate and document the Liquidation Transactions.

        “Disallowed” means all or that portion, as applicable, of any Claim or Interest which:
(a) has been disallowed under the Plan, the Bankruptcy Code, applicable law or by a Final Order;
(b) is scheduled by the Debtors as being in an amount of zero dollars ($0.00) or as contingent,
disputed, or unliquidated and as to which no Proof of Claim was timely filed or deemed timely
filed prior to the applicable Bar Date pursuant to either the Bankruptcy Code or any Final Order
of the Bankruptcy Court, including the order approving the Bar Date, or otherwise deemed timely
filed under applicable law; or (c) is not scheduled by the Debtors and as to which no Proof of
Claim or request for allowance of an Administrative Claim (as applicable) has been timely filed
or deemed timely filed prior to the applicable Bar Date pursuant to either the Bankruptcy Code or
any Final Order of the Bankruptcy Court or otherwise deemed timely filed under applicable law.

        “Disbursing Agent” means the Debtors, the Plan Administrator, or the Person or Entit(ies)
selected by the Plan Administrator, as applicable, to make or to facilitate the Plan Distributions.

        “Disclosure Statement” means the related disclosure statement with respect to the Plan, as
the same may be amended, supplemented, or modified from time to time, including all exhibits
and schedules thereto and references therein that relate to the Plan, that is prepared and distributed
in accordance with the Bankruptcy Code, Bankruptcy Rules, and any other applicable law in form
and substance consistent with the Plan Support Agreement, in each case subject to the consent
rights set forth therein, as applicable.

       “Disputed” means, with respect to any Claim or Interest, any Claim or Interest or any
portion thereof that is not yet Allowed or Disallowed.

        “Distributable Cash” means the Cash on hand of the Debtors available for distribution as
of the Effective Date or such applicable later date pursuant to the terms of the Plan.

        “Distribution Record Date” means the date for determining which Holders of Claims are
eligible to receive distributions under the Plan, which date shall be the Effective Date or such other
date as designated in a Final Order of the Bankruptcy Court.

        “Effective Date” means the date, selected by the Debtors, after consultation with the
Prepetition Term Loan Administrative Agent, that is the first Business Day on which (a) all
Conditions Precedent to the Effective Date have been satisfied or waived in accordance with the
Plan and (b) no stay of the Confirmation Order is in effect.

        “Employment Agreement” means any agreement relating to the employment of any of the
current employees of Impel Pharmaceuticals Inc.



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       “Entity” has the meaning as defined in section 101(15) of the Bankruptcy Code.

      “Estate” means the estate of any Debtor created under sections 301 and 541 of the
Bankruptcy Code upon the commencement of the applicable Debtor’s Chapter 11 Case.

       “Exculpated Parties” means collectively, (a) the Debtors and Wind-Down Debtors, (b) any
Statutory Committee and each of its members, (c) the Debtors' Professionals, including Sidley
Austin LLP, Fenwick & West LLP, Teneo Capital LLC, Moelis & Company, and Omni Agent
Solutions, and the Professionals of any Statutory Committee, and (d) any directors and officers of
the Debtors as of the Petition Date.

       “Executory Contract” means a contract to which any of the Debtors is a party that is subject
to assumption or rejection under section 365 of the Bankruptcy Code.

       “Existing Equity Interests” means an Interest in a Debtor existing as of the Petition Date.

       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Cases.

        “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter that has not been reversed, stayed, modified, or
amended, as entered on the docket in any Chapter 11 Case or the docket of any court of competent
jurisdiction, and as to which the time to appeal, or seek certiorari or move for a new trial,
reargument, or rehearing has expired and no appeal or petition for certiorari or other proceedings
for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that has
been taken or any petition for certiorari that has been or may be timely Filed has been withdrawn
or resolved by the highest court to which the order or judgment was appealed or from which
certiorari was sought or the new trial, reargument, or rehearing will have been denied, resulted in
no stay pending appeal of such order, or has otherwise been dismissed with prejudice; provided
that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any
analogous rule under the Bankruptcy Rules, may be Filed with respect to such order will not
preclude such order from being a Final Order.

        “General Unsecured Claims” means any Claim, other than an Administrative Claim
(including any Professional Compensation Claims), a Priority Tax Claim, an Other Secured Claim,
an Other Priority Claim, a Prepetition Term Loan Claim, or an Intercompany Claim.

      “General Unsecured Creditor Distribution” means Cash to be distributed to the holders of
General Unsecured Claims in the aggregate amount of $100,000.00.

      “Governmental Unit(s)” means a “governmental unit,” as defined in section 101(27) of the
Bankruptcy Code.

       “Holder” means any Entity that holds a Claim or Interest, as applicable.

        “Impaired” means with respect to any Class of Claims or Interests, a Class of Claims or
Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.



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        “Indemnification Obligations” means, collectively, each of the Debtors’ indemnification
obligations (whether in charters, bylaws, limited liability company agreements, other
organizational documents, or contracts) in place as of the Effective Date to indemnify their
officers, directors, agents, or employees serving in such roles as of the Petition Date with respect
to all present and future actions, suits, and proceedings against the Debtors or such officers,
directors, agents, or employees based upon any act or omission for or on behalf of the Debtors.

       “Insurance Policies” means all insurance policies that have been issued at any time to or
provide coverage to the Debtors and all agreements, documents, or instruments relating thereto,
provided that it does not include any such policies that are, or have been, assumed and assigned to
the Purchaser on or before the Effective Date pursuant to the Asset Purchase Agreement, the Sale
Order, and section 365 of the Bankruptcy Code.

       “Intercompany Claim” means a Claim held by a Debtor against a Debtor.

        “Interest(s)” means any equity security (as defined in section 101(16) of the Bankruptcy
Code) in any Debtor and any other rights, options, warrants, stock appreciation rights, phantom
stock rights, restricted stock units, redemption rights, repurchase rights, convertible, exercisable
or exchangeable securities or other agreements, arrangements or commitments of any character
relating to, or whose value is related to, any such interest or other ownership interest in any Debtor.

        “IRS Form” means IRS Form W-9, W-8BEN, any acceptable substitute, or any other tax
information form that the Plan Administrator may require from a holder of a Claim for a
distribution under the Plan.

       “Law” means any federal, state, local, or foreign law (including common law), statute,
code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted,
promulgated, issued, or entered by a governmental authority of competent jurisdiction (including
the Bankruptcy Court).

       “Lien” means a “lien,” as defined in section 101(37) of the Bankruptcy Code.

       “Liquidation” means the liquidation of the Debtors through the Liquidation Transactions
in accordance with the terms of this Plan Term Sheet.

       “Liquidation Analysis” means the analysis of a liquidation scenario under chapter 7 of the
Bankruptcy Code for these Debtors, to be filed with the Disclosure Statement filed concurrently
with the Plan or as part of the Plan Supplement.

        “Liquidation Transactions” means those mergers, amalgamations, consolidations,
arrangements, continuances, restructurings, transfers, conversions, dispositions, liquidations,
dissolutions, settlements, releases, or other transactions that the Debtors reasonably determine to
be necessary to implement the Plan in a manner consistent with the Plan Support Agreement, in
each case subject to the consent rights set forth therein, as applicable.

         “Marketing Process” means the process for the marketing and sale of all or substantially
all of the Debtors’ assets, or any combination thereof, pursuant to the Bid Procedures Order.



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        “Notice and Claims Agent” means Omni Agent Solutions, in its capacity as noticing,
claims, and solicitation agent for the Debtors.

       “OCP” means an ordinary course professional whose retention and compensation has been
authorized by the Bankruptcy Court pursuant to the OCP Order

      “OCP Order” means the order entered by the Bankruptcy Court approving the Debtors’
motion or motions to retain and compensate certain OCPs in the ordinary course of business
[Docket No. 148].

       “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority
Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         “Other Secured Claim” means any Secured Claim other than a Prepetition Term Loan
Claim.

         “Person” means a “person” as defined in section 101(41) of the Bankruptcy Code.

        “Petition Date” the date on which each of the Debtors Filed their voluntary petitions for
relief under chapter 11 of the Bankruptcy Code, thereby commencing these Chapter 11 Cases, or
December 19, 2023.

        “Plan” means this chapter 11 plan, including any and all exhibits, supplements, appendices,
and schedules hereto, as may be altered, amended, supplemented, or otherwise modified from time
to time in accordance with the terms hereof, including the Plan Supplement (as altered, amended,
supplemented, or otherwise modified from time to time in accordance with the terms hereof),
which are incorporated herein by reference and shall be made part hereof as if set forth therein.

        “Plan Administrator” means the Person or Entity appointed by the Debtors on the Effective
Date to administer to the Wind-Down of the Debtors, including the making of any Plan
Distributions that may arise after the Effective Date or any other duties or responsibilities set forth
herein.

        “Plan Distribution” means a payment or distribution to holders of Allowed Claims or other
eligible Entities under this Plan.

        “Plan Supplement” means the documents and forms of documents, agreements, schedules,
and exhibits to the Plan, which shall include certain exhibits and schedules to the Plan, as well as
documents, agreements, and instruments evidencing and effectuating the Plan, including the
Schedule of Assumed Executory Contracts and Unexpired Leases and the Schedule of Retained
Causes of Action, each of which shall be in form and substance reasonably acceptable to the
Prepetition Term Loan Administrative Agent; provided, that through the Effective Date, the
Debtors, with the consent (not to be unreasonably withheld or delayed) of the Prepetition Term
Loan Administrative Agent, shall have the right to amend, supplement, or otherwise modify the
Plan Supplement in accordance with the terms hereof.

      “PSA” means that certain Plan Support Agreement, dated as of February 17, 2024, by and
among the Debtors, the Consenting Prepetition Secured Parties, and the Consenting Unsecured


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Creditors, as such may be further amended, modified, or supplemented from time to time, in
accordance with its terms.

       “Prepetition Term Loan Administrative Agent” means Oaktree Fund Administration, LLC,
as Administrative Agent (as defined in the Prepetition Term Loan Credit Agreement and, in such
capacity and including any successors thereto)

        “Prepetition Term Loan Advisors” means Sullivan & Cromwell LLP, as primary counsel
to the Prepetition Term Loan Administrative Agent, and Bracewell LLP, as local counsel to the
Prepetition Term Loan Administrative Agent, collectively.

     “Prepetition Term Loan Claims” meaning any Claim on account of the Prepetition Loan
Documents.

      “Prepetition Term Loan Credit Agreement” means that certain Credit Agreement and
Guaranty, dated as of March 17, 2022 (as amended, restated, or otherwise modified from time to
time

        “Prepetition Term Loan Documents” means the Prepetition Term Loan Credit Agreement
and, together with all other documentation executed in connection therewith, including without
limitation, the Security Documents (as defined in the Prepetition Term Loan Credit Agreement),
and all other Loan Documents (as defined in the Prepetition Term Loan Credit Agreement)
executed in connection therewith, as amended, restated, or otherwise modified from time to time.

        “Prepetition Term Loan Secured Parties” means the Prepetition Term Loan Administrative
Agent, the subsidiary guarantors from time to time party thereto, and the lenders from time to time
party thereto, collectively.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

       “Professional” means a Person or Entity employed in the Chapter 11 Cases pursuant to a
Bankruptcy Court order in accordance with sections 327, 328, 363, or 1103 of the Bankruptcy
Code and to be compensated for services rendered before or on the Effective Date, pursuant to
sections 327, 328, 329, 330, 363, or 331 of the Bankruptcy Code, excluding any ordinary course
professional retained pursuant to a Bankruptcy Court order.

       “Professional Compensation Claim” means a Claim against a Debtor for all professional
services rendered and costs incurred between the Petition Date and the Effective Date by a
Professional, including estimates through the Effective Date, in connection with the Chapter 11
Cases.

        “Professional Fee Reserve Account” means that certain account held by the Debtors for the
benefit of Professionals, as more fully described in Paragraph 3(d) of the Cash Collateral Order.

       “Proof of Claim” means a proof of claim Filed against any of the Debtors in the Chapter
11 Cases by the applicable Bar Date.



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         “Purchaser(s)” means JN Bidco LLC.

         “Released Party” means collectively the Releasing Parties and each of their and their
affiliates’ respective predecessors, successors, assigns, subsidiaries, affiliates, current and former
officers and directors, principals, equity holders, members, partners, managers, employees, agents,
advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, management companies, fund advisors, and other professionals, and
such Persons’ respective heirs, executors, estates, and nominees, in each case in their capacity as
such, provided that, in each case, an Entity shall not be a Released Party if it: (a) elects to opt out
of the releases contained in the Plan, or (b) files with the Bankruptcy Court an objection to the
Plan that is not consensually resolved before Confirmation or supports any such objection or
objector.

         “Releasing Party” means collectively, and in each case in its capacity as such: (a) the
Debtors (b) the Wind-Down Debtors, (c) the Prepetition Term Loan Secured Parties, (d) the
Consenting Unsecured Creditors, (e) any Statutory Committee and each of its members, (f) the
holders of all Claims or Interests who vote to accept the Plan, (g) the holders of all Claims or
Interests whose vote to accept or reject the Plan is solicited but who do not vote either to accept or
to reject the Plan and do not opt out of granting the releases set forth herein, (h) the holders of all
Claims or Interests who vote, or are deemed to vote, to reject the Plan but do not opt out of granting
the releases set forth herein, (i) the holders of all Claims and Interests who are Unimpaired under
the Plan, (j) with respect to each of the foregoing Persons, in clauses (a) through (i), each of their
affiliates, and (k) with respect to each of the foregoing Persons in clauses (a) through (j), each of
their and their affiliates’ respective predecessors, successors, assigns, subsidiaries, affiliates,
current and former officers and directors, principals, equity holders, members, partners, managers,
employees, agents, advisory board members, financial advisors, attorneys, accountants,
investment bankers, consultants, representatives, management companies, fund advisors, and other
professionals, and such Persons’ respective heirs, executors, estates, and nominees, in each case
in their capacity as such and for which such Entity is legally entitled to bind such party to the
releases contained in the Plan and under applicable law; provided that the Prepetition Term Loan
Secured Parties shall not be deemed to release any direct claims they may have against former
directors and officers of the Debtors who were not directors or officers as of the Petition Date;
provided further that an Entity shall not be a Releasing Party if it files with the Bankruptcy Court
an objection to the Plan that is not consensually resolved before Confirmation or supports any such
objection or objector.

       “Retained Causes of Action” means those Causes of Action indicated on the Schedule of
Retained Causes of Action.

        “Sale Order” means the order of the Bankruptcy Court approving pursuant to section 363
of the Bankruptcy Code one or more sales of, collectively, all or substantially all of the assets of
the Debtors to the Purchaser entered by the bankruptcy court at Docket No. 207.

         “Sale Transaction” the sale of the assets and related transactions approved by the Sale
Order.




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        “Schedules” means, collectively, the schedule of assets and liabilities and statement of
financial affairs Filed by each Debtor pursuant to section 521 of the Bankruptcy Code, the
Bankruptcy Rules, and the official bankruptcy forms, as the same may be amended, modified, or
supplemented from time to time.

       “Schedule of Assumed Executory Contracts and Unexpired Leases” means the list of
Executory Contracts and Unexpired Leases that will be assumed by the Debtors pursuant to Article
V of the Plan, which shall be included in the Plan Supplement.

       “Schedule of Retained Causes of Action” means a schedule of Causes of Action of the
Debtors to be retained under the Plan, which shall be included in the Plan Supplement.

        “Secured” means, when referring to a Claim: (a) secured by a Lien on property in which
the Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable
law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553
of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the Estate’s interest
in such property or to the extent of the amount subject to setoff, as applicable, as determined
pursuant to section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant to section 553
of the Bankruptcy Code; or (b) otherwise Allowed pursuant to the Plan or a Final Order of the
Bankruptcy Court as a Secured Claim.

       “Section 510(b) Claim(s)” means any Claim(s) subordinated by order of the Bankruptcy
Court pursuant to section 510(b) of the Bankruptcy Code.

        “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or
any similar federal, state, or local law, as now in effect or hereafter amended, and the rules and
regulations promulgated thereunder.

       “Statutory Committee” means any statutory committee appointed in the Chapter 11 Cases,
including any Committee.

       “Statutory Fees” means all fees for which the Debtors are obligated pursuant to 28 U.S.C.
§ 1930(a)(6), together with interest, if any, pursuant to 31 U.S.C. § 3717.

       “Third Party Release” means such releases by the Releasing Parties as set forth in Article
IX.B hereof.

       “Transaction Documents” means the definitive documents to effectuate the Sale
Transaction.

       “Unimpaired” means, with respect to a Claim or Class of Claims, not “impaired” within
the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

       “U.S. Trustee” means the United States Trustee for the Northern District of Texas.

        “U.S. Trustee Statutory Fees” means all fees due and payable pursuant to section 1930 of
Title 28 of the United States Code, together with the statutory rate of interest set forth in section
3717 of Title 31 of the United States Code, to the extent applicable.


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      “Unexpired Lease” means a lease to which any of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

        “Wind-Down” means the post-Effective Date wind-down process by which the Plan
Administrator shall seek to (1) liquidate any remaining assets of the Debtors and make
distributions relating to the same; (2) complete any tasks required to wind-down the affairs of the
Debtors; and (3) otherwise close these Chapter 11 Cases, as described in more detail in Article
IV.B. herein.

        “Wind-Down Budget” means a budget for any fees, costs, and expenses incurred by the
Wind-Down Debtors from and after the Effective Date, as such budget shall be approved by, and
further amended with the approval of, the Prepetition Term Loan Administrative Agent, including
amounts reserved for Disputed Claims, which shall be reasonably acceptable to the Prepetition
Term Loan Administrative Agent.

       “Wind-Down Debtors” means the Debtors, as applicable, following the Effective Date.

       B.      Rules of Interpretation

        Unless otherwise specified, all section or exhibit references in this Plan are to the respective
section in or exhibit to this Plan, as the same may be amended, waived, or modified from time to
time in accordance with the terms hereof. The words “herein,” “hereof,” “hereto,” “hereunder,”
and other words of similar import refer to this Plan as a whole and not to any particular section,
subsection, or clause contained therein and have the same meaning as “in this Plan,” “of this Plan,”
“to this Plan,” and “under this Plan,” respectively. The words “includes” and “including” are not
limiting. The headings in this Plan are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof. For purposes herein: (1) in the appropriate context, each
term, whether stated in the singular or plural, shall include both the singular and plural, and
pronouns stated in the masculine, feminine, or neuter gender shall include the masculine, feminine,
and the neuter gender; (2) any reference herein to a contract, lease, instrument, release, indenture,
or other agreement or document being in a particular form or on particular terms and conditions
means that the referenced document shall be substantially in that form or substantially on those
terms and conditions; (3) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply; and (4) any term used in capitalized form herein that is not otherwise defined but that
is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

       C.      Computation of Time

       In computing any period of time prescribed or allowed by the Plan, the provisions of
Bankruptcy Rule 9006(a) will apply. Any references to the Effective Date shall mean the Effective
Date or as soon as reasonably practicable thereafter unless otherwise specified herein.

       D.      Reference to Monetary Figures

        All references in this Plan to monetary figures shall refer to the legal tender of the United
States of America unless otherwise expressly provided.



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       E.      Controlling Document

        In the event of an inconsistency between this Plan and the Plan Supplement, the terms of
the relevant document in the Plan Supplement shall control unless otherwise specified in such Plan
Supplement document. In the event of an inconsistency between this Plan and any other instrument
or document created or executed pursuant to this Plan, or between this Plan and the Disclosure
Statement, this Plan shall control. The provisions of this Plan and of the Confirmation Order shall
be construed in a manner consistent with each other so as to effectuate the purposes of each;
provided, that if there is determined to be any inconsistency between any provision of this Plan
and any provision of the Confirmation Order that cannot be so reconciled, then, solely to the extent
of such inconsistency, the provisions of the Confirmation Order shall govern, and any such
provisions of the Confirmation Order shall be deemed a modification of this Plan.

                            ARTICLE II.
  ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS, AND STATUTORY FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
(including Professional Compensation Claims) and Priority Tax Claims have not been classified
for purposes of voting or receiving distributions, and, thus, are excluded from the Classes of Claims
and Interests set forth in Article III hereof.

       A.      Administrative Claims

         Except to the extent that a Holder of an Allowed Administrative Claim agrees to a less
favorable treatment, each Holder of an Allowed Administrative Claim (other than a Professional
Compensation Claim) shall receive, in full and final satisfaction of such Claim, (1) Cash in an
amount equal to such Allowed Administrative Claim in accordance with the following: (i) if
Allowed on or prior to the Effective Date, then on the Effective Date or as soon as reasonably
practicable thereafter, (ii) if not Allowed as of the Effective Date, then no later than forty-five (45)
days after the date on which an order Allowing such Administrative Claim becomes a Final Order,
or (iii) at such time and upon such terms as set forth in a Final Order of the Bankruptcy Court; or
(2) such other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy
Code.

        Except for Professional Compensation Claims, and notwithstanding any prior Filing or
Proof of Claim, Proofs of Claim seeking the allowance and payment of Administrative Claims
must be Filed and served on the Debtors or the Plan Administrator (as applicable) and their counsel
by no later than the Administrative Claims Bar Date pursuant to the procedures set forth in the
Confirmation Order and the notice of the occurrence of the Effective Date. The burden of proof
for the allowance of Administrative Claims remains on the Holder of the Administrative Claims.

       Except as otherwise provided in Articles II.B, II.C, or II.D herein, holders of
Administrative Claims that do not File and serve a Proof of Claim or application for payment
of administrative expenses requesting the allowance of an Administrative Claim by the
Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from
asserting Administrative Claims against the Debtors, the Plan Administrator, the Estates, or




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the Debtors’ assets and properties, and any Administrative Claims shall be deemed
disallowed as of the Effective Date unless otherwise ordered by the Bankruptcy Court.

       B.      Professional Compensation Claims

               1.     Final Fee Applications and Payment of Professional Compensation Claims

        All requests for payment of Professional Compensation Claims (other than from OCPs) for
services rendered and reimbursement of expenses incurred through the Effective Date shall be
filed no later than forty-five (45) days after the Effective Date. The Bankruptcy Court shall
determine the Allowed amounts of such Professional Compensation Claims after notice and a
hearing in accordance with the procedures established by the Bankruptcy Code. Objections to
Professional Compensation Claims must be Filed and served no later than twenty-one (21) days
after the Filing of the Professional Compensation Claim. To the extent any Cash is remaining in
the Professional Fee Reserve Account following irrevocable payment in full of all Allowed
Professional Compensation Claims (including Allowed Professional Compensation Claims arising
after the Confirmation Date), such Cash shall be transferred to the Wind-Down Debtors for
payment in accordance with the terms of the Plan.

               2.     Administrative Claims of OCPs

        All requests for payment of Professional Compensation Claims of OCPs shall be made
pursuant to the OCP Order. To the extent any Professional Compensation Claims of the OCPs
have not been Allowed pursuant to the OCP Order on or before the Effective Date, the amount of
Professional Compensation Claims owing to the OCPs shall be paid in Cash to such OCPs by the
Debtor or the Plan Administrator (as applicable) from the Professional Fee Reserve Account as
soon as reasonably practicable after such Professional Compensation Claims are Allowed pursuant
to the OCP Order.

               3.     Post-Confirmation Date Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtors or Plan Administrator (as applicable) shall, in the ordinary course of business
and without any further notice to or action, order, or approval of the Bankruptcy Court, pay in
Cash the reasonable and documented legal, professional, or other fees and expenses related to
implementation of the Plan and Consummation incurred by the Debtors or the Plan Administrator
(as applicable). Upon the Confirmation Date, any requirement that Professionals comply with
sections 327 through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and the Debtors or Plan
Administrator (as applicable) may employ and pay any Professional in the ordinary course of
business without any further notice to or action, order, or approval of the Bankruptcy Court.

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtors shall pay, within ten business days after submission of a detailed invoice to the
Debtors such reasonable claims for compensation or reimbursement of expenses incurred by the
Professionals of the Debtors. If the Debtors, in consultation with the Prepetition Term Loan
Administrative Agent, dispute the reasonableness of any such invoice, the Debtors or the affected
Professional may submit such dispute to the Bankruptcy Court for a determination of the


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reasonableness of any such invoice, and the disputed portion of such invoice shall not be paid until
the dispute is resolved.

               4.      Professional Fee Reserve Account

        On the Effective Date, the Debtors shall fund an amount in Cash into the Professional Fee
Reserve Account equal to (a) the aggregate accrued and unpaid Professional Compensation Claims
as of the Effective Date (which shall be estimated by each applicable Professional in its reasonable
discretion based on the amount of then-accrued Professional Compensation Claims plus a
reasonable estimate of fees and expenses that will accrue up until the Effective Date), less (b) any
amount then held in the Professional Fee Reserve Account.
        Funds held in the Professional Fee Reserve Account shall be held for the benefit of the
Professionals and shall not be property of the Estates. The Professionals shall reasonably and in
good faith estimate their Professional Compensation Claims before and as of the Effective Date,
taking into account any prior payments, and shall deliver such estimates to the Debtors no later
than five (5) Business Days prior to the anticipated Effective Date.
        Professional Compensation Claims shall be paid in full without interest or other earnings
therefrom, in Cash, from the Professional Fee Reserve Account, in such amounts as are Allowed
by the Bankruptcy Court as soon as reasonably practicable after such Professional Compensation
Claims are allowed. The obligations of the Estates with respect to Professional Compensation
Claims shall not be limited by nor deemed limited to the balance of funds held in the Professional
Fee Reserve Account. To the extent that funds held in the Professional Fee Reserve Account are
insufficient to satisfy the amount of accrued Professional Compensation Claims owing to the
Professionals, such Professionals shall have an Allowed Administrative Claim for any such
deficiency. No Liens, claims, or interests shall encumber the Professional Fee Reserve Account
in any way, other than customary liens in favor of the depository bank at which the Professional
Fee Reserve Account is maintained.
       C.      Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final
satisfaction, settlement, release, and discharge of such Claim, treatment in a manner consistent
with section 1129(a)(9)(C) of the Bankruptcy Code, which treatment shall be reasonably
acceptable to the Prepetition Term Loan Administrative Agent.

       D.      U.S. Trustee Statutory Fees

        All U.S. Trustee Statutory Fees due and payable prior to the Effective Date shall be paid
by the Debtors. On and after the Effective Date, the Plan Administrator shall pay any and all U.S.
Trustee Statutory Fees when due and payable, and shall file with the Bankruptcy Court quarterly
reports in a form reasonably acceptable to the U.S. Trustee. Each of the Debtors and the Plan
Administrator, as applicable, shall remain obligated to pay quarterly fees to the U.S. Trustee until
the earliest of that particular Debtor’s case being closed, dismissed, or converted to a case under
chapter 7 of the Bankruptcy Code.




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                               ARTICLE III.
          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

       A.      Classification of Claims and Interests

        Except for the Claims addressed in Article II herein, all Claims and Interests are classified
in the Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the Bankruptcy
Code. A Claim or an Interest is classified in a particular Class only to the extent that the Claim or
Interest qualifies within the description of that Class and is classified in other Class to the extent
that any portion of the Claim or Interest qualifies within the description of such other Class. A
Claim also is classified in a particular Class for the purpose of receiving distributions under the
Plan only to the extent that such Claim is an Allowed Claim in that Class and has not been
otherwise paid, released, or satisfied at any time.

       The classification of Claims against and Interests in the Debtors pursuant to the Plan is as
follows:

  Class        Claims and Interests           Status                    Voting Rights

 Class 1    Other Secured Claims           Unimpaired      Not Entitled to Vote (Presumed to
                                                           Accept)

 Class 2    Other Priority Claims          Unimpaired      Not Entitled to Vote (Presumed to
                                                           Accept)

 Class 3    Prepetition Term Loan            Impaired      Entitled to Vote
            Claims

 Class 4    General Unsecured Claim          Impaired      Entitled to Vote

 Class 5    Intercompany Claims            Unimpaired      Not Entitled to Vote (Presumed to
                                           / Impaired      Accept) / Not Entitled to Vote (Deemed
                                                           to Reject)

 Class 6    Existing Equity Interests        Impaired      Not Entitled to Vote (Deemed to
                                                           Reject)

       B.      Treatment of Claims and Interests

               1.      Class 1 – Other Secured Claims

                       i.      Classification: Class 1 consists of all Other Secured Claims against
the Debtors.

                         ii.     Treatment: Except to the extent the Holder of an Allowed Other
Secured Claim agrees to less favorable treatment, each Holder of an Allowed Other Secured Claim
shall receive, in full and final satisfaction, settlement, release, and discharge of such Claim, at the


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Debtors’ option and with the consent (in each case not to be unreasonably withheld or delayed) of
the Prepetition Term Loan Administrative Agent: (a) payment in full in cash; (b) the collateral
securing its Allowed Other Secured Claim; (c) Reinstatement of its Allowed Other Secured Claim;
or (d) such other treatment rendering its Allowed Other Secured Claim Unimpaired in accordance
with section 1124 of the Bankruptcy Code.

                        iii. Voting: Class 1 is Unimpaired, and Holders of Other Secured
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, Holders of Class 1 Other Secured Claims are not entitled to vote to
accept or reject the Plan.

               2.      Class 2 – Other Priority Claims

                       i.      Classification: Class 2 consists of all Other Priority Claims against
the Debtors.

                       ii.     Treatment: Except to the extent the Holder of an Allowed Other
Priority Claim agrees to less favorable treatment, each holder of an Allowed Other Priority Claim
shall receive, in full and final satisfaction, settlement, release, and discharge of such Claim,
treatment in a manner consistent with section 1129(a)(9) of the Bankruptcy Code, which treatment
shall be reasonably acceptable to the Prepetition Term Loan Administrative Agent.

                      iii.   Voting: Class 2 is Unimpaired, and Holders of Other Priority Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Therefore, Holders of Class 2 Other Priority Claims are not entitled to vote to accept or
reject the Plan.

               3.      Class 3 – Prepetition Term Loan Claims

                       i.      Classification: Class 3 consists of all Prepetition Term Loan Claims
against the Debtors.

                        ii.       Treatment: On the Effective Date, the Prepetition Term Loan
Claims shall be Allowed and deemed to be Allowed Claims in the full amount due and payable
under the Prepetition Term Loan Documents, including all principal, any accrued and unpaid
interest at the applicable rate through the Effective Date, and all accrued and unpaid fees, expenses,
and non-contingent indemnity payable under the Prepetition Term Loan Documents (including the
fees and expenses of the Prepetition Term Loan Advisors). Except to the extent the holder of an
Allowed Prepetition Term Loan Claim agrees to less favorable treatment, each Holder of an
Allowed Prepetition Term Loan Claim shall receive, in full and final satisfaction, settlement,
release, and discharge of such Claim, on the Effective Date or as soon as reasonably practicable
thereafter:

                                       (a)     its pro rata share of all Distributable Cash of the
                                               Debtors or the Wind-Down Debtors (as applicable),
                                               less (i) an amount of Cash required to pay
                                               Administrative Claims and Priority Tax Claims
                                               Allowed as of the Effective Date, and the funding of


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                                                      the Wind-Down Budget, (ii) Cash required to fund
                                                      the Professional Fee Reserve Account in accordance
                                                      with the Plan, (iii) the General Unsecured Creditor
                                                      Distribution, and (iv) an amount of Cash required to
                                                      pay Claims in Classes 1 and 2 as provided in the
                                                      Plan; 1 and

                                             (b)      its pro rata share of the Contingent Sale Proceeds.

                      iii.    Voting: Class 3 is impaired, and Holders of the Prepetition Term
Loan Claims are entitled to vote to accept or reject the Plan.

                  4.       Class 4 – General Unsecured Claims

                           i.       Classification: Class 4 consists of all General Unsecured Claims
against the Debtor.

                      ii.   Treatment: Except to the extent the holder of an Allowed General
Unsecured Claim agrees to less favorable treatment, on the Effective Date, each holder of an
Allowed General Unsecured Claim shall receive its pro rata share of the General Unsecured
Creditor Distribution. The Prepetition Term Loan Secured Parties will not participate in the
General Unsecured Creditor Distribution on account of any deficiency claim.

                       iii.    Voting: Class 4 is Impaired, and Holders of General Unsecured
Claims are entitled to vote to accept or reject the Plan.

                  5.       Class 5 – Intercompany Claims

                           i.       Classification: Class 5 consists of the Intercompany Claims.

                      ii.      Treatment: On the Effective Date, each holder of an Allowed
Intercompany Claim shall have its Claim Reinstated or cancelled, released, and extinguished and
without any distribution at the election of the Debtors, which treatment shall be reasonably
acceptable to the Prepetition Term Loan Administrative Agent.

                        iii.    Voting: Class 5 is conclusively deemed to have accepted the Plan
pursuant to section 1126(g) of the Bankruptcy Code or rejected the Plan pursuant to section
1126(g) of the Bankruptcy Code. Therefore, Holders of Class 5 Intercompany Claims are not
entitled to vote to accept or reject the Plan.




1
  Pursuant to paragraph 28 of the Cash Collateral Order, cash proceeds of the Sale Transaction will be distributed to
the Prepetition Term Loan Administrative Agent for the benefit of Class 3 as provided in the Cash Collateral Order
as soon as practically possible following closing of the Sale Transaction.



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               6.      Class 6 – Existing Equity Interests

                       i.      Classification: Class 6 consists of all Existing Equity Interests in
the Debtors.

                       ii.     Treatment: On the Effective Date, each holder of each Existing
Equity Interest in any of the Debtors shall have such Interest cancelled, released, and extinguished
and without any distribution or compensation.

                        iii.  Voting: Class 6 is Impaired, and Holders of Existing Equity
Interests are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, Holders of Class 6 Existing Equity Interests are not entitled to vote
to accept or reject the Plan.

       C.      Special Provision Governing Unimpaired Claims

       Except as otherwise provided in this Plan, nothing under this Plan shall affect the rights of
the Debtors or the Plan Administrator with respect to any Unimpaired Claims, including all rights
in respect of legal and equitable defenses to, or setoffs or recoupments against, any such
Unimpaired Claims.

       D.      Elimination of Vacant Classes

        Any Class that, as of the commencement of the Combined Hearing, does not have at least
one Holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
shall be considered vacant, deemed eliminated from this Plan for purposes of voting to accept or
reject this Plan, and disregarded for purposes of determining whether this Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to such Class.

       E.      Voting Classes, Presumed Acceptance by Non-Voting Classes

       With respect to each Debtor, if a Class contained Claims eligible to vote and no holder of
Claims eligible to vote in such Class votes to accept or reject this Plan, this Plan shall be presumed
accepted by the holders of such Claims in such Class.

       F.      Controversy Concerning Impairment

      If a controversy arises as to whether any Claim or any Class of Claims is Impaired, the
Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Combined Hearing.

       G.      Subordination of Claims

        The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan shall take into account and conform to the
relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, contract, section 510(b) of the Bankruptcy Code, or


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otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors or the Plan Administrator
(as applicable) reserve the right to re-classify any Allowed Claim or Allowed Interest in
accordance with any contractual, legal, or equitable subordination relating thereto.

       H.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
               Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
by acceptance of the Plan by one or more of the Classes entitled to vote pursuant to this Article III
of the Plan. The Debtors hereby request Confirmation of the Plan under section 1129(b) of the
Bankruptcy Code with respect to any Class that is deemed to reject the Plan pursuant to section
1126(g) of the Bankruptcy Code. The Debtors reserve the right to request Confirmation of the
Plan under section 1129(b) of the Bankruptcy Code with respect to any voting Class that votes to
reject the Plan.

       I.      Insurance

        Notwithstanding anything to the contrary in the Plan, if any Claim is subject to coverage
under an Insurance Policy, payments on account of such Claim will first be made from proceeds
of such Insurance Policy in accordance with the terms thereof, with the balance of such Claim, if
any, treated in accordance with the provisions of the Plan governing the Class applicable to such
Claim.

                                  ARTICLE IV.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

       A.      General Settlement of Claims and Interests

        Pursuant to section 1123(b)(2) of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the distributions, releases, and other benefits provided pursuant to this Plan, upon
the Effective Date, the provisions of this Plan shall constitute a good faith compromise and
settlement of Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that a creditor or an Interest holder may have with respect to any Allowed
Claim or Interest or any distribution to be made on account of such Allowed Claim or Interest.
The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
compromise and settlement of all such Claims, Interests, and controversies, as well as a finding by
the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors,
their Estates, and holders of such Claims and Interests, and is fair, equitable, and reasonable.

       B.      Liquidation Transactions

        On or before the Effective Date, the Debtors or the Plan Administrator shall enter into and
take any actions that may be necessary or appropriate to effectuate the Sale Transaction or the
Wind-Down of the Debtors, as applicable, including but not limited to: (1) the execution and
delivery of appropriate agreements or other documents of consolidation, conversion, disposition,
transfer, or dissolution containing terms that are consistent with the terms of this Plan and that
satisfy the requirements of applicable law; (2) the execution and delivery of any appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right,


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liability, debt, duty, or obligation on terms consistent with this Plan; (3) the filing of appropriate
documents with the appropriate governmental authorities pursuant to applicable law; and (4) any
and all other actions that the Debtors or the Plan Administrator determine are necessary or
appropriate to effectuate the Plan.

               1.      Wind-Down of the Debtors

        Following the Effective Date, the Plan Administrator shall Wind-Down the affairs and
operations of the Debtors and their Estates including, but not limited to: (i) liquidating the Debtors’
assets remaining after consummation of the Sale Transaction, if any, including through the
prosecution of any claims or causes of action of the Debtors preserved herein and (ii) distributing
the Distributable Cash and other assets of the Debtors pursuant to the terms of this Plan. The
Debtors shall consult with the Prepetition Term Loan Administrative Agent on all aspects of the
Wind-Down.

        The responsibilities and authority of the Plan Administrator shall include the following
rights and responsibilities: (i) preserving and liquidating the Debtors’ remaining assets;
(ii) administering and paying taxes, including, among other things, (a) filing tax returns (to the
extent not the obligation of any Purchaser), and (b) representing the interest and account of the
Debtors before any taxing authority in all matters; (iii) retaining and paying, without the need for
retention or fee applications, professionals in connection with the Plan Administrator’s
performance of its duties under this Plan; (iv) distributing information statements as required for
U.S. federal income tax and other applicable tax purposes; (v) Filing an application for entry by
the Bankruptcy Court of a final decree closing the Chapter 11 Cases; (vi) making distributions to
Professionals for Allowed Professional Compensation Claims from the Professional Fee Reserve
Account; (vii) making distributions of the Distributable Cash; (viii) procuring the necessary
insurance to facilitate the Wind-Down, including appropriate D&O Liability Insurance Policies;
and (ix) such other responsibilities as may be vested in the Plan Administrator pursuant to this
Plan or an order of the Bankruptcy Court (including, without limitation, the Confirmation Order),
or as may be necessary and proper to carry out the provisions of this Plan.

       C.      Sources of Consideration for Plan Distributions

        Subject to the provisions of the Plan concerning the Professional Fee Reserve Account and
the Wind-Down Budget, the Debtors or the Plan Administrator (as applicable) shall fund
distributions under the Plan with the remaining proceeds from the Sale Transaction and the
proceeds of the liquidation of the Debtors’ other assets, if any, all in accordance with the terms
herein.

       D.      Vesting of Assets

        Except as otherwise provided in this Plan or the Sale Order, on and after the Effective Date,
pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all Net Distributable Assets of the
Estates, including all claims, rights, and Causes of Action and any property acquired by the Debtors
under or in connection with this Plan, shall vest in each respective Debtor free and clear of all
Claims, Liens, encumbrances, charges, and other interests. Subject to the terms of this Plan, on or
after the Effective Date, the Plan Administrator may use, acquire, and dispose of the Net



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Distributable Assets, and may prosecute, compromise, or settle any Claims and Causes of Action
without supervision of or approval by the Bankruptcy Court and free and clear of any restrictions
of the Bankruptcy Code or the Bankruptcy Rules other than restrictions expressly imposed by this
Plan or the Confirmation Order.

       E.      Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, the Plan Administrator shall
retain and may enforce all rights to commence and pursue, as appropriate, any and all Causes of
Action of the Debtors that are not otherwise transferred or sold pursuant to the Sale Transaction or
distributed pursuant to the Plan, whether arising before or after the Petition Date, and the Plan
Administrator’s rights to commence, prosecute, or settle such Causes of Action shall be preserved
notwithstanding the occurrence of the Effective Date, other than the Causes of Action released by
the Debtors pursuant to the releases and exculpations contained in the Plan, including in Article
IX hereof, which shall be deemed released and waived by the Debtors and the Plan Administrator
as of the Effective Date. No Entity (other than the Released Parties) may rely on the absence of a
specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against it as any indication that the Debtors or the Plan Administrator, as applicable, will
not pursue any and all available Causes of Action of the Debtors against it.

       F.      Corporate Action

        On the Effective Date and following satisfaction of the Debtors’ distribution and funding
requirements set forth in the Plan, the Debtors shall be dissolved for all purposes unless the Plan
Administrator determines that dissolution can have any adverse impact on the value of the Debtors’
Assets; provided, that neither the Debtors nor any party released pursuant to Article IX herein shall
be responsible for any liabilities that may arise as a result of non-dissolution of the Debtors;
provided further, that nothing in the Plan shall be construed as relieving the Debtors or the Plan
Administrator (as applicable) of their duties to pay U.S. Trustee Statutory Fees as required by the
Bankruptcy Code and applicable law until such time as a final decree is entered in the Debtors’
Chapter 11 Cases or the cases are dismissed or converted to cases under chapter 7 of the
Bankruptcy Code. The Plan Administrator shall submit with the appropriate governmental
agencies a copy of the Confirmation Order, which Confirmation Order shall suffice for purposes
of obtaining a Certificate of Dissolution from the applicable Secretary of State or equivalent body.

        Without limiting the foregoing, on the Effective Date and following satisfaction of the
Debtors’ distribution and funding requirements set forth in the Plan, the Debtors shall have no
further duties or responsibilities in connection with implementation of this Plan, and the directors
and officers of the Debtors shall be deemed to have resigned. From and after the Effective Date,
the Plan Administrator shall be authorized to act on behalf of the Estates, provided that the Plan
Administrator shall have no duties other than as expressly set forth in the Plan or the Confirmation
Order.

       G.      Cancellation of Existing Securities and Agreements

       Except for the purpose of evidencing a right to a distribution under this Plan and except as
otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, notes,



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certificates, indentures, mortgages, securities and other documents evidencing any Claim or
Interest, and any rights of any Holder in respect thereof, shall be deemed cancelled and of no
further force or effect and the obligations of the Debtors thereunder shall be deemed fully satisfied,
released, and discharged and, as applicable, shall be deemed to have been surrendered to the Plan
Administrator. The holders of or parties to such cancelled instruments, securities, and other
documentation shall have no rights arising from or related to such instruments, securities, or other
documentation or the cancellation thereof, except the rights provided for pursuant to this Plan.

       H.      Effectuating Documents; Further Transactions

        Upon entry of the Confirmation Order, the Debtors or the Plan Administrator (as
applicable) shall be authorized to execute, deliver, file, or record such contracts, instruments,
releases, consents, certificates, resolutions, programs, and other agreements or documents, and
take such acts and actions as may be reasonable, necessary, or appropriate to effectuate, implement,
consummate, and/or further evidence the terms and conditions of this Plan and any transactions
described in or contemplated by this Plan. The Debtor, the Plan Administrator, all Holders of
Claims receiving distributions pursuant to this Plan, and all other parties in interest shall, from
time to time, prepare, execute, and deliver any agreements or documents, and take any other
actions as may be necessary or advisable to effectuate the provisions and intent of this Plan.

       I.      Section 1146 Exemption from Certain Taxes and Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other
similar tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate
state or local governmental officials or agents shall forgo the collection of any such tax or
governmental assessment and accept for filing and recordation all such instruments or other
documents governing or evidencing such transfers without the payment of any such tax,
recordation fee, or governmental assessment.

       J.      Sale Order

        Notwithstanding anything to the contrary herein, nothing in this Plan shall affect, impair
or supersede the Sale Order(s) or Transaction Documents, each of which remains in full force and
effect and governs in the event of any inconsistency with the Plan.

       K.      Authority to Act

        Prior to, on, or after the Effective Date (as appropriate), all matters expressly provided for
under this Plan that would otherwise require approval of the stockholders, security holders,
officers, directors, or other owners of the Debtors shall be deemed to have occurred and shall be
in effect prior to, on, or after the Effective Date (as applicable) pursuant to the applicable law of
the state(s) in which the Debtors are formed, without any further vote, consent, approval,
authorization, or other action by such stockholders, security holders, officers, directors, or other
owners of the Debtor or notice to, order of, or hearing before, the Bankruptcy Court.




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       L.      Separate Plans

        Notwithstanding the combination of separate plans of liquidation for the Debtors set forth
in this Plan for purposes of economy and efficiency, this Plan constitutes a separate chapter 11
plan for each Debtor. Accordingly, if the Bankruptcy Court does not confirm this Plan with respect
to one or more Debtors, it may still confirm this Plan with respect to any other Debtor that satisfies
the Confirmation requirements of section 1129 of the Bankruptcy Code.

       M.      Registered Form

        Any assignment of rights to Contingent Sale Proceeds shall be made only through a book
entry system maintained by Debtor (on its own behalf and as an agent of the buyer of the assets
sold in the Sale Transaction). The foregoing sentence shall be construed so that the obligation to
pay any Contingent Sale Proceeds shall be treated as an obligation that is maintained in “registered
form” within the meaning of Sections 163(f), 871(h)(2) and 881(c)(2) of the Internal Revenue
Code of 1986, as amended.

                           ARTICLE V.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

       On the Effective Date, except as otherwise provided herein (which exclusion includes the
Indemnification Obligations, the D&O Liability Insurance Policies, and the Employment
Agreements) or otherwise identified on the Schedule of Assumed Executory Contracts and
Unexpired Leases, if any (which shall be included in the Plan Supplement), all Executory
Contracts or Unexpired Leases not previously assumed, assumed and assigned, or rejected
pursuant to an order of the Bankruptcy Court, will be deemed rejected, in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code other than those
Executory Contracts or Unexpired Leases that are the subject of a motion to assume that is pending
on the Confirmation Date.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Transaction
Documents or this Plan, and payment of any cure amounts relating thereto, shall, upon satisfaction
of the applicable requirements of section 365 of the Bankruptcy Code, result in the full, final, and
complete release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,
including defaults or provisions restricting the change in control of ownership interest composition
or other bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired
Lease at any time prior to the effective date of assumption.

       B.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

        If the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan and
Confirmation Order results in a Claim, then, unless otherwise ordered by the Court, such Claim
shall be forever barred and shall not be enforceable against the Debtors, the Estates, the Plan
Administrator, or any of their respective assets and properties unless a Proof of Claim is Filed with
the Notice and Claims Agent and served upon counsel to the Plan Administrator within thirty (30)
days of the Effective Date.


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        The foregoing applies only to Claims arising from the rejection of an Executory Contract
or Unexpired Lease under the Plan and Confirmation Order; any other Claims held by a party to a
rejected Executory Contract or Unexpired Lease shall have been evidenced by a Proof of Claim
Filed by the applicable Bar Date or shall be barred and unenforceable. Claims arising from the
rejection of Executory Contracts or Unexpired Leases under the Plan and Confirmation Order shall
be classified as General Unsecured Claims and shall, if Allowed, be treated in accordance with the
provisions herein.

       Any Claims arising from the rejection of an Executory Contract or Unexpired Lease
pursuant to the Plan and Confirmation Order that are not timely Filed within thirty (30)
days of the Effective Date will be disallowed automatically, forever barred from assertion,
and shall not be enforceable against, as applicable, the Debtors, the Estates, the Plan
Administrator, or any of their respective assets and properties.

       C.      Reservation of Rights

        Neither the exclusion nor the inclusion by the Debtors of any contract or lease on any
exhibit, schedule, or other annex to this Plan or in the Plan Supplement, nor anything contained in
this Plan, shall constitute an admission by the Debtors that any such contract or lease is or is not
an Executory Contract or Unexpired Lease or that the Debtors, the Plan Administrator, or their
respective affiliates has any liability thereunder. Except as explicitly provided in this Plan, nothing
in this Plan shall waive, excuse, limit, diminish, or otherwise alter any of the defenses, claims,
Causes of Action, or other rights of the Debtors or the Plan Administrator under any executory or
non-executory contract or unexpired or expired lease. If there is a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of its assumption under this Plan, the
Debtors or Wind-Down Debtors, as applicable, shall have thirty (30) days following entry of a
Final Order resolving such dispute to alter their treatment of such contract or lease.

       D.      Preexisting Obligations to the Debtors Under Executory Contracts and
               Unexpired Leases

       Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
shall not constitute a termination of preexisting obligations owed to the Debtors under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law
to the contrary, the Debtors expressly reserve and do not waive any right to receive, or any
continuing obligation of a counterparty to provide, warranties, indemnity or continued
maintenance obligations.

       E.      Indemnity Obligations

       Each of the Debtors’ Indemnification Obligations shall not be discharged, impaired, or
otherwise affected by the Plan. The Indemnification Obligations shall be deemed Executory
Contracts assumed or assumed and assigned by the Debtors under the Plan.

       F.      D&O Liability Insurance Policies

       Each D&O Liability Insurance Policy to which the Debtors are a party as of the Effective
Date shall be deemed an Executory Contract and shall be automatically assumed or assumed and


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assigned by the applicable Debtor, effective as of the Effective Date, pursuant to sections 365 and
1123 of the Bankruptcy Code. For the avoidance of doubt, coverage for defense and indemnity
under the D&O Liability Insurance Policies shall remain available to all individuals within the
definition of “Insured” in the D&O Liability Insurance Policies. In addition, after the Effective
Date, all officers, directors, agents, or employees of the Debtors who served in such capacity at
any time before the Effective Date shall be entitled to the full benefits of the D&O Liability
Insurance Policies (including any “tail” policy) in effect or purchased as of the Effective Date for
the full term of such policy regardless of whether such officers, directors, agents, and/or employees
remain in such positions after the Effective Date, in each case, to the extent set forth in the D&O
Liability Insurance Policies.

       G.      Employment Agreements

        Any Employment Agreement not assumed and assigned pursuant to the Transaction
Documents as part of the Sale Transaction shall be assumed by the Plan Administrator on the
Effective Date of the Plan.

       H.      Modifications,     Amendments,         Supplements,    Restatements,     or    Other
               Agreements

       Modifications, amendments, supplements, and restatements to a prepetition Executory
Contract and/or Unexpired Lease that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease.

       I.      Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

       J.      Employee Compensation and Benefits

        All employment policies, and all compensation and benefits plans, policies, and programs
of the Debtors applicable to their respective employees, retirees, and nonemployee directors,
including all savings plans, retirement plans, healthcare plans, disability plans, severance benefit
plans, incentive plans, and life and accidental death and dismemberment insurance plans, are
deemed to be, and shall be treated as, Executory Contracts under this Plan and, on the Effective
Date, shall be rejected pursuant to sections 365 and 1123 of the Bankruptcy Code.

                                   ARTICLE VI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Distributions on Account of Claims Allowed as of the Effective Date

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtors, or their respective
agents, shall be deemed closed, and there shall be no further changes in the record holders of any


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of the Claims or Interests. The Disbursing Agent shall have no obligation to recognize any
ownership transfer of the Claims or Interests occurring on or after the Distribution Record Date.
The Disbursing Agent shall be entitled to recognize and deal for all purposes hereunder only with
those record holders stated on the transfer ledgers as of the close of business on the Distribution
Record Date, to the extent applicable.

        Except as otherwise provided herein, the Disbursing Agent shall make distributions to
Holders of Allowed Claims as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided, that the
manner of such distributions shall be determined at the discretion of the Disbursing Agent;
provided further, that to the extent a Proof of Claim has been filed, the address for each Holder of
an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder. The Disbursing Agent shall make all distributions for Class 3 Claims to the Prepetition
Term Loan Administrative Agent, who shall then distribute such individual amounts to the
Prepetition Term Loan Secured Parties in accordance with the Prepetition Term Loan Documents.

       B.      Compliance with Tax Requirements

        In connection with this Plan, any Person issuing any instrument or making any distribution
or payment in connection therewith, shall comply with all applicable withholding and reporting
requirements imposed by any federal, state, or local taxing authority. In the case of a non-Cash
distribution that is subject to withholding, the distributing party may require the intended recipient
of such distribution to provide the withholding agent with an amount of Cash sufficient to satisfy
such withholding tax as a condition to receiving such distribution or withhold an appropriate
portion of such distributed property and either (1) sell such withheld property to generate Cash
necessary to pay over the withholding tax (or reimburse the distributing party for any advance
payment of the withholding tax) or (2) pay the withholding tax using its own funds and retain such
withheld property. The distributing party shall have the right not to make a distribution under this
Plan until its withholding or reporting obligation is satisfied pursuant to the preceding sentences.
Any amounts withheld pursuant to this Plan shall be deemed to have been distributed to and
received by the applicable recipient for all purposes of this Plan.

        Any party entitled to receive any property as an issuance or distribution under this Plan
shall, upon request, deliver to the withholding agent or such other Person designated by the Plan
Administrator the appropriate IRS Form or other tax forms or documentation requested by the Plan
Administrator to reduce or eliminate any required federal, state, or local withholding. If the party
entitled to receive such property as an issuance or distribution fails to comply with any such request
for a one hundred eighty (180) day period beginning on the date after the date such request is made,
the amount of such issuance or distribution shall irrevocably revert to the Plan Administrator and
any Claim in respect of such distribution under this Plan shall be discharged and forever barred
from assertion against such Debtor, the Plan Administrator, or their respective property.

        Notwithstanding the above, each Holder of an Allowed Claim or Interest that is to receive
a distribution under this Plan shall have the sole and exclusive responsibility for the satisfaction
and payment of any tax obligations imposed on such Holder by any Governmental Unit, including
income, withholding, and other tax obligations, on account of such Plan Distribution.



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       C.      Date of Distributions

        Distributions made after the Effective Date to holders of Allowed Claims shall be deemed
to have been made on the Effective Date and no interest shall accrue or be payable with respect to
such Claims or any distribution related thereto. In the event that any payment or act under this
Plan is required to be made or performed on a date that is not a Business Day, then the making of
such payment or the performance of such act may be completed on or as soon as reasonably
practicable after the next succeeding Business Day, but shall be deemed to have been completed
as of the required date.

       D.      Disbursing Agent

         Except as may be otherwise provided in the Sale Order or Cash Collateral Order, all
distributions under this Plan shall be made by the Disbursing Agent on and after the Effective Date
and as provided herein. The Disbursing Agent shall not be required to give any bond or surety or
other security for the performance of its duties. The Debtors shall use commercially reasonable
efforts to provide the Disbursing Agent with the amounts of Claims and the identities and addresses
of Holders of Claims, in each case, as set forth in the Debtors’ books and records. The Debtors
shall cooperate in good faith with the Disbursing Agent to comply with the reporting and
withholding requirements outlined in the Plan.

       E.      Rights and Powers of Disbursing Agent

       The Disbursing Agent may (1) effect all actions and execute all agreements, instruments,
and other documents necessary to carry out the provisions of this Plan; (2) make all distributions
contemplated hereby; and (3) perform such other duties as may be required of the Disbursing
Agent pursuant to this Plan or as deemed by the Disbursing Agent to be necessary and proper to
implement the provisions hereof.

       F.      Surrender of Instruments

        As a condition precedent to receiving any distribution under this Plan, each holder of a
certificated instrument or note must surrender such instrument or note held by it to the Plan
Administrator or its designee. Any holder of such instrument or note that fails to (1) surrender the
instrument or note; or (2) execute and deliver an affidavit of loss or indemnity reasonably
satisfactory to the Plan Administrator and furnish a bond in form, substance, and amount
reasonably satisfactory to the Plan Administrator within six (6) months of being entitled to such
distribution shall be deemed to have forfeited all rights and claims and may not participate in any
distribution hereunder.

       G.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

        Subject to applicable Bankruptcy Rules, all distributions to Holders of Allowed Claims
shall be made by the Disbursing Agent, who shall transmit such distributions to the applicable
Holders of Allowed Claims or their designees.

        If any distribution to a holder of an Allowed Claim (1) is returned as undeliverable for lack
of a current address or otherwise; or (2) is not cashed or otherwise presented for collection by the


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holder of the Allowed Claim within ninety (90) calendar days after the mailing of such distribution,
the Plan Administrator shall be authorized to cancel such distribution check and file with the
Bankruptcy Court the name and last known address of the holder of undeliverable distribution or
uncashed distribution, as applicable. If, after the passage of thirty (30) calendar days after such
Filing, the payment or distribution on the Allowed Claim still cannot be made, then (1) the holder
of such Claim shall cease to be entitled to the undeliverable distribution or uncashed distribution,
which will revert to the Plan Administrator for distribution in accordance with the terms of this
Plan; and (2) the Allowed Claim of such holder shall be deemed disallowed and expunged for
purposes of further distributions under the Plan.

       H.      Manner of Payment

        Except as specifically provided herein, at the option of the Debtors or the Plan
Administrator, as applicable, any Cash payment to be made under this Plan may be made by a
check or wire transfer or as otherwise required or provided in applicable agreements or customary
practices of the Debtors.

       I.      Foreign Currency Exchange Rate

       As of the Effective Date, any Claim asserted in currency other than U.S. dollars shall be
automatically deemed converted to the equivalent U.S. dollar value using the exchange rate for the
applicable currency as published in The Wall Street Journal, on the Petition Date.

       J.      Setoffs and Recoupment

        The Debtors and the Plan Administrator, pursuant to the Bankruptcy Code (including
section 553 of the Bankruptcy Code), and applicable bankruptcy and/or non-bankruptcy law,
without the approval of the Bankruptcy Court and upon no less than fourteen (14) calendar days’
notice to the applicable Holder of a Claim, or as may be agreed to by the Holder of a Claim, may,
but shall not be required to, set off against or recoup against any Allowed Claim and the
distributions to be made pursuant to this Plan on account of such Allowed Claim, any claims of
any nature whatsoever that the Debtors or their Estates may have against the Holder of such
Allowed Claim; provided, that neither the failure to effect such a setoff or recoupment nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtors or the Plan
Administrator of any such claim the Debtors or their Estates may have against the holder of such
Claim.

       K.      Minimum Distribution

        No payment of Cash in an amount of less than one hundred U.S. dollars ($100.00) shall be
required to be made on account of any Allowed Claim. Such undistributed amount may instead
be used in accordance with the Plan and the Wind-Down Budget. If the Cash available for the
final distribution is less than the cost to distribute such funds, the Plan Administrator may donate
such funds to the unaffiliated charity of its choice.




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       L.      Allocations

       Except as otherwise provided in this Plan or as otherwise required by law, distributions
with respect to an Allowed Claim shall be allocated first to the principal portion of such Allowed
Claim (as determined for U.S. federal income tax purposes) and, thereafter, to the remaining
portion of such Allowed Claim, if any.

       M.      Distributions Free and Clear

       Except as otherwise provided in this Plan, any distribution or transfer made under this Plan,
including distributions to any Holder of an Allowed Claim, shall be free and clear of any Liens,
Claims, encumbrances, charges, and other interests, and no other entity shall have any interest,
whether legal, beneficial, or otherwise, in property distributed or transferred pursuant to this Plan.

       N.      Claims Paid or Payable by Third Parties

               1.      Claims Paid by Third Parties

        If a Holder of a Claim receives a payment or other satisfaction of its Claim other than
through the Debtors or Plan Administrator on account of such Claim, such Claim shall be reduced
by the amount of such payment or satisfaction without an objection to such Claim having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court, and
if the Claim was paid or satisfied in full other than through the Debtors or the Plan Administrator,
then such Claim shall be disallowed and any recovery in excess of a single recovery in full shall
be paid over to the Plan Administrator without an objection to such Claim having to be Filed and
without any further notice to or action, order, or approval of the Bankruptcy Court. To the extent
a Holder of a Claim receives a distribution on account of such Claim and receives payment or
satisfaction from a party that is not the Debtors or the Plan Administrator on account of such Claim,
such Holder shall, within fourteen (14) calendar days of receipt thereof, repay or return the
distribution to the Debtors or the Plan Administrator, to the extent the Holder’s total recovery on
account of such Claim from the third party and under the Plan exceeds the amount of such Claim
as of the date of any such distribution under the Plan.

               2.      Claims Payable by Third Parties

        No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtors’ Insurance Policies until the holder of such Allowed Claim
has exhausted all remedies with respect to such Insurance Policy. To the extent that one or more
of the Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated
by a court of competent jurisdiction), then immediately upon such insurers’ agreement, the
applicable portion of such Claim may be expunged without an objection to such Claim having to
be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

               3.      Applicability of Insurance Policies

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
be in accordance with the provisions of any applicable insurance policy. Except as set forth in
Article IX herein, nothing in this Plan shall constitute or be deemed a waiver of any Cause of


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Action that the Debtors or any Entity, including the Plan Administrator, may hold against any other
Entity, including insurers under any policies of insurance, nor shall anything contained herein
constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses,
held by such insurers.

       O.      No Postpetition Interest on Claims

        Unless otherwise specifically provided for in this Plan or the Confirmation Order, or
required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue
or be paid on any prepetition Claims, and no Holder of a Claim shall be entitled to interest accruing
on or after the Petition Date on such Claim.

                                 ARTICLE VII.
                    PROCEDURES FOR RESOLVING CONTINGENT,
                      UNLIQUIDATED, AND DISPUTED CLAIMS

       A.      Allowance of Claims

        After the Effective Date, the Plan Administrator shall have and retain any and all rights
and defenses that the Debtor had with respect to any Claim or Interest immediately prior to the
Effective Date.

       B.      Claims Administration Responsibilities

        Except as otherwise specifically provided in the Plan, after the Effective Date, the Plan
Administrator shall have the sole authority to: (1) File, withdraw, or litigate to judgment,
objections to Claims or Interests; (2) settle or compromise any Disputed Claim without any further
notice to or action, order, or approval by the Bankruptcy Court; and (3) administer and adjust the
Claims Register to reflect any such settlements or compromises without any further notice to or
action, order, or approval by the Bankruptcy Court.

       C.      Estimation of Claims and Interests

       Before or after the Effective Date, the Debtors or the Plan Administrator may (but are not
required to) at any time request that the Bankruptcy Court estimate any Disputed Claim that is
contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason,
regardless of whether any party previously has objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction to
estimate any such Claim, including during the litigation of any objection to any Claim or during
the appeal relating to such objection.

        Notwithstanding any provision otherwise herein, a Claim that has been expunged or
disallowed from the Claims Register, but that either is subject to appeal or has not been the subject
of a Final Order, shall be deemed to be estimated at zero dollars ($0.00) unless otherwise ordered
by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim, that estimated amount shall constitute a maximum limitation on such Claim
for all purposes under the Plan (including for purposes of distributions), and the Debtors or the



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Plan Administrator (as applicable) may elect to pursue any supplemental proceedings to object to
any ultimate distribution on such Claim.

       D.      Adjustment to Claims or Interests Without Objection

        Any Claim that has been paid, satisfied, or assumed by Purchaser(s) in the Sale
Transaction(s), or any Claim that has been amended or superseded, may be adjusted or expunged
on the Claims Register by the Debtors or the Plan Administrator (as applicable) without an
objection to such Claim having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court.

       E.      Time to File Objections to Claims

        Except as otherwise provided herein, any objections to Claims shall be Filed on or before
the Claims Objection Bar Date (as such date may be extended upon presentment of an order to the
Bankruptcy Court by the Plan Administrator or the Debtors).

       F.      Disallowance of Claims or Interests

       Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from
which property is sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy
Code or that the Debtors or the Plan Administrator allege is a transferee of a transfer that is
avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
Code shall be disallowed if: (1) the Entity, on the one hand, and the Debtors or the Plan
Administrator on the other hand, agree or the Bankruptcy Court has determined by Final Order
that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has failed to
turn over such property by the date set forth in such agreement or final order.

       G.      Disallowance of Late Claims

        Except as provided herein or otherwise agreed to by the Debtors, Wind-Down Debtors, or
the Plan Administrator, as applicable, any holder of a Claim Filed via Proof of Claim after the Bar
Date shall not receive any distributions on account of such Claims, unless on or before the
Combined Hearing such late Claim has been deemed timely Filed by a Final Order.

       H.      Disputed Claims Process

        All Claims held by Persons or Entities against whom or which the Debtor has commenced
a proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547, 548, 549, or 550
of the Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h),
544, 545, 548, 549 or 724(a) of the Bankruptcy Code shall be deemed Disputed Claims pursuant
to section 502(d) of the Bankruptcy Code and holders of such Claims shall not be entitled to vote
to accept or reject this Plan. A Claim deemed Disputed pursuant to this Article VII.H. shall
continue to be Disputed for all purposes until the relevant proceeding against the Holder of such
Claim has been settled or resolved by a Final Order and any sums due to the Debtor or the Plan
Administrator from such holder have been paid.



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       I.      Amendments to Claims

        Except as provided herein, on or after the Effective Date, without the prior authorization
of the Bankruptcy Court or the Plan Administrator, a Claim may not be Filed or amended and any
such new or amended Claim Filed shall be deemed disallowed in full and expunged without any
further notice to or action, order, or approval of the Bankruptcy Court.

       J.      No Distributions Pending Allowance

        If an objection to a Claim, Proof of Claim, or portion thereof is Filed, no payment or
distribution provided under the Plan shall be made on account of such Claim, Proof of Claim, or
portion thereof unless and until the Disputed Claim becomes an Allowed Claim.

       K.      Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
shall be made to the Holder of such Allowed Claim in accordance with the provisions of the Plan.
As soon as practicable after the date that the order or judgment of the Bankruptcy Court allowing
any Disputed Claim becomes a Final Order, the Disbursing Agent shall provide to the Holder of
such Claim the distribution to which such Holder is entitled under the Plan as of the Effective Date,
without any interest, dividends, or accruals to be paid on account of such Claim. No interest shall
accrue or be paid on any Claim with respect to the period from the Effective Date to the date a
final distribution is made on account of such Claim.

                               ARTICLE VIII.
                CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

       A.      Conditions Precedent to the Effective Date

       The following shall be conditions precedent to the occurrence of the Effective Date:

               (a) the Bankruptcy Court shall have entered the Confirmation Order, which shall:

                     (i)     authorize the Debtors to take all actions necessary to enter into,
                             implement, and consummate the contracts, instruments, releases,
                             leases, indentures, and other agreements or documents created in
                             connection with the Plan;

                     (ii)    decree that the provisions in the Confirmation Order and the Plan are
                             nonseverable and mutually dependent;

                     (iii)   authorize the Debtors, as applicable/necessary, to implement the
                             Liquidation Transactions and make all distributions and issuances as
                             required under the Plan;

                     (iv)    authorize the implementation of the Plan in accordance with its terms;
                             and



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                    (v)     provide that, pursuant to section 1146 of the Bankruptcy Code, the
                            assignment or surrender of any lease or sublease, and the delivery of
                            any deed or other instrument or transfer order, in furtherance of, or in
                            connection with the Plan, including any deeds, bills of sale, or
                            assignments executed in connection with any disposition or transfer
                            of assets contemplated under the Plan, shall not be subject to any
                            stamp, real estate transfer, mortgage recording, or other similar tax to
                            the fullest extent permissible;

              (b) the Debtors shall have obtained all authorizations, consents, regulatory
                  approvals, rulings, or documents that are necessary to implement and effectuate
                  the Plan;

              (c) the final version of each of the Plan and all documents contained in any
                  supplement to the Plan, including the Plan Supplement and all of the schedules,
                  documents, and exhibits contained therein shall have been Filed in a form
                  reasonably acceptable to the Prepetition Term Loan Administrative Agent;

              (d) the Debtors shall have fully funded the Professional Fee Reserve Account and
                  Wind-Down Budget;

              (e) all reasonable and documented professional fees and expenses of the Prepetition
                  Term Loan Advisors shall have been paid in full;

              (f) to the extent invoiced, the payment in cash in full of all Liquidation Expenses;

              (g) the Sale Transaction shall have been consummated substantially on the terms
                  described in the Bid Procedures Order; and

              (h) the Debtors shall have implemented the Liquidation Transactions and all
                  transactions contemplated in this Plan in a manner consistent with the Plan.

       B.      Waiver of Conditions Precedent to the Effective Date

       The Debtors, with the express prior written consent of the Prepetition Term Loan
Administrative Agent and, with respect solely to conditions (c) and (f), above, the Consenting
Unsecured Creditors (in each case not to be unreasonably withheld or delayed) solely to the extent
the Consenting Unsecured Creditors are materially and adversely affected, may waive any one or
more of the Conditions Precedent to the Effective Date.

                                ARTICLE IX.
                RELEASE, INJUNCTION, AND RELATED PROVISIONS

       A.      Debtor Releases

Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration,
as of the Effective Date, each of the Released Parties is unconditionally, irrevocably,
generally, individually, and collectively, released, acquitted, and discharged by the Debtors,


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the Wind-Down Debtors, and each of their Estates, including any successors to the Debtors
or any Estate’s representative appointed or selected pursuant to section 1123(b)(3) of the
Bankruptcy Code, from any and all Causes of Action, including any Avoidance Actions or
derivative Causes of Action asserted or assertable by or on behalf of a Debtor, a Wind-Down
Debtor, or any of their Estates, any Causes of Action that any Debtor, Wind-Down Debtor,
or any of their Estates would have been legally entitled to assert in its own right (whether
individually or collectively) or on behalf of the Holder of any Claim against or Interest in a
Debtor or other Entity, whether known or unknown, foreseen or unforeseen, asserted or
unasserted, matured or unmatured, existing or hereafter arising, in law, equity, contract,
tort, or otherwise that the Debtors, Wind-Down Debtors, or their Estates (whether
individually or collectively) ever had, now has, or thereafter can, shall, or may have, based
on or relating to, or in any manner arising from, in whole or in part: (a) the Debtors, the
Debtors’ in- or out-of-court restructuring efforts, the Marketing Process, intercompany
transactions, the Chapter 11 Cases, the purchase, sale, or rescission of any security of the
Debtors, any Sale Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the Transaction Documents, PSA, the Disclosure Statement, or the Plan, including
the Plan Supplement; (b) any Liquidation Transaction, contract, instrument, release, or
other agreement or document (including any legal opinion requested by any Entity regarding
any transaction, contract, instrument, document, or other agreement contemplated by the
Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) created or entered into in connection with the Sale Transaction, the PSA,
the Disclosure Statement, or the Plan, including the Plan Supplement; (c) the business or
contractual arrangements between any Debtor and any Released Party, whether before or
during the Debtors’ Chapter 11 Cases, or the restructuring of Claims and Interests before
or during the Chapter 11 Cases; (d) the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is affected by or classified in the Plan; (e) the filing of the
Chapter 11 Cases, the pursuit of Confirmation, the pursuit of consummation of the Plan, the
administration and implementation of the Plan, including any issuance or distribution of
securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement; or (f) any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date arising from or relating to any of the
foregoing, including, without limitation, the Prepetition Loan Documents, any Interests, and
all matters relating thereto.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above shall
not release: (a) to the extent that any Claims or other Causes of Action against the Debtors
are not released pursuant to the Plan, are not discharged pursuant to the Plan, or are
Disputed, any rights of the Debtors and the Wind-Down Debtors to assert any and all
counterclaims, crossclaims, offsets, indemnities, claims for contribution, defenses, and
similar claims or other Causes of Action in response to such Causes of Action; (b) any
commercial Cause of Action arising in the ordinary course of business, such as accounts
receivable and accounts payable on account of goods and services being performed; (c) any
post- Effective Date obligations of any party or Entity under the Plan, any Liquidation
Transaction, or any other document, instrument, or agreement executed to implement the
Plan (including those set forth in the Plan Supplement); (d) the Retained Causes of Action,
or (e) any obligations of any party or Entity under the Transaction Documents.



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Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute
the Bankruptcy Court’s finding that the Debtor Release is: (a) essential to the Confirmation
of the Plan; (b) an exercise of the Debtors’ business judgment; (c) in exchange for the good
and valuable consideration and substantial contributions provided by the Released Parties;
(d) a good faith settlement and compromise of the Causes of Action released by the Debtor
Release; (e) in the best interests of the Debtors and all Holders of Claims and Interests;
(f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for
hearing; and (h) a bar to any of the Debtors, the Wind-Down Debtors, and the Estates,
including any successors to the Debtors or any Estate’s representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, asserting any Cause of Action
released pursuant to the Debtor Release.

Each of the Debtors expressly acknowledges that although ordinarily a general release may
not extend to Claims or Causes of Action that each Debtor does not know or suspect to exist
in its favor, which if known by it may have materially affected its settlement with the party
released, they have carefully considered, and taken into account in determining to enter into
the above releases described in this Plan, the possible existence of such unknown losses or
Claims or Causes of Action. Without limiting the generality of the foregoing, each Debtor
expressly waives and relinquishes any and all rights and benefits such party may have or
conferred upon it under any federal, state, or local statute, rule, regulation, or principle of
common law or equity that provides that a release does not extend to Claims or Causes of
Action that the claimant does not know or suspect to exist in its favor at the time of providing
the release or that may in any way limit the effect or scope of the releases with respect to
released Claims or Causes of Action that such party did not know or suspect to exist in such
party’s favor at the time of providing the release, which in each case if known by it may have
materially affected its settlement with any Released Party, including, without limitation,
California Civil Code § 1542, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
       TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASED PARTY.

       Each of the Debtors expressly acknowledges that the releases and covenants not to
sue contained in the Plan are effective regardless of whether those released matters or
released Claims or Causes of Action are presently known or unknown, suspected or
unsuspected, or foreseen or unforeseen.

Notwithstanding anything herein to the contrary, the Prepetition Term Loan Secured Parties
shall not be deemed to release any direct claims they may have against former directors and
officers of the Debtors who were not directors or officers as of the Petition Date.



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       B.     Releases by the Releasing Parties

As of the Effective Date, each of the Releasing Parties other than the Debtors shall, and shall
be deemed to have, expressly, absolutely, unconditionally, irrevocably, generally,
individually, and collectively, released, acquitted, and discharged each of the Released
Parties from any and all Causes of Action, including any Avoidance Actions or derivative
Causes of Action asserted or assertable by or on behalf of a Debtor, Wind-Down Debtor, or
any of their Estates, and any Causes of Action asserted or assertable by or on behalf of the
Holder of any Claim or Interest or other Entity, whether known or unknown, foreseen or
unforeseen, asserted or unasserted, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort, or otherwise that the Releasing Parties (whether individually or
collectively) ever had, now have, or thereafter can, shall, or may have, based on or relating
to, or in any manner arising from, in whole or in part: (a) the Debtors, the Debtors’ in- or
out-of-court restructuring efforts, the Marketing Process, intercompany transactions, the
Chapter 11 Cases, the purchase, sale, or rescission of any security of the Debtors, the
formulation, preparation, dissemination, negotiation, or filing of the Transaction
Documents, the PSA, the Disclosure Statement, or the Plan, including the Plan Supplement;
(b) any Liquidation Transaction, contract, instrument, release, or other agreement or
document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the reliance
by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion)
created or entered into in connection with the Sale Transaction, the PSA, the Disclosure
Statement, or the Plan, including the Plan Supplement; (c) the business or contractual
arrangements between any Debtor and any Releasing Party, whether before or during the
Debtors’ restructuring, or the restructuring of Claims and Interests before or during the
Chapter 11 Cases; (d) the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is affected by or classified in the Plan; (e) the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of consummation of the Plan, the
administration and implementation of the Plan, including any issuance or distribution of
securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement; or (f) any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date arising from or relating to any of the
foregoing, including, without limitation, the Prepetition Loan Documents, and all matters
relating thereto.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above shall
not release, prejudice, limit, impact, or otherwise impair: (a) to the extent that any Causes
of Action against any Releasing Party are not released or discharged pursuant to the Plan,
any rights of such Releasing Party to assert any and all counterclaims, crossclaims, offsets,
indemnities, claims for contribution, defenses, and similar claims in response to such Causes
of Action; (b) any rights of the Prepetition Term Loan Administrative Agent to (i) payment
of fees, expenses, and indemnification obligations as against any money or property
distributable to holders of Claims under the Prepetition Term Loan Credit Agreement,
respectively, including any rights to priority of payment and/or to exercise charging liens or
(ii) seek compensation and/or reimbursement of fees and expenses in accordance with the
terms of the Plan and Confirmation Order, as applicable; (c) any Prepetition Term Loan
Secured Party from pursuing claims in its own name against Adrian Adams; (d) any


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commercial Cause of Action arising in the ordinary course of business, such as accounts
receivable and accounts payable on account of goods and services being performed; (e) any
post- Effective Date obligations of any party or Entity under the Plan, any Liquidation
Transaction, or any document, instrument, or agreement executed to implement the Plan
(including those set forth in the Plan Supplement); (f) any obligations of any party or Entity
under the Transaction Documents; or (g) any direct claims the Prepetition Term Loan
secured Parties may have against former directors and officers of the Debtors who were not
directors or officers as of the Petition Date

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained herein, and, further, shall constitute
the Bankruptcy Court’s finding that the Third-Party Release is: (a) essential to the
Confirmation of the Plan; (b) given in exchange for the good and valuable consideration and
substantial contributions provided by the Released Parties; (c) a good faith settlement and
compromise of the Causes of Action released by the Third-Party Release; (d) in the best
interests of the Debtors and their Estates; (e) fair, equitable, and reasonable; (f) given and
made after due notice and opportunity for hearing; (g) consensual; and (h) a bar to any of
the Releasing Parties asserting any Claim or Cause of Action released pursuant to the Third-
Party Release.

Each of the Releasing Parties expressly acknowledges that although ordinarily a general
release may not extend to Claims or Causes of Action that the Releasing Party does not know
or suspect to exist in its favor, which if known by it may have materially affected its
settlement with the party released, they have carefully considered, and taken into account in
determining to enter into the above releases described in this Plan, the possible existence of
such unknown losses or Claims or Causes of Action. Without limiting the generality of the
foregoing, each Releasing Party expressly waives and relinquishes any and all rights and
benefits such party may have or conferred upon it under any federal, state, or local statute,
rule, regulation, or principle of common law or equity that provides that a release does not
extend to Claims or Causes of Action that the claimant does not know or suspect to exist in
its favor at the time of providing the release or that may in any way limit the effect or scope
of the releases with respect to released Claims or Causes of Action that such party did not
know or suspect to exist in such party’s favor at the time of providing the release, which in
each case if known by it may have materially affected its settlement with any Released Party,
including, without limitation, California Civil Code § 1542, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
       TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASED PARTY.

        Each of the Releasing Parties expressly acknowledges that the releases and covenants
not to sue contained in the Plan are effective regardless of whether those released matters or



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released Claims or Causes of Action are presently known or unknown, suspected or
unsuspected, or foreseen or unforeseen.

       C.      Exculpations

To the fullest extent permitted by applicable law, no Exculpated Party will either have or
incur any liability to any person or Entity for, and each Exculpated Party is hereby released
and exculpated from, any Cause of Action related to any act or omission in connection with,
relating to, or arising out of, the Debtors’ restructuring efforts, the Chapter 11 Cases,
preparation for the Chapter 11 Cases, the filing of the Chapter 11 Cases, formulation,
preparation, dissemination, negotiation, filing, or termination of the Transaction
Documents, the Plan Support Agreement, the Disclosure Statement, or the Plan, including
the Plan Supplement, or any Liquidation Transaction, contract, instrument, release, or other
agreement or document (including providing any legal opinion requested by any Entity
regarding any transaction, contract, instrument, document, or other agreement
contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the
Confirmation Order in lieu of such legal opinion) created or entered into in connection with
any of the foregoing, the Sale Transaction, the funding of the Plan, the occurrence of the
Effective Date, the pursuit of Confirmation, the pursuit of consummation, the administration
and implementation of the Plan, the issuance of securities pursuant to the Plan, or the
distribution of property under the Plan or any other related agreement, except for claims
related to any act or omission that is determined in a Final Order to have constituted actual
fraud, gross negligence, or willful misconduct, but in all respects such Persons will be entitled
to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The foregoing shall not be deemed to release, affect, or limit any post-
Effective Date rights or obligations of the Exculpated Parties under the Plan, any
Liquidation Transaction, or any other document, instrument, or agreement executed to
implement the Plan (including those set forth in the Plan Supplement).

The Exculpated Parties have, and upon consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the
solicitation of, and distribution of consideration pursuant to, the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan.

The exculpation will be in addition to, and not in limitation of, all other releases, indemnities,
exculpations, and any other applicable law or rules protecting such Exculpated Parties from
liability.

Notwithstanding anything herein to the contrary, the Prepetition Term Loan Secured Parties
shall not be deemed to release any direct claims they may have against former directors and
officers of the Debtors who were not directors or officers as of the Petition Date.




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       D.      Injunction

Except as otherwise expressly provided in the Plan or for obligations issued or required to
be paid pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or
may hold claims or interests that have been released pursuant to the Plan provisions setting
forth the releases granted by the Debtors or the Releasing Parties, or discharged pursuant
to the Plan, or are subject to exculpation pursuant to the article of the Plan which provides
for the exculpation of the Exculpated Parties, shall be permanently enjoined, from and after
the Effective Date, from taking any of the following actions against, as applicable, the
Debtors, Wind-Down Debtors, the Exculpated Parties, or the Released Parties:
(a) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any such claims or interests; (b) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree,
or order against such Entities on account of or in connection with or with respect to any such
claims or interests; (c) creating, perfecting, or enforcing any lien or encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in
connection with or with respect to any such claims or interests; (d) asserting any right of
setoff, subrogation, or recoupment of any kind against any obligation due from such Entities
or against the property of such Entities on account of or in connection with or with respect
to any such claims or interests unless such Entity has, on or before the Effective Date,
asserted such setoff right in a document filed with the Bankruptcy Court explicitly
preserving such setoff, and notwithstanding an indication of a claim or interest or otherwise
that such Entity asserts, has, or intends to preserve any right of setoff pursuant to applicable
law or otherwise; and (e) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such claims
or interests released or settled pursuant to the Plan.

       E.      No Discharge

       Because the Debtors are liquidating and will not engage in business after consummation of
the Plan, they are not entitled to a discharge of obligations pursuant to section 1141 of the
Bankruptcy Code with regard to any holders of Claims or Interests.

       F.      Release of Liens

        Except as otherwise provided herein or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date in
accordance with the terms of the Plan, all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Estate shall be fully released and discharged, and all
of the right, title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or
other security interests shall revert to the Debtors and their successors and assigns.

        If any Holder of an Other Secured Claim or any agent for such Holder has filed or recorded
publicly any Liens and/or security interests to secure such Holder’s Other Secured Claim, as soon
as practicable on or after the date such Holder has been satisfied in full pursuant to the Plan, such


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Holder (or the agent for such holder) shall take any and all steps requested by the Plan
Administrator that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable
filings or recordings, and the Plan Administrator shall be entitled to make any such filings or
recordings on such holder’s behalf.

       G.      Gatekeeper Provision

        No party may commence, continue, amend, or otherwise pursue, join in, or otherwise
support any other party commencing, continuing, amending, or pursuing, a Cause of Action of any
kind against the Debtors, the Plan Administrator, the Exculpated Parties, or the Released Parties
that relates to, or is reasonably likely to relate to any act or omission in connection with, relating
to, or arising out of, a Cause of Action subject to Article IX.A, Article IX.B, and Article IX.C
without first (a) requesting a determination from the Bankruptcy Court, after notice and a hearing,
that such Cause of Action represents a colorable claim against a Debtor, Plan Administrator,
Exculpated Party, or Released Party and is not a Claim that the Debtors released under the Plan,
which request must attach the complaint or petition proposed to be filed by the requesting party
and (b) obtaining from the Bankruptcy Court specific authorization for such party to bring such
Cause of Action against any such Debtor, Plan Administrator, Exculpated Party, or Released Party.
For the avoidance of doubt, any party that obtains such determination and authorization and
subsequently wishes to amend the authorized complaint or petition to add any Causes of Action
not explicitly included in the authorized complaint or petition must obtain authorization from the
Bankruptcy Court before filing any such amendment in the court where such complaint or petition
is pending. The Bankruptcy Court will have sole and exclusive jurisdiction to determine whether
a Cause of Action is colorable and, only to the extent legally permissible, will have jurisdiction to
adjudicate the underlying colorable Cause of Action.

                                      ARTICLE X.
                               RETENTION OF JURISDICTION

       On and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction,
pursuant to 28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11
Cases for, among other things, the following purposes:

        1.     Allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the secured or unsecured status, priority, amount, or allowance of Claims or Interests.

        2.     Resolve any cases, controversies, suits, or disputes that may arise in connection
with Claims, including Claim objections, allowance, disallowance, subordination, estimation and
distribution.

       3.      Decide and resolve all matters related to the granting and denying, in whole or in
part of, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan.




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        4.    Resolve any matters related to: (a) the assumption or assumption and assignment
of any Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which
a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any cure amount arising
therefrom; and/or (b) any dispute regarding whether a contract or lease is or was executory or
expired.

        5.      Adjudicate, decide or resolve any motions, adversary proceedings, contested, or
litigated matters, and any other matters, and grant or deny any applications involving the Debtors
that may be pending on the Effective Date.

      6.     Adjudicate, decide, or resolve any and all matters related to section 1141 of the
Bankruptcy Code.

        7.      Adjudicate, decide or resolve any motions, adversary proceedings, contested, or
litigated matters.

        8.    Enter and implement such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of the Plan and all contracts, instruments, releases, and
other agreements or documents created in connection with the Plan or the Disclosure Statement.

       9.      Resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
in connection with the interpretation or enforcement of the Plan or any Entity’s obligations
incurred in connection with the Plan.

      10.    Issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with enforcement of the
Plan.

        11.     Resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions, and other provisions contained in the Plan and enter such orders as
may be necessary or appropriate to implement such releases, injunctions, and other provisions.

       12.    Enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated.

       13.     Determine any other matters that may arise in connection with or related to the Cash
Collateral Order and the Debtors’ use of Cash Collateral, the Transaction Documents, Plan Support
Agreement, the Disclosure Statement, the Plan, and the Confirmation Order.

        14.    Ensure that distributions to holders of Allowed Claims are accomplished pursuant
to the provisions of the Plan.

        15.   Resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the repayment or return of distributions and the recovery of additional amounts owed by any
holder for amounts not timely repaid.

        16.    Adjudicate any and all disputes arising from or relating to distributions under the
Plan.


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       17.     Consider any modifications of the Plan, to cure any defect or omission, or to
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order.

      18.    Hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan or the Confirmation Order.

       19.     Hear and determine matters concerning state, local, and federal taxes in accordance
with sections 346, 505, and 1146 of the Bankruptcy Code.

       20.     To recover all assets of the Debtors and property of the Debtors’ Estates, wherever
located.

      21.      To hear and determine any Causes of Action that may be brought by the Plan
Administrator.

       22.      To hear and determine any other rights, claims, or Causes of Action held by or
accruing to the Debtors or the Plan Administrator pursuant to the Bankruptcy Code or any
applicable state or federal statute or legal theory.

       23.     Enter an order or final decree concluding or closing the Chapter 11 Cases.

       24.     Enforce all orders previously entered by the Bankruptcy Court.

       25.     Hear any other matter over which the Court has jurisdiction.

                             ARTICLE XI.
         MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

       A.      Modification and Amendment

        This Plan may be amended, modified, or supplemented by the Debtors, in accordance with
the terms of the PSA, including any consultation or consent rights granted therein, in the manner
provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law, without
additional disclosure pursuant to section 1125 of the Bankruptcy Code. In addition, after the
Confirmation Date, the Debtors, in consultation with the Prepetition Term Loan Administrative
Agent, may remedy any defect or omission or reconcile any inconsistencies in this Plan or the
Confirmation Order with respect to such matters as may be necessary to carry out the purposes of
effects of this Plan, and any Holder of a Claim or Interest that has accepted this Plan shall be
deemed to have accepted this Plan as amended, modified, or supplemented.

       B.      Effect of Confirmation on Modifications

        Entry of the Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code
and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.




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       C.      Revocation or Withdrawal of Plan

        The Debtors, with the consent of the Prepetition Term Loan Administrative Agent, reserve
the right to revoke or withdraw this Plan prior to the Effective Date as to any or all of the Debtors.
If, with respect to a Debtor, this Plan has been revoked or withdrawn prior to the Effective Date,
or if confirmation or the occurrence of the Effective Date as to such Debtor does not occur on the
Effective Date, then, with respect to such Debtor (1) this Plan shall be null and void in all respects;
(2) any settlement or compromise embodied in this Plan (including the fixing or limiting to an
amount any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory
Contracts or Unexpired Leases affected by this Plan, and any document or agreement executed
pursuant to this Plan shall be deemed null and void; and (3) nothing contained in this Plan shall (i)
constitute a waiver or release of any Claim by or against, or any Interest in, such Debtor or any
other Person, (ii) prejudice in any manner the rights of such Debtor or any other Person, or (iii)
constitute an admission of any sort by any Debtor or any other Person.

                                      ARTICLE XII.
                               MISCELLANEOUS PROVISIONS

       A.      Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of this Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of the Debtors, the Plan
Administrator, the holders of Claims and Interests, the Released Parties, and each of their
respective successors and assigns. Any action to be taken on the Effective Date may be taken on
or as soon as reasonably practicable thereafter.

       B.      Additional Documents

        On or before the Effective Date, the Debtors may File with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. The Debtors or the Plan Administrator (as
applicable) and all Holders of Claims or Interests receiving distributions pursuant to the Plan and
all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements
or documents and take any other actions as may reasonably be necessary or advisable to effectuate
the provisions and intent of the Plan or the Confirmation Order.

       C.      Substantial Consummation

       On the Effective Date, this Plan shall be deemed to be substantially consummated (within
the meaning set forth in section 1101 of the Bankruptcy Code) pursuant to section 1127(b) of the
Bankruptcy Code.

       D.      Reservation of Rights

        The Plan shall have no force or effect unless and until the Bankruptcy Court enters the
Confirmation Order. None of the Filing of the Plan, any statement or provision contained in the
Plan, or the taking of any action by the Debtors with respect to the Plan, the Disclosure Statement,


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or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of
the Debtors with respect to the Holders of Claims or Interests prior to the Effective Date.

       E.      Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
beneficiaries or guardian, if any, of each Entity.

       F.      Determination of Tax Liabilities

        As of the Effective Date, the Plan Administrator (to the extent not the responsibility of the
Purchaser(s)) will be responsible for preparing and filing any tax forms or returns on behalf of the
Debtors’ Estates; provided, that the Plan Administrator shall not be responsible for preparing or
filing any tax forms for Holders of Interests in the Debtors (which Interests shall be cancelled
pursuant to this Plan), but shall provide such Holders with any information reasonably required to
prepare such forms. The Debtors and the Plan Administrator shall have the right to request an
expedited determination of any tax liability pursuant to section 505 of the Bankruptcy Code,
including on any unpaid liability of the Debtors’ Estates for any tax incurred during the
administration of these Chapter 11 Cases.

       G.      Dissolution of the Committee

        On the Effective Date, any duly appointed Committee will dissolve and the members
thereof will be released and discharged from all duties and obligations arising from or related to
these Chapter 11 Cases.

       H.      Notices

       In order for all notices, requests, and demands to or upon the Debtors and the Plan
Administrator, as the case may be, to be effective such notices, requests and demands shall be in
writing (including by electronic mail) and, unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when actually delivered or, in the case of notice by email,
when received, and served on or delivered to the following parties:

                    Debtors                                    Counsel to the Debtors

 Impel Pharmaceuticals Inc.                        Sidley Austin LLP
 c/o Teneo                                         2021 McKinney Ave. Suite 2000
 280 Park Avenue                                   Dallas, Texas 75201
 New York, NY 10017                                Facsimile: (214) 981-3400

 Attention: Brandon Smith,                         Attn: Samuel A. Newman
 Chief Restructuring Officer                             Rakhee V. Patel
 Email: brandon.smith@teneo.com                          Jackson T. Garvey
                                                   Email: sam.newman@sidley.com
                                                           rpatel@sidley.com
                                                           jgarvey@sidley.com


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              Plan Administrator                         Counsel to the Plan Administrator

 To be included in the Plan Supplement.             To be included in the Plan Supplement.

                 Counsel to the Prepetition Term Loan Administrative Agent

                                     Sullivan & Cromwell LLP
                                          125 Broad Street
                                       New York, NY 10004
                                     Facsimile: (212) 558-3588

                                        Attn: Ari B. Blaut
                                       Benjamin S. Beller
                                   Email: blauta@sullcrom.com
                                     bellerb@sullcrom.com


         After the Effective Date, Persons or Entities that wish to continue to receive documents
pursuant to Bankruptcy Rule 2002 must File a renewed request to receive documents pursuant to
Bankruptcy Rule 2002. After the Effective Date, the Plan Administrator is authorized to limit the
list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that Filed
such renewed requests.

       I.      Term of Injunctions or Stays

        Except as otherwise provided in this Plan, to the maximum extent permitted by applicable
law and subject to the Bankruptcy Court’s post-confirmation jurisdiction to modify the injunctions
and stays under this Plan (1) all injunctions with respect to or stays against an action against
property of the Debtors or the Debtors’ Estates arising under or entered during the Chapter 11
Cases under sections 105 or 362 of the Bankruptcy Code, and in existence on the date the
Confirmation Order is entered, shall remain in full force and effect until such property is no longer
property of the Debtors or the Debtors’ Estates; and (2) all other injunctions and stays arising under
or entered during the Chapter 11 Cases under sections 105 or 362 of the Bankruptcy Code shall
remain in full force and effect until the earliest of (i) the date that the Chapter 11 Cases are closed
pursuant to a final order of the Bankruptcy Court, or (ii) the date that the Chapter 11 Cases are
dismissed pursuant to a final order of the Bankruptcy Court. All injunctions or stays contained in
the Plan or the Confirmation Order shall remain in full force and effect indefinitely.

       J.      Entire Agreement

       On the Effective Date, the Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.




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       K.      Plan Supplement

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. Copies of such exhibits and documents shall be
made available upon written request to the Debtors’ counsel or the Plan Administrator’s counsel
(as applicable) at the address above or by downloading such exhibits and documents free of charge
from the Notice and Claims Agent’s website. All documents in the Plan Supplement are
considered an integral part of the Plan and shall be deemed approved by the Bankruptcy Court
pursuant to the Confirmation Order.

       L.      Governing Law

       Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Texas,
without giving effect to the principles of conflict of laws, shall govern the rights, obligations,
construction, and implementation of the Plan, any agreements, documents, instruments, or
contracts executed or entered into in connection with the Plan (except as otherwise set forth in
those agreements, in which case the governing law of such agreement shall control), and corporate
governance matters.

       M.      Nonseverability of Plan Provisions

        If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or
provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and such term
or provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation.

        The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with
the foregoing, is the following: (1) valid and enforceable pursuant to its terms; (2) integral to the
Plan and may not be deleted or modified without the consent of the Debtors or the Plan
Administrator (as applicable); and (3) nonseverable and mutually dependent.

       N.      Closing of the Chapter 11 Cases

       After the full administration of the Chapter 11 Cases, the Plan Administrator shall promptly
File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022, a motion
pursuant to Local Rule 3022-1(a), and any applicable order of the Bankruptcy Court to close the
Chapter 11 Cases.


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Dated: February 25, 2024

                                                   Respectfully submitted,


                                                   By: Brandon Smith
                                                   Chief Restructuring Officer
                                                   Impel Pharmaceuticals Inc. and
                                                   Impel NeuroPharma Australia Pty Ltd




                            [Signature Page to Plan of Liquidation]
